      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 1 of 122




                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


KIMBERLY A. NEGRON, DANIEL PERRY,               Civil No. 16-cv-1702
COURTNEY GALLAGHER, NINA CUROL,
ROGER CUROL, and BILLY RAY BLOCKER,
JR., Individually and on Behalf of All Others
Similarly Situated,

                          Plaintiffs,

      vs.

CIGNA CORPORATION, CIGNA HEALTH
AND LIFE INSURANCE COMPANY and
OPTUMRX, INC.,

                          Defendants.




        DEFENDANT CIGNA HEALTH AND LIFE INSURANCE COMPANY’S
       ANSWER AND ADDITIONAL DEFENSES TO PLAINTIFFS’ AMENDED
                     CONSOLIDATED COMPLAINT
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 2 of 122




       Defendant Cigna Health and Life Insurance Company (“Defendant” or “CHLIC”), by and

through its attorneys and pursuant to Federal Rule of Civil Procedure 8, submits the following

Answer and Additional Defenses to Plaintiffs’ Amended Consolidated Complaint dated October

18, 2018 (“Complaint”) (Dkt. 166). Plaintiffs’ Complaint contains numerous headings and sub-

headings. CHLIC does not consider these to be substantive allegations to which a response is

required.   However, to the extent that a response is required, CHLIC denies any and all

allegations within any such heading or sub-heading.        In addition, the Complaint contains

numerous footnotes, and CHLIC has responded to the footnotes as part of the answer to the

corresponding paragraph for each footnote.

                                      INTRODUCTION

         1.      Plaintiffs, who received prescription drug benefits through individual or group
health plans issued or administered by Defendants (the “Plans”),11 bring this action on behalf of
themselves and a Class and Subclasses of similarly situated persons alleging (a) violations of the
Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001 et seq., (b)
violations of the Racketeering Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §
1961, et seq., and (c) state law claims for breach of contract and the implied covenant of good
faith and fair dealing, resulting from Defendants’ common fraudulent and deceptive scheme to
artificially inflate prescription costs causing consumers to pay more than they otherwise should
have paid for medically necessary prescription drugs.

ANSWER:       CHLIC admits that Plaintiffs are current or former participants in employer

sponsored health plans for which CHLIC served as the insurer and/or claims administrator and

purport to bring their claims as a class action under Employee Retirement Income Security Act

of 1974 (“ERISA”), 29 U.S.C. § 1001 et seq., Racketeering Influenced and Corrupt


1
  Unless otherwise specified, the term “Plans” as used herein includes with respect to group
health plans both health plans that are funded by an employer but administered through
“administrative-services-only” (“ASO”) contracts between one or more Defendants and the plan,
and health plans implemented through an insurance policy underwritten and issued by one or
more Defendants to cover medical and prescription drug expenses incurred by the plan. “Plans”
also includes both public and private plans and governmental program plans, such as Affordable
Care Act, Medicare Part C and D plans. “Plans” subject to ERISA are denoted “ERISA Plans.”

                                                2
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 3 of 122




Organizations Act (“RICO”), 18 U.S.C. § 1961, and various state laws. CHLIC denies the

remaining allegations in Paragraph 1.



         2.      About 90% of all United States citizens are now enrolled in private or public
health plans that cover some, or all, of the costs of medical and prescription drug benefits. A
feature of most of these plans is the shared cost of prescription drugs. Normally, when a patient2
fills a prescription for a medically necessary prescription drug under his or her health care plan,
the plan/insurer pays a portion of the cost and the patient pays the remaining portion of the cost
directly to the pharmacy in the form of a copayment or coinsurance or deductible payment.
Pharmacies are required by contract to collect the payment on Defendants’ behalf from patients
at the time the prescription is filled and are not allowed to waive or reduce the amount collected
under the Plans.

ANSWER: Answering the first three sentence of Paragraph 2, CHLIC admits that participants

in plans insured or administered by CHLIC are typically responsible for paying a copayment,

coinsurance, and/or deductible under the terms of their plans for prescription drugs, but CHLIC

lacks information or knowledge sufficient to form a belief as to the truth of the remaining

allegations in the first three sentences and therefore denies those allegations.       The fourth

sentence of Paragraph 2 purports to characterize documents, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the documents. CHLIC denies the remaining

allegations in Paragraph 2.



        3.     Defendant Cigna Corporation through its wholly-owned subsidiaries, including
Defendant Cigna Health and Life Insurance Company (“CHL”) (collectively “Cigna”), is a fully
integrated health insurance company. Cigna, along with a pharmacy benefit manager (“PBM”),
provides and administers health and pharmacy benefits to patients. Cigna has an in-house
PBM—Cigna Pharmacy Management, which is a business division of CHL. Cigna Pharmacy
Management outsources certain PBM and administrative functions to other PBM service

2
  The term “patient” refers to a plan participant or beneficiary under a prescription drug Plan
issued or administered by one or more Defendants who purchases prescription drugs pursuant to
that Plan.

                                                3
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 4 of 122




providers, while retaining other functions with Cigna and its affiliates. These external PBM
service providers are retained and directed by Cigna, CHL, and/or Cigna Pharmacy Management
to provide pharmacy benefits to patients, which include, inter alia: prescription drug
procurement and inventory management for mail-order pharmacies; establishing or assisting in
the establishment of a formulary of drugs that will be covered, a network of pharmacies that will
serve as participating pharmacies for patients to obtain prescriptions, copayment amounts,
coinsurance amounts, and deductibles (if applicable); and processing prescription drug claims
and interfacing with patients and pharmacies regarding applicable prescription drug coverage.

ANSWER: CHLIC admits that Cigna is a global health services organization and that CHLIC

provides pharmacy benefits to certain employer-sponsored plans and the plans’ participants

through its business division Cigna Pharmacy Management (“CPM”). CHLIC admits that CPM

performs various pharmacy benefit management services and also outsources certain pharmacy

benefit management functions to various vendors. CHLIC denies the remaining allegations in

Paragraph 3.



        4.      In this instance, Cigna has retained Defendant OptumRx, Inc. (“OptumRx”) for
some of its PBM services, having previously entered into a 10-year PBM services agreement in
mid-2013 with Catamaran Corporation (“Catamaran”), which was acquired in 2015 by
OptumRx. 3 According to Cigna’s Form 10-K, under the PBM services agreement, Cigna
“utilize[s] Optum’s technology and service platforms, retail network contracting and claims
processing services.” Id. Cigna also uses Argus Health Systems Inc. (“Argus”), to provide PBM
services to the Plans. Argus was the primary external PBM utilized by Cigna and its affiliates
prior to the 2013 contract with Catamaran, and Argus remains part of Cigna’s pharmacy benefits
delivery system, with a new contract put in place in late 2015. Thus, the PBMs have been
involved in administering pharmacy benefits for the Plans throughout the relevant time period,
but all have been coordinated through and directed by Cigna.

ANSWER: CHLIC admits that in June 2013, Connecticut General Life Insurance Company

contracted with Catamaran PBM of Illinois, Inc., to which OptumRx, Inc. (“Optum”) is

Catamaran’s successor by merger in July 2015. CHLIC further admits that Optum performs

certain pharmacy benefit management services under the terms of that contract. CHLIC admits

3
 Cigna Corp., Annual Report at 2 (Form 10-K) (Feb. 25, 2016), https://www.sec.gov/
Archives/edgar/data/701221/000104746916010432/a2227373z10-k.htm (last visited Jan. 9,
2017).

                                               4
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 5 of 122




that Argus Health Systems, Inc. (“Argus”) processes claims for certain of CHLIC’s pharmacy

benefit management plan sponsors and plan participants. The allegations in Paragraph 4 also

purport to characterize documents, the terms of which speak for themselves, and thus no

response is required.     To the extent that a response is required, CHLIC denies any

characterization contrary to the terms of the documents. CHLIC denies the remaining allegations

in Paragraph 4.



        5.     As set forth below, Defendants and their co-conspirators have engaged in a
scheme to defraud patients by overcharging patients for the cost of medically necessary
prescription drugs. Patients, including Plaintiffs and the Class (defined below), pay excess
charges to participating pharmacies in exchange for receiving their prescription drugs.
Unbeknownst to the Class members, Defendants misrepresent the purported costs of the
prescription drugs in the form of increased charges to patients and then “claw back” from the
pharmacies a large portion of the patients’ payments.

ANSWER: CHLIC denies the allegations in Paragraph 5.



        6.     Indeed, the Plans provide that they will pay “Covered Expenses,” which are
defined as “charges made by a pharmacy” for prescription drugs (or in other equivalent terms).
A covered patient may be required to pay a portion of such Covered Expenses. The portion of the
prescription drug Covered Expense the patient pays is the applicable Copayment, Coinsurance
and/or Deductible.

ANSWER: Paragraph 6 purports to characterize and partially quote documents, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the documents. CHLIC

denies the remaining allegations in Paragraph 6.



      7.     Moreover, under the express language of one of the Plans—Plaintiff Negron’s
plan—for example, “[i]n no event” can a Copayment or Coinsurance “exceed the amount paid




                                                   5
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 6 of 122




by the plan to the Pharmacy.” Accordingly, under this plan, a Copayment or Coinsurance may
not exceed 50% of the total amount the pharmacy collects for a prescription drug (“50% cap”).4

ANSWER: Paragraph 7 purports to characterize and partially quote documents, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the documents. CHLIC

denies the remaining allegations in Paragraph 7.



        8.     Merriam-Webster defines a copayment as “a small fixed fee that a health insurer
(as an HMO) requires the patient to pay for certain covered medical expenses (as office visits or
prescription drugs).”5

ANSWER: Paragraph 8 purports to quote a document, the terms of which speak for themselves,

and thus no response is required. To the extent that a response is required, CHLIC denies any

characterization contrary to the terms of the document. CHLIC denies the remaining allegations

in Paragraph 8.



       9.      Contrary to the express language of the Plans, Defendants and/or their agents
exercised their unilateral discretion to force network pharmacies to charge patients unauthorized
and excessive amounts for prescription drugs that far exceed the charges made by the pharmacy
under their agreements—sometimes overcharging patients by more than 1,000%—in violation
of the 50% cap. Moreover, Defendants and/or their agents “clawed back” some or all of these
excessive payments by forcing the pharmacies to pay the unauthorized and excessive charges to
Defendants and/or their agents after collecting them from the patients.




4
 The 50% cap in Plaintiff Negron’s plan comports with the concept of a Copayment or
Coinsurance. According to Merriam Webster, the definition of “co” is:
with : together : joint : jointly <coexist> <coheir>
in or to the same degree <coextensive>
a : one that is associated in an action with another : fellow : partner <coauthor> <coworker>
b : having a usually lesser share in duty or responsibility : alternate : deputy <copilot>
5
 See Co-payment, MERRIAM-WEBSTER (2016), http://www.merriam-webster.com/
dictionary/co%E2%80%93payment (last visited Jan. 9, 2017).

                                                   6
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 7 of 122




ANSWER: CHLIC denies the allegations in Paragraph 9.



        10.       As an example, on November 10, 2014, Defendants unilaterally determined that a
Class member had to pay a $20 Copayment to a pharmacy to purchase the prescription drug
Amlodipine, and required the pharmacy to collect this amount from the patient. Unbeknownst to
the Class member, the $20 Copayment Defendants required the pharmacy to collect from the
patient was a premium of at least 1,043% over the actual charge the pharmacy was allowed to
collect to fill the prescription under the pharmacy’s agreement with Defendants.

ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations in Paragraph 10 and therefore denies those allegations.



        11.    Specifically, Defendants and/or their agents agreed to pay only $1.75 for the
Amlodipine prescription under their contract with the pharmacy. Unknown to and hidden from
the Class member at the time, Defendants and/or their agents unilaterally directed and required
the pharmacy to (1) collect the $20 “copayment” from the patient; (2) force the patient to pay the
entire $1.75 contracted cost of the drug, not just a “portion” of that cost; and then (3) pay to
Defendants the unlawful $18.25 “Spread” between the required unlawful “copayment” and
Defendants’ actual cost agreed charge for the drug. The secret payment of the “Spread” required
from the pharmacy to the Defendants and/or their agents is known as a “Clawback.”

ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations about the drug transaction in Paragraph 11 and therefore denies those allegations.

CHLIC denies the remaining allegations in Paragraph 11.



        12.    Had Defendants lived up to their obligations, the patient would not have paid
more than the $1.75 charge the pharmacy agreed to be paid by Defendants for this prescription
drug. Accordingly, Defendants should and easily could have exercised their unilateral discretion
to determine that the pharmacy should charge and collect from the patients, at a maximum, only
$1.75 in accordance with the plan terms. Instead they imposed a premium of 1,043% beyond the
total amount the pharmacy should have collected.

ANSWER: CHLIC denies the allegations in Paragraph 12.



       13.     Under Plaintiff Negron’s plan, since the Copayment may not exceed the amount
paid by the plan to the Pharmacy, Defendants’ conduct was more egregious. Under that term of

                                                7
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 8 of 122




her plan, the most the Class member should have paid was 50% of the $1.75 amount paid to the
pharmacy. Accordingly, in that scenario, Defendants should and easily could have exercised
their unilateral discretion to determine that the pharmacy should charge and collect from the
insured a Copayment of $0.87, and that the plan would pay the pharmacy the remaining $0.88,
thereby paying the pharmacy the full bill for the prescription drug of $1.75. Other examples from
each the Plaintiffs are described below.

ANSWER: The first and second sentences of Paragraph 13 purport to characterize a document,

the terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the document.

CHLIC denies the remaining allegations in Paragraph 13.



        14.     Instead, through this “Clawback Scheme,” Defendants overcharged their
customers in violation of the Plans and Defendants’ fiduciary duties. Under Defendants’ scheme
as illustrated in this actual example, the prescription “copayment” is not a “co-” payment for at
least two reasons. First, a material portion of the $20 “Copayment” ($18.25) is not even a
payment of a prescription drug charge—it is a hidden “Clawback” payment to the insurance
company and/or its PBMs. Second, of the remaining $1.75 paid to the pharmacy for filling the
prescription, there is no “co-” payment or “co-” insurance payment because the Plans are not
paying any share of the drug cost. Instead, Defendants are forcing the patient to pay the full
amount owed to the pharmacy—it is not a “co-” payment, it is a “you-” payment. The transaction
is graphically depicted as follows as a violation of the 50% cap:

Drug price set by Defendants                           $   1.75
Co-Payment                                             $   20.00             Clawback
Difference Pocketed by Defendants ($20-$175)           $   18.25
Cigna should have paid                                 $   0.88
Copayment should have been                             $   0.87
                                                                             2199%
Overcharge ($20 − $0.87)                               $   19.13


ANSWER: CHLIC denies the allegations in Paragraph 14.



        15.     Defendants violated the Plans and breached their fiduciary duties and the implied
covenant of good faith and fair dealing by (1) secretly determining that patients must pay inflated
Copayments and Coinsurance and Deductible payments, (2) secretly forcing pharmacies to
collect those inflated Copayments and Coinsurance and Deductible payments on their behalf, and

                                                8
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 9 of 122




(3) secretly forcing pharmacies to remit to Defendants a significant portion of those inflated
Copayments and Coinsurance and Deductible payments in the form of illegal “Clawbacks.”

ANSWER: CHLIC denies the allegations in Paragraph 15.



        16.     Defendants utilized the U.S. Mail and interstate wire facilities to engage in their
fraudulent billing scheme in violation of RICO. Defendants represent to plan participants that
their copayment and/or coinsurance amounts are based on some portion of the actual cost for the
drug, when, in fact, plan participants pay more than the actual cost of the drug and Defendants
simply pocket the overpayment in the form of prescription “Clawback.”

ANSWER: CHLIC denies the allegations in Paragraph 16.



        17.    In order to implement Defendants’ fraudulent scheme, Defendants’ contracts with
participating pharmacies require the pharmacists not to disclose the existence of the excessive
charges or “Clawbacks” or the fact that a patient could, in certain circumstances, be required to
pay more for a prescription drug than if the patient did not have any insurance at all. As a result
of these “gag clauses,” the “Clawbacks” remain hidden from participants and beneficiaries.

ANSWER: Paragraph 17 purports to characterize documents, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the documents. CHLIC denies the remaining

allegations in Paragraph 17.



        18.    Defendants’ fraudulent scheme to artificially inflate the costs for medically
necessary prescription drugs, and then to surreptitiously retain those excess amounts, jeopardizes
the entire pharmaceutical delivery system. For one, patients are paying higher amounts than they
otherwise would have paid had Defendants not artificially inflated the payment amounts.
Therefore, patients believe that they are saving money through the use of their pharmacy benefit,
when, in reality, they are charged an excessive amount for prescriptions, beyond what their
health plans require them to pay.




                                                9
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 10 of 122




ANSWER: Paragraph 18 purports to characterize documents, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the documents. CHLIC denies the remaining

allegations in Paragraph 18.



         19.    Indeed, the very purpose of obtaining or participating in a health plan that
includes pharmacy benefits is to enable patients to receive the purported drug benefits through
the insurance company’s and PBMs’ negotiating and buying power with prescription drug
manufacturers, which is supposed to result in reduced costs for prescription drugs. That is,
patients should pay only the charges by the pharmacies under these agreements, while substantial
premiums and other costs and fees cover the other aspects of the prescription drug plans,
including their administration. Moreover, PBMs and plan administrators such as Cigna and its
affiliates and the external PBMs they hire are paid significant fees as compensation for their
services that are entirely separate from the “Clawbacks” at issue here, making the “Clawbacks”
excess, undisclosed profit in exchange for little to nothing.

ANSWER: To the extent that the third sentence of Paragraph 19 includes allegations specific to

CHLIC, CHLIC denies those allegations. CHLIC lacks information or knowledge sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 19 and therefore denies

those allegations.



       20.    As a result of Defendants’ fraudulent scheme to collect this “spread,” Defendants
overcharged Plaintiffs and the other Class members for prescription drugs during the Class
Period (defined below). Defendants’ misconduct has caused Plaintiffs and the other Class
members to suffer significant damages. Plaintiffs seek relief as follows:

ANSWER: CHLIC incorporates its response to Paragraph 143 as though fully set forth herein.

CHLIC denies the remaining allegations in Paragraph 20.



       21.     With regard to ERISA, under Count I, ERISA § 502(a)(1)(B), 29 U.S.C. §
1132(a)(1)(B), provides that a participant or beneficiary may bring an action to enforce his rights
under the terms of the plan or to clarify his rights to future benefits under the terms of the plan.
Defendants have violated the ERISA Plans by establishing the Spread and taking illegal
“Clawbacks” as alleged below and should not be allowed to continue to do so.

                                                10
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 11 of 122




ANSWER:       The first sentence of Paragraph 21 asserts legal conclusions and purports to

characterize a statute, the terms of which speak for themselves, and thus no response is required.

To the extent that a response is required, CHLIC denies any characterization contrary to the

terms of the statute. CHLIC denies the remaining allegations in Paragraph 21.



        22.     Under Count II, ERISA § 406(a), 29 U.S.C. § 1106(a), provides that a party in
interest shall not receive direct or indirect compensation unless it is reasonable and prohibits
transfers of plan assets and use of plan assets by or for the benefit of fiduciaries and plan service
providers. In setting the amount of and taking excessive undisclosed Spread compensation and
“Clawbacks,” Defendants allowed and received unreasonable compensation and misused the
assets of the ERISA Plans, including participant contributions at the pharmacy counter and the
Plan contracts that provided Defendants with the ability to extract these funds.

ANSWER:       The first sentence of Paragraph 22 asserts legal conclusions and purports to

characterize a statute, the terms of which speak for themselves, and thus no response is required.

To the extent that a response is required, CHLIC denies any characterization contrary to the

terms of the statute. CHLIC denies the remaining allegations in Paragraph 22.



        23.     Under Count III, ERISA § 406(b), 29 U.S.C. § 1106(b), provides that a fiduciary
shall not deal with plan assets in its own interest or for its own account, act in any transaction
involving the plan on behalf of a party whose interests are adverse to participants or
beneficiaries, or receive any consideration for its own personal account from any party dealing
with such plan in connection with a transaction involving the assets of the plan. In setting the
amount of and taking Spread compensation and “Clawbacks,” Defendants set their own
compensation, received plan assets and consideration for their personal accounts in violation of
this provision, and were acting under other conflicts of interest.

ANSWER:       The first sentence of Paragraph 23 asserts legal conclusions and purports to

characterize a statute, the terms of which speak for themselves, and thus no response is required.

To the extent that a response is required, CHLIC denies any characterization contrary to the

terms of the statute. CHLIC denies the remaining allegations in Paragraph 23.




                                                 11
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 12 of 122




        24.     Under Count IV, ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), provides that a
fiduciary shall discharge its duties with respect to a plan solely in the interest of the participants
and beneficiaries and for the exclusive purpose of providing benefits to participants and
beneficiaries and defraying reasonable expenses of administering the plan, and with the care,
skill, prudence and diligence under the circumstances then prevailing that a prudent person
acting in a like capacity and familiar with such matters would use in the conduct of an enterprise
of a like character and with like aims. In setting the amount of and taking excessive undisclosed
“Spread” compensation and “Clawbacks,” Defendants have breached their fiduciary duties of
loyalty and prudence.

ANSWER:        The first sentence of Paragraph 24 asserts legal conclusions and purports to

characterize a statute, the terms of which speak for themselves, and thus no response is required.

To the extent that a response is required, CHLIC denies any characterization contrary to the

terms of the statute. CHLIC denies the remaining allegations in Paragraph 24.



        25.     Under Count V, ERISA § 405(a), 29 U.S.C. § 1105(a), imposes liability on a
fiduciary, in addition to any liability which it may have under any other provision, for a breach
of fiduciary responsibility of another fiduciary with respect to the same plan if it knows of a
breach and fails to remedy it, knowingly participates in a breach, or enables a breach. The
Defendants breached all three provisions.

ANSWER:        The first sentence of Paragraph 25 asserts legal conclusions and purports to

characterize a statute, the terms of which speak for themselves, and thus no response is required.

To the extent that a response is required, CHLIC denies any characterization contrary to the

terms of the statute. CHLIC denies the remaining allegations in Paragraph 25.



        26.     Under Count VI, Defendants had actual or constructive knowledge of and
participated in and/or profited from the prohibited transactions and fiduciary breaches alleged in
Counts II-V by the Defendants who are found to be fiduciaries, and are liable to disgorge ill-
gotten gains and/or plan assets and to provide other appropriate equitable relief, pursuant to
ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3).

ANSWER: CHLIC denies the allegations in Paragraph 26.




                                                 12
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 13 of 122




         27.     With regard to RICO, under Count VII, Cigna and/or CHL has engaged in a
scheme to defraud in violation of RICO, 18 U.S.C. § 1962(c), by overcharging patients for the
cost of medically necessary prescription drugs alleged below and is liable to Plaintiffs the Class
for all statutory remedies.

ANSWER: CHLIC denies the allegations in Paragraph 27.



        28.    Under Count VIII, Defendants have engaged in a scheme to defraud in violation
of RICO, 18 U.S.C. § 1962(d), by overcharging patients for the cost of medically necessary
prescription drugs as alleged below and are liable to the Class for all statutory remedies.

ANSWER: CHLIC denies the allegations in Paragraph 28.



       29.     Under Count IX, Defendant CHL has breached its contracts with Plaintiff Blocker
and the State Law Subclass members in requiring them to pay amounts for prescriptions drugs in
excess of the amounts authorized by the Plans, including Overcharges and Spread.

ANSWER: CHLIC denies the allegations in Paragraph 29.



       30.     Under Count X, Defendant CHL has breached its implied covenant of good faith
and fair dealing in requiring Plaintiff Blocker and the State Law Subclass members to pay
Overcharges and Spread. Defendant CHL’s actions were performed in bad faith, with the intent
of maximizing its own revenue at participants’ expense, in contravention of the reasonable
expectations of Plaintiff Blocker and the State Law Subclass members.

ANSWER: CHLIC denies the allegations in Paragraph 30.



         31.    As further alleged below, Plaintiffs seek to represent a nationwide Class of all
insureds and plan participants whose health Plans are insured or administered by Cigna, its
affiliates, and its PBMs, as well as the ERISA Subclass and the State Law Subclass in which
they are members.

ANSWER: CHLIC admits that Plaintiffs purport to bring their claims as a class action under

Federal Rule of Civil Procedure 23 on behalf of the proposed class stated in Paragraph 31.

CHLIC denies that class certification is appropriate in this matter.




                                                 13
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 14 of 122




                                        JURISDICTION

        32.     Subject Matter Jurisdiction. This court has subject matter jurisdiction over this
action pursuant to (a) 28 U.S.C. § 1331, which provides for federal jurisdiction over civil actions
arising under the laws of the United States, including ERISA and RICO; (b) 29 U.S.C. §
1132(e)(1) providing for federal jurisdiction of actions brought under Title I of ERISA; and (c)
18 U.S.C. § 1964 providing for federal jurisdiction to prevent and restrain violations of 18
U.S.C. § 1962. Further, declaratory and injunctive relief are authorized by 28 U.S.C. §§ 2201
and 2202 and Rules 58 and 65 of the Federal Rules of Civil Procedure. Further, this Court has
supplemental jurisdiction over the state law claims in this action pursuant to 28 U.S.C. § 1367.
This Court also has subject matter jurisdiction over this action pursuant to (a) 28 U.S.C. §
1332(a) because the amount in controversy exceeds $75,000 and Mr. Blocker is domiciled in a
different state than both Defendants; and (b) 28 U.S.C. § 1332(d)(2)(A) because at least one
member of the State Law Subclass (defined below) is a citizen of a State different from any
Defendant, the aggregate amount in controversy exceeds five million dollars, exclusive of
interest and costs, and the Classes have more than 100 members.

ANSWER: Paragraph 32 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute. On

information and belief, CHLIC admits that Mr. Blocker is a resident of a different state than

CHLIC and/or Optum. CHLIC denies the remaining allegations in Paragraph 32.



        33.    Personal Jurisdiction. ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2) provides for
nationwide service of process. Upon information and belief, Defendants are residents of the
United States and subject to service in the United States, and this Court therefore has personal
jurisdiction over them. This Court also has personal jurisdiction over all Defendants pursuant to
Fed. R. Civ. P. 4(k)(1)(A) because they would be subject to the jurisdiction of a court of general
jurisdiction in Connecticut. Defendants also reside or may be found in this district or have
consented to jurisdiction in this district. In any event, this Court has personal jurisdiction over
Defendants because a substantial portion of the wrongdoing alleged in this Consolidated
Complaint took place in the State of Connecticut; Defendants are authorized to do business in the
State of Connecticut; Defendants conduct business in the State of Connecticut and this District;
Defendants have principal executive offices and provide prescription drug services in the State of
Connecticut and this District; Defendants advertise and promote their services in the State of
Connecticut and this District; Defendants have sufficient minimum contacts with the State of
Connecticut; Defendants administer health plans and pharmacy benefits under those plans from
the State of Connecticut; and/or Defendants otherwise intentionally avail themselves of the
markets in the State of Connecticut through the marketing and sale of insurance and related
products and services in this State so as to render the exercise of jurisdiction by this Court
permissible under traditional notions of fair play and substantial justice.

                                                14
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 15 of 122




ANSWER: Paragraph 33 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute.

CHLIC denies the remaining allegations in Paragraph 33.



        34.      Venue. Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because a
substantial part of the events giving rise to the claims herein occurred within this District, at least
one Defendant resides in this district, and/or a substantial part of property that is the subject of
the action is situated in this District. Venue is also proper in this District pursuant to ERISA §
502(e)(2), 29 U.S.C. § 1132(e)(2), because most Defendants reside or may be found in this
District and some or all of the fiduciary breaches or other violations for which relief is sought
occurred in or originated in this District. Venue is also proper in this District pursuant to 18
U.S.C. § 1965, because most Defendants reside, are found, have an agent, or transact their affairs
in this District, and the ends of justice require that any Defendant residing elsewhere be brought
before this Court.

ANSWER: Paragraph 34 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute.

CHLIC denies the remaining allegations in Paragraph 34.



                                 PARTIES AND NON-PARTIES

        35.     Plaintiff Negron is a citizen and resident of Massachusetts who received
prescription drug coverage under a group health plan provided by her employer for her benefit
using a governing form plan document provided by CHL (“Cigna Open Access Plus Medical
Benefits”). This Plan is a welfare benefit plan, as that term is defined in 29 U.S.C. § 1002(1)(A),
subject to ERISA (“ERISA Plan.”) This plan at all relevant times has been administered by CHL.
Under her plan, Plaintiff Negron was obligated to pay copayments of $10-$187 per prescription
for certain categories of drugs. As described in detail below, as a result of Defendants’ fraudulent
scheme, Plaintiff Negron has been injured by paying inflated patient contribution payments for
medically necessary prescriptions.




                                                  15
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 16 of 122




ANSWER: CHLIC admits that Ms. Negron is a participant in an employer-sponsored plan

insured and/or administered by CHLIC. On information and belief, CHLIC admits that Ms.

Negron is a resident of Massachusetts. The remaining allegations in Paragraph 35 purport to

characterize documents, the terms of which speak for themselves, and thus no response is

required. To the extent that a response is required, CHLIC denies any characterization contrary

to the terms of the documents. CHLIC denies the remaining allegations in Paragraph 35.



       36.     Plaintiff Gallagher is a citizen and resident of New Jersey and was covered by a
health plan provided by an employer and issued and administered by CHL. Plaintiff Gallagher
received prescription drug coverage through a Cigna group policy pursuant to a plan established
through the employer for her benefit. This plan is an ERISA Plan. Under the policy, Plaintiff
Gallagher was obligated to pay 10-45 % coinsurance per prescription for certain categories of
drugs. As described in detail below, as a result of Defendants’ fraudulent scheme, Plaintiff
Gallagher has been injured by paying inflated participant contribution payments for medically
necessary prescriptions.

ANSWER: CHLIC admits that Ms. Gallagher is a participant in an employer-sponsored plan

insured and/or administered by CHLIC. On information and belief, CHLIC admits that Ms.

Gallagher is a resident of New Jersey. The remaining allegations in Paragraph 36 purport to

characterize documents, the terms of which speak for themselves, and thus no response is

required. To the extent that a response is required, CHLIC denies any characterization contrary

to the terms of the documents. CHLIC denies the remaining allegations in Paragraph 36.



        37.     Plaintiff Perry is a citizen and resident of Washington who received prescription
drug coverage under a group health plan provided by his employer for his benefit using a
governing form plan document provided by CHL (“Cigna Open Access Plus Medical Benefits”).
This plan is an ERISA Plan and at all relevant times has been administered by CHL. Under the
plan, Plaintiff Perry was obligated to pay copayments of $10-$100 per prescription for certain
categories of drugs. As described in detail below, as a result of Defendants’ fraudulent scheme,
Plaintiff Perry has been injured by paying inflated participant contribution payments for
medically necessary prescriptions.



                                               16
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 17 of 122




ANSWER: CHLIC admits that Mr. Perry is a participant in an employer-sponsored plan

administered by CHLIC. On information and belief, CHLIC admits that Mr. Perry is a resident

of Washington. The remaining allegations in Paragraph 37 purport to characterize documents,

the terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the documents.

CHLIC denies the remaining allegations in Paragraph 37.



        38.     Plaintiff N. Curol is a citizen and resident of Louisiana who received prescription
drugs under a group health plan provided by her spouse’s employer for her benefit using a
governing form plan document provided by CHL (“Cigna Open Access Plus Standard Plan”).
This plan is an ERISA Plan and at all relevant times has been administered by CHL. Under the
plan, Plaintiff N. Curol was obligated to pay copayments of $10-$40 per prescription for certain
categories of drugs. As described in detail below, as a result of Defendants’ fraudulent scheme,
Plaintiff N. Curol has been injured by paying inflated participant contribution payments for
medically necessary prescriptions.

ANSWER: CHLIC admits that Ms. Curol is a participant in an employer-sponsored plan

administered by CHLIC. On information and belief, CHLIC admits that Ms. Curol is a resident

of Louisiana. The remaining allegations in Paragraph 38 purport to characterize documents, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the documents.

CHLIC denies the remaining allegations in Paragraph 38.



       39.    Plaintiff R. Curol is a citizen and resident of Louisiana who received prescription
drugs under a group health plan provided by his employer for his benefit using a governing form
plan document provided by CHL (“Cigna Open Access Plus Standard Plan”). This plan is an
ERISA Plan and at all relevant times has been administered by CHL. Under the plan, Plaintiff R.
Curol was obligated to pay copayments of $10-$40 per prescription for certain categories of
drugs. As described in detail below, as a result of Defendants’ fraudulent scheme, Plaintiff R.
Curol has been injured by paying inflated participant contribution payments for medically
necessary prescriptions.



                                                17
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 18 of 122




ANSWER: CHLIC admits that Mr. Curol is a participant in an employer-sponsored plan

administered by CHLIC. On information and belief, CHLIC admits that Mr. Curol is a resident

of Louisiana. The remaining allegations in Paragraph 39 purport to characterize documents, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the documents.

CHLIC denies the remaining allegations in Paragraph 39.



        40.    Plaintiff Billy Ray Blocker, Jr. is a citizen and resident of Georgia who received
prescription drug coverage under a self-funded group health plan provided by his employer Cobb
County for his benefit. This plan is a “governmental” plan as defined under ERISA and at all
relevant times has been administered by CHL. Under the plan, Plaintiff Blocker was obligated to
pay copayments of $10-$125 per prescription for certain categories of drugs. As described in
detail below, as a result of Defendants’ fraudulent scheme, Plaintiff Blocker has been injured by
paying inflated participant contribution payments for medically necessary prescriptions.

ANSWER: CHLIC admits that Mr. Blocker is a participant in an employer-sponsored plan

administered by CHLIC. On information and belief, CHLIC admits that Mr. Blocker is a

resident of Georgia. The remaining allegations in Paragraph 40 purport to characterize

documents, the terms of which speak for themselves, and thus no response is required. To the

extent that a response is required, CHLIC denies any characterization contrary to the terms of the

documents. CHLIC denies the remaining allegations in Paragraph 40.



        41.     Defendant Cigna is a global health services organization, incorporated in
Delaware, with its principal place of business in Bloomfield, Connecticut. In 2015, Cigna
reported revenue in excess of $37.9 billion, and the company is currently ranked 79th on the
Fortune 500. Cigna operates through three segments: (1) Global Health Care, which is comprised
of the Commercial operating segment, which encompasses both the U.S. commercial and certain
international health care businesses serving employers and their employees, and other groups,
and the Individuals and Government operating segment, which offers Medicare Advantage and
Medicare Part D plans to seniors and Medicaid plans; (2) Global Supplemental Benefits, which
offers supplemental health, life and accident insurance products in selected international markets
and in the U.S.; and (3) Group Disability and Life, which provides group long-term and short-
term disability, group life, accident and specialty insurance products and related services.

                                               18
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 19 of 122




ANSWER: Cigna was voluntarily dismissed as a Defendant in this action (Dkt. 119). CHLIC

admits that Cigna is a global health services organization, incorporated in Delaware, with its

principal place of business in Bloomfield, CT. To the extent that Paragraph 41 purports to

characterize a document, the terms of which speak for themselves, no response is required, and

CHLIC denies any characterization contrary to the terms of the document. CHLIC admits the

allegations in the third sentence of Paragraph 41. CHLIC denies the remaining allegations in

Paragraph 41.



        42.     Defendant CHL, incorporated in Connecticut, is a wholly-owned subsidiary of
Cigna with its principal place of business in Bloomfield, Connecticut. CHL underwrites life and
health insurance policies. The company provides group term life, accidental death and
dismemberment, dental, weekly income, and long-term disability insurance. CHL also
administers pharmacy benefits for health insurance policies it sells and health plans it
administers through its in-house PBM, Cigna Pharmacy Management, a business division of
CHL, which outsources certain PBM and administrative functions to other PBM service
providers, while retaining other functions with Cigna and its affiliates. At relevant times here,
these external service providers have included OptumRx, Catamaran, and Argus.

ANSWER: CHLIC admits the allegations in the first four sentences of Paragraph 42. CHLIC

further admits that since June 2013, CPM has outsourced certain pharmacy benefit management

functions to Optum (and its predecessor Catamaran).         CHLIC further admits that Argus

processes claims for certain of CHLIC’s pharmacy benefit management plan sponsors and plan

participants. CHLIC denies the remaining allegations in Paragraph 42.



       43.     Defendant OptumRx is a California corporation with its principal place of
business in Irvine, California.6 OptumRx is a PBM currently used by Cigna and its subsidiaries
6
  OptumRx is a subsidiary of OptumRx Holdings, LLC, a Delaware corporation. OptumRx
Holdings, LLC is a subsidiary of Optum, Inc., a Delaware corporation with its principal place of
business in Eden Prairie, Minnesota. Optum, Inc. is a subsidiary of United HealthCare Services,
Inc., a Minnesota corporation with its principal place of business in Minnetonka, Minnesota.
United HealthCare Services, Inc. is a subsidiary of UnitedHealth Group Incorporated, a
Delaware corporation with its principal place of business in Minnetonka, Minnesota.

                                               19
         Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 20 of 122




since June 11, 2013 when OptumRx’s subsequently-acquired Catamaran subsidiary7 replaced
Argus for certain services to CHL-administered plans under a ten-year contract.8 OptumRx
operates through its Catamaran subsidiary,9 through which it provides pharmacy care services to
more than 66 million people in the United States through its network of more than 67,000 retail
pharmacies and multiple home delivery facilities throughout the country. Upon information and
belief, OptumRx provides pharmacy benefit management services to a substantial number of
Cigna customers. In 2015, OptumRx reported approximately $31.6 billion in revenue; and in
2016, OptumRx reported over $44.5 billion in revenue.

ANSWER: CHLIC admits that Optum is a California corporation with its principal place of

business in Irvine, California. CHLIC admits that Optum reported that it provides pharmacy care

services to more than 66 million people in the United States through its network of more than

67,000 retail pharmacies and multiple home delivery facilities throughout the country. CHLIC

admits that, in 2015, Optum reported approximately $31.6 billion in revenue, and in 2016,

Optum reported over $44.5 billion in revenue. CHLIC further admits that since June 2013, CPM

has outsourced certain pharmacy benefit management functions to Optum (and its predecessor

7
 In 2015, Defendant OptumRx acquired Catamaran, which reported $21.6 billion in revenue).
Health Strategies Group, Research Agenda 2015: Pharmacy Benefit Managers (2014),
http://www.healthstrategies.com/sites/default/files//PBM_Research_Agenda_PBM_RA101513.p
df; Optum, OptumRx, Catamaran Complete Combination (July 23, 2015),
https://www.optum.com/about/news/optumrx-catamaran-complete-combination.html.
8
 On June 11, 2013, Cigna announced that “Catamaran will replace DST Systems Inc.’s Argus
Health unit, which has been managing prescription benefits for Cigna’s commercial customers.”
According to the disclosures, however:
Cigna will retain formulary management, clinical and product development, sales and marketing,
and will manage “all day-to-day customer- and client-facing functions.”
Catamaran will provide prescription drug procurement and inventory management, order
fulfillment for Cigna’s home-delivery pharmacy, retail network contracting, and claims
processing.
Catamaran will remain behind the scenes, because the mail pharmacy and all pharmacy-related
customer interactions will still have the Cigna brand.
Cigna will lead the medical-pharmacy benefit integration activities.
Alex Wayne, Catamaran Gains Cigna’s Prescription Drug Business (June 11, 2013),
https://www.bloomberg.com/news/articles/2013-06-10/catamaran-gains-cigna-s-prescription-
drug-business.
9
    Catamaran in headquartered in Shaumburg, IL.

                                               20
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 21 of 122




Catamaran). CHLIC admits that Catamaran is headquartered in Shaumburg, IL. CHLIC further

admits that CHLIC contracts with Optum to allow plan participants to access Optum’s network

of over 70,000 retail pharmacies. CHLIC admits the allegations in footnote 6 to Paragraph 43.

Footnotes 7 and 8 to Paragraph 43 purports to characterize documents, the terms of which speak

for themselves, and thus no response is required. To the extent that a response is required,

CHLIC denies any characterization contrary to the terms of the documents. CHLIC denies the

remaining allegations in Paragraph 43.



        44.    Non-party Argus is a PBM and claims processer used by Cigna and its
subsidiaries. Argus, headquartered in Kansas City, Missouri, describes itself as being a provider
of pharmacy and health management solutions. Argus purports to offer modular to full-service
solutions focused on lowering plan cost and improving patient and provider quality measures.
Upon information and belief, Argus provides pharmacy benefit management and claims
processing services to Cigna customers.10 Prior to Cigna’s 2013 contract, Argus administered
pharmacy benefits for participants in plans insured and administered by Cigna and its affiliates
and since January 2016 has been retained by Cigna again to provide administrative services to
Cigna and its affiliates.

ANSWER: CHLIC admits that non-party Argus is headquartered in Kansas City, Missouri, and

describes itself as being a provider of pharmacy and health management solutions and as offering

modular to full-service solutions focused on lowering plan cost and improving patient and

provider quality measures. CHLIC further admits that Argus processes claims for certain of

10
   As a result of Cigna’s contract with Catamaran in 2013, “Argus already had lost about 40
percent of Cigna’s business by Jan. 1[, 2015]. The remaining 60 percent was set to be
decommissioned during the next two years.” James Dornbrook, DST earnings sink but still beat
analysts’ expectations (Oct 22, 2015).
http://www.bizjournals.com/kansascity/news/2015/10/22/dst-earnings-sink-but-still-beat-
analysts.html. But, on October 21, 2015, Argus “announced it has renewed its relationship with
Cigna to provide certain pharmacy solutions services. The new multi-year contract, which
provides administrative management of pharmacy claims for millions of Cigna’s commercial
plan members currently serviced by Argus, will be effective January 1, 2016.” DST, Cigna
Renews Relationship with Argus Health for pharmacy solutions (Oct 21, 2015),
http://www.dstsystems.com/newsroom/cigna-renews-relationship-with-argus-health-for-
pharmacy-solutions/.

                                               21
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 22 of 122




CHLIC’s pharmacy benefit management plan sponsors and plan participants. Footnote 10 to

Paragraph 44 purports to characterize documents, the terms of which speak for themselves, and

thus no response is required. To the extent that a response is required, CHLIC denies any

characterization contrary to the terms of the documents. CHLIC denies the remaining allegations

in Paragraph 44.



                              SUBSTANTIVE ALLEGATIONS

                       Health Insurance in General in the United States

        45.    Over 90% of health care beneficiaries in the United States have a health care plan
(either private or public) that covers all, or a portion of, their medical and pharmaceutical
expenses.

ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations in Paragraph 45 and therefore denies those allegations.



         46.  Health insurance is paid for by a premium paid for medical and prescription drug
benefits for a defined period or through employer plans that either provide benefits by
purchasing group insurance policies or are self-funded but administered by health insurance
companies and their affiliates.11 Premiums and contributions to coverage in all types of plans can
be paid by individual plan participants or beneficiaries, employees, unions, employers or other
institutions.

ANSWER: Answering footnote 11 of Paragraph 46, CHLIC admits that it provides pharmacy

benefits to certain employer-sponsored plans and the plans’ participants through its business

division CPM, which performs various pharmacy benefit management services and also

11
  According to Cigna, over 85% of its market is in ERISA-covered health plans, while 5% is in
the individual market and government-related plans like Medicare. Approximately 83% of
Cigna’s customers are in “administrative services only” arrangements where Cigna and its
affiliates manage and administer self-funded plans, while approximately 17% of plans are
insured through CHL policies. Whatever the plan structure, Cigna and its affiliates administer
and manage the Plans and their prescription drug benefits through Cigna Pharmacy Management
and external PBMs.

                                                22
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 23 of 122




outsources certain pharmacy benefit management functions to various vendors. The remaining

allegations in footnote 11 to Paragraph 46 purport to characterize Cigna’s 2015 Form 10-K, the

terms of which speak for themselves, and thus no response is required.            CHLIC lacks

information or knowledge sufficient to form a belief as to the truth of the remaining allegations

in Paragraph 46 and therefore denies those allegations.



        47.    If a Plan covers outpatient prescription drugs, the cost for prescription drugs is
often shared between the patient and the Plan. Such cost sharing can take the form of deductible
payments, coinsurance payments and copayments. In general, deductibles are the dollar amounts
the patient pays during the benefit period (usually a year) before the Plan starts to make
payments for drug costs. Coinsurance generally requires a patient to pay a stated percentage of
drug costs. Copayments are generally fixed dollar payments made by a patient toward drug costs.

ANSWER: Paragraph 47 purports to characterize documents, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the documents and denies the remaining

allegations in Paragraph 47.



        48.     Consumers purchase health insurance and enroll in employer-sponsored health
plans to protect them from unexpected high medical costs, including prescription drug costs.
Patients, including Plaintiffs and Class members, at a minimum, expect to pay the same prices or
better than uninsured or cash-paying individuals for a prescription. Otherwise, they not only
would receive no benefit from their drug plan, but also would, in fact, be punished for having a
health plan. Therefore, Class members reasonably expect to pay less for prescription drugs than
cash-paying customers who do not have prescription drug coverage.

ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations in Paragraph 48 and therefore denies those allegations.



             The Pharmacy Benefits Industry and Pharmacy Benefits Managers

      49.     The pharmaceutical benefits industry consists of complex arrangements between
numerous entities, including, but not limited to, drug manufacturers, drug wholesalers, PBMs,

                                                23
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 24 of 122




pharmacies, health insurance companies, employers, and health plan participants and
beneficiaries.

ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations in Paragraph 49 and therefore denies those allegations.



        50.    On the drug distribution side of the market, the drug manufacturer typically sells
drugs to a drug wholesaler, which in turn sells the drugs to a retail pharmacy. Payments for the
drugs in turn go from the retail pharmacy to the wholesaler and to the manufacturer. The retail
pharmacy then distributes drugs to patients from its inventory. Neither the PBM nor the
insurer/administrator is involved in the distribution of prescription drugs.

ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations in Paragraph 50 and therefore denies those allegations.



         51.    The retail payment side of the market for drugs is largely directed and controlled
by insurance companies and their contracted or owned PBMs. In most instances where a health
plan provides prescription drug benefits, a PBM is the agent of the insurance company or
affiliate hired to administer the prescription drug component of a health plan. For example,
Argus and OptumRx acted as Defendants’ agents in administering Defendants’ prescription drug
plans.

ANSWER: The third sentence of Paragraph 51 asserts legal conclusions to which no response is

required. CHLIC lacks information or knowledge sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 51 and therefore denies those allegations.



        52.   According to the Pharmaceutical Care Management Association, PBMs manage
pharmacy benefits for 266 million Americans as of 2016. They may operate as part of integrated
retail pharmacies (e.g., CVS Health and Caremark) or as part of health insurance companies
(e.g., CHL and Cigna Pharmacy Management or UnitedHealth Group and Optum).

ANSWER: To the extent that Paragraph 52 purports to characterize documents, the terms of

which speak for themselves, no response is required, and CHLIC denies any characterization

contrary to the terms of the documents.        CHLIC further lacks information or knowledge


                                                24
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 25 of 122




sufficient to form a belief as to the truth of the allegations in Paragraph 52 and therefore denies

those allegations.



        53.     When a patient presents a prescription at a pharmacy, key information such as the
patient’s name, drug dispensed and quantity dispensed is transmitted via interstate wire to a
“switch” that then directs the information to the correct PBM. The PBM instantaneously
processes the claim according to the benefits plan assigned to the patient. The PBM
electronically transmits via interstate wire a message back to the pharmacy indicating whether
the drug and patient are covered and, if so, the amount the pharmacy must collect from the
patient as a copayment, coinsurance, or to be paid toward a deductible.

ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations in Paragraph 52 and therefore denies those allegations.



        54.   The PBM is supposed to pay the pharmacy any amounts owed to the pharmacy
over the copayment, coinsurance or deductible amount paid by the patient approximately every
two weeks for the claims that were processed by any given pharmacy in the prior two-week
period.

ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations in Paragraph 54 and therefore denies those allegations.



        55.    If the patient’s payment is greater than the amount that the insurer/administrator
or its PBM has negotiated to pay the provider pharmacy, however, there will be a “negative
reimbursement” to the pharmacy for the “Spread” between the patient’s payment and the actual
cost of the drug to the insurer or its PBM.

ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations in Paragraph 55 and therefore denies those allegations.



        56.     The “negative reimbursement” is paid by the pharmacy to Defendants as part of
the reconciliation every two weeks.

ANSWER: CHLIC denies the allegations in Paragraph 56.


                                                25
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 26 of 122




       57.     This payment of a “Spread” to the insurer and/or its PBM—referred to in the
industry as a “Clawback”—evidences the overcharges to the Plans and patients.

ANSWER: CHLIC denies the allegations in Paragraph 57.



      The Patient–Insurer/Administrator–PBM–Pharmacy Contractual Relationships

        58.    Contractual relationships exist between the employer or individual and the health
insurance company that underwrites and/or administers the plan; the insurer/administrator and
the PBM; and the PBM and the pharmacy. An employer or individual buys prescription drug
coverage or prescription drug benefit administration services from a health insurance company to
provide prescription drug benefits for its employees under health plans. Health insurance
companies then hire PBMs to manage the prescription drug benefits offered pursuant to their
policies and ASO contracts.

ANSWER: Paragraph 58 purports to characterize documents, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the documents. CHLIC denies the remaining

allegations in Paragraph 58.



        59.    The following diagram represents (in simplified form) the contractual
relationships among the parties:




ANSWER: Paragraph 59 purports to characterize and partially quote documents, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the documents. CHLIC

denies the remaining allegations in Paragraph 59.




                                               26
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 27 of 122




        60.    Employer/Individual–Insurer Agreements (i.e., Health Plans). Employers and
individuals buy prescription drug coverage to provide prescription drug benefits. These policies
and plans contain uniform provisions that set forth key terms such as the mechanism for and
amount of the deductible, copayment, and/or coinsurance that a patient must pay to obtain
prescription drug benefits. Plaintiffs and Class members are intended beneficiaries of such
agreements and they are participants and beneficiaries in the plans.

ANSWER: Paragraph 60 purports to characterize and partially quote documents, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the documents. CHLIC

denies the remaining allegations in Paragraph 60.


        61.    Insurer–PBM Agreements. Health insurance companies, such as Defendants,
contract with and/or own PBMs, which act as their agents to administer the prescription drug
benefits purchased through the health insurance plans that the insurers issue or administer.

ANSWER: Paragraph 61 purports to characterize and partially quote documents, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the documents. CHLIC

denies the remaining allegations in Paragraph 61.


        62.    PBM–Pharmacy Agreements. PBMs in turn, contract with pharmacies, which
serve as providers in the insurers/administrators’ pharmacy network. The pharmacies fill
prescriptions that are health benefits covered under the plans. Pursuant to these agreements, the
PBMs set the amount that a pharmacy will collect from a patient for a prescription drug, the
amount the PBM (and insurer or plan) will pay the pharmacy for filling the patient’s prescription,
and the amount of the patient’s payment that the pharmacy must send to the PBM as a
“Clawback.” On information and belief, the pharmacy has no role in setting the amount of the
patient’s payment and thus must accept the “Clawback” amount as determined by the PBM.

ANSWER: Paragraph 62 purports to characterize and partially quote documents, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the documents. CHLIC

denies the remaining allegations in Paragraph 62.




                                               27
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 28 of 122




       63.     The relationship among the parties is shown graphically as follows:




ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations in Paragraph 63 and therefore denies those allegations.



        64.    Pursuant to the health plans, insurers must ensure that, when they contract with
and direct a PBM to act as their agent to manage prescription drug benefits, the PBM follows the
plans’ terms, such that patients are not overcharged for their prescription drug benefits.

ANSWER: Paragraph 64 asserts legal conclusions and purports to characterize documents, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the documents.

CHLIC denies the remaining allegations in Paragraph 64.



       65.    To the contrary, PBMs, acting as agents and/or in concert with health insurance
companies, routinely require that patients pay substantially higher prices for prescription drugs
than are allowed under the plans. Here, Defendants and their non-party PBMs such as Argus
engaged in such practices with respect to Class members’ Plans.




                                                28
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 29 of 122




ANSWER: Paragraph 65 asserts legal conclusions and purports to characterize documents, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the documents.

CHLIC denies the remaining allegations in Paragraph 65.



          Patients, Participants and Beneficiaries in Defendants’ Health Plans Pay
           Undisclosed, Unauthorized and Excessive Fees for Prescriptions Drugs

        66.    The Defendants in this case have taken the general employer/individual–insurer–
PBM–pharmacy structure and, through various agreements, created their unlawful “Clawback”
Scheme. Under these agreements, the pharmacy charges the patients a prescription drug price (or
portion of such a price) that is set by the PBM and/or insurer/administrator, which typically is
based on a percentage of the so-called average wholesale price or “AWP” (the “Patients’
Price”).12 Alternatively, the pharmacy charges the patients a flat copayment, which also is set by
the Defendants and/or their agent PBMs.

ANSWER: Paragraph 66 purports to characterize documents, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the documents. CHLIC denies the remaining

allegations in Paragraph 66 and denies that it has created an unlawful “Clawback” Scheme.



        67.    The Patients’ Price or copayment routinely is higher than the price the PBM
agrees to pay the pharmacy for providing the drug to the patients—particularly for many low-
cost, high volume generic prescription drugs, although some brand drugs are also subject to
“Clawbacks.”




12
   Average Wholesale Price is an amount set by the prescription drug manufacturers that rarely,
if ever, reflects a true price charged in wholesale transactions.

                                               29
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 30 of 122




ANSWER: CHLIC admits that the amount that participants pay for their prescription drugs is

sometimes less than, sometimes the same as, and sometimes more than the amount that a

pharmacy has contractually agreed with a PBM to accept for the prescription drug. CHLIC

denies the remaining allegations in Paragraph 67.



        68.      Moreover, under the confidentiality provisions of the PBM–Pharmacy
Agreements, pharmacies cannot tell patients that they are being overcharged, much less sell
drugs to them at a lower price separate and apart from the Plans. If a pharmacy violates the “gag
clause,” it risks termination from the insurers’ network. As a result, Plaintiffs and the Class have
been deprived of the opportunity to purchase their prescription drugs not only at prices their
Plans dictate, but also at the retail cash price the pharmacy would charge to someone without
insurance.

ANSWER: Paragraph 68 purports to characterize documents, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the documents. CHLIC denies the remaining

allegations in Paragraph 68.



        69.    In summary, the PBM–Pharmacy Agreements: (1) require pharmacies to charge
patients more for drugs than the Defendants and their PBMs have agreed the pharmacies will be
paid for the drugs, with the difference between the two amounts known as the “Spread;” (2)
require the pharmacies to collect the “Spread” from patients; (3) require payment of Spread or
deduction of the “Spread” from future reimbursement to the pharmacy by the PBM as a
“Clawback;” (4) prohibit pharmacies from disclosing to patients the existence or amount of the
“Spread” and “Clawback;” (5) prohibit pharmacies from disclosing to patients that they can
purchase drugs at lower prices; and (6) prohibit pharmacies from selling to patients covered
prescription drugs at prices that are lower than the price that the insurer/PBM orders the
pharmacies to charge patients. Instead, the “Spread” and “Clawback” overcharges are pocketed
secretly and unlawfully by the insurance companies, the PBMs, and/or their agents.

ANSWER: Paragraph 69 purports to characterize documents, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the documents. CHLIC denies the remaining

allegations in Paragraph 69.

                                                30
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 31 of 122




       70.   There are several ways in which Defendants operate this “Clawback Scheme.”
For example:

                (a)    A patient under one of the Plans went to a pharmacy to purchase
prescription-strength Vitamin D (50,000 IU).

               (b)     In this documented instance, prescription-strength Vitamin D was
purchased by the pharmacy from the manufacturer or wholesaler for $0.60. Pursuant to the
PBM– Pharmacy Agreement, the PBM paid the pharmacy $0.96 for the drug, a fulfillment fee of
$1.40, and $0.21 in tax. Accordingly, pursuant to the PBM–Pharmacy Agreement, the contracted
charge made by the pharmacy was $2.57 for the prescription.

              (c)    Despite this, pursuant to the PBM–Pharmacy Agreement, the PBM
required the pharmacy to charge the patient a $7.68 “copayment” for the prescription-strength
Vitamin D— an almost 300% overcharge.

               (d)   The PBM–Pharmacy Agreement then required the pharmacy to pay to the
PBM/insurer the “Spread” between the contracted fee and the “copayment” amount collected
from the patient—a $5.11 “Clawback.”

               (e)    On information and belief, the PBM–Pharmacy Agreement further
prohibited the pharmacy from disclosing to the patient the amount of the payment to the
pharmacy or the “Clawback” or from selling the drug to the patient for less than the “copayment”
separate and apart from the policy.

                (f)    The above-described transaction is set forth below in an annotated excerpt
of an actual transaction record from an investigation into this scheme.




                                               31
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 32 of 122




ANSWER: To the extent that Paragraph 70 and subparts (a) through (q) purports to characterize

a document, the terms of which speak for themselves, no response is required. To the extent that

a response is required, CHLIC denies any characterization contrary to the terms of the

documents. CHLIC denies the remaining allegations in Paragraph 70 and subparts (a) through

(f).



       71.    Alternatively, where the patient pays a deductible and/or coinsurance (not a
copayment), the patient is overcharged because his or her payment is based on the inflated
amount that the PBM requires the pharmacy to charge the customer, not the lower amount that
the Defendants and PBM pay to the pharmacy.

ANSWER: CHLIC denies the allegations in Paragraph 71.



       72.     As an example, using the contracted fees above, the insurer/PBM could set the
amount that the pharmacy must charge the patient for Vitamin D at $7.68, but the insurer/PBM
would pay the pharmacy only $2.57. Under the full deductible portion of a plan, the patient pays
$7.68, the pharmacist keeps $2.57, and the pharmacy is forced to pay the PBM/insurance
company a “Clawback” of $5.11. Under a coinsurance plan, the patient would pay a percentage
of $7.68 rather than a percentage of $2.57, with the difference being subject to a “Clawback.”

ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations about these drug transactions and therefore denies the allegations in Paragraph 72.



       73.    Upon information and belief, Defendants and/or their agents take “Clawbacks”
and/or Spread payments thousands of time each day from pharmacies all across the country.
Additional examples of Cigna and its PBMs clawing back from pharmacies overcharges to Class
members include the following:

              (a)    On October 7, 2014, a Class member paid to a pharmacy a $6.47
copayment for the prescription drug Sertraline—a 134% premium over the actual $6.47 fee paid
to the pharmacist. Without disclosing it to the customer, Defendants clawed back the $3.71
overcharge.

              (b)    On November 6, 2014, a Class member paid to a pharmacy a $10.00
copayment for the prescription drug Azithromycin—a 233% premium over the actual $4.29 fee


                                                32
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 33 of 122




paid to the pharmacist. Without disclosing it to the customer, Defendants clawed back the $5.71
overcharge.

              (c)   On November 10, 2014, a Class member paid to a pharmacy a $20
copayment for the prescription drug Amlodipine Besylate—greater than ten times (1,043%)
more than the actual $1.75 fee paid to the pharmacist. Without disclosing it to the customer,
Defendants clawed back the $18.25 overcharge.

               (d)    On November 11, 2014, a Class member paid to a pharmacy a $20
copayment for the prescription drug Clopidogrel—a 468% premium over the actual $3.52 fee
paid to the pharmacist. Without disclosing it to the customer, Defendants clawed back the $16.48
overcharge.

              (e)     On September 5, 2015, a Class member paid to a pharmacy a $7.68
copayment for the prescript drug Vitamin D—a 299% premium over the actual $2.57 fee paid to
the pharmacist. Without disclosing it to the customer, Defendants clawed back the $5.11
overcharge.

              (f)    On January 15, 2016, a Class member paid to a pharmacy a $6.99
copayment for the prescript drug Melacoxam—a 344% premium over the actual $2.03 fee paid
to the pharmacist. Without disclosing it to the customer, Defendants clawed back the $4.96
overcharge.

               (g)    On July 22, 2016, a Class member paid to a pharmacy a $10.00 copayment
for the prescript drug Atorvastatin—a 246% premium over the actual $4.06 fee paid to the
pharmacist. Without disclosing it to the customer, Defendants clawed back the $5.94 overcharge.

              (h)    On September 5, 2016, a Class member paid to a pharmacy a $5.38
copayment for the prescript drug Prednisolone—a 131% premium over the actual $4.11 fee paid
to the pharmacist. Without disclosing it to the customer, Defendants clawed back the $1.27
overcharge.

              (i)    On October 7, 2016, a Class member paid to a pharmacy a $6.47
copayment for the prescription drug Sertraline—a 134% premium over the actual $6.47 fee paid
to the pharmacist. Without disclosing it to the customer, Defendants clawed back the $3.71
overcharge.

             (j)     On October 7, 2016, a Class member paid to a pharmacy a $6.63
copayment for the prescript drug SMZ/TMP—a 191% premium over the actual $2.28 fee paid
to the pharmacist. Without disclosing it to the customer, Defendants clawed back the $4.35
overcharge.

              (k)    On October 7, 2016, a Class member paid to a pharmacy a $15.00
copayment for the prescription drug Mupirocin—a 81% premium over the actual $8.27 fee paid
to the pharmacist. Without disclosing it to the customer, Defendants clawed back the $6.73
overcharge.



                                              33
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 34 of 122




               (l)    On December 2, 2016, a Class member paid to a pharmacy a $10.00
copayment for the prescription drug Bupropion—a 440% premium over the actual $2.27 fee
paid to the pharmacist. Without disclosing it to the customer, Defendants clawed back the $7.73
overcharge. On January 19, 2016 and February 17, 2016, Plaintiff N. Curol paid to Robichaux’s
Pharmacy in Lockport, Louisiana a $10.00 copayment for a prescription drug—a 336% premium
over the actual $2.97 fee paid to the pharmacy. Without disclosing it to Plaintiff N. Curol,
Defendants clawed back the $7.03 overcharge.

               (m)     On March 21, 2016, April 19, 2016, and May 16, 2016, Plaintiff N. Curol
paid to Robichaux’s Pharmacy in Lockport, Louisiana a $10.00 copayment for a prescription
drug—a 161% premium over the actual $6.19 fee paid to the pharmacy. Without disclosing it to
Plaintiff N. Curol, Defendants clawed back the $3.81 overcharge.

              (n)    On May 9, 2016, Plaintiff R. Curol paid to Robichaux’s Pharmacy in
Lockport, Louisiana a $10.00 copayment for a prescription drug—a 161% premium over the
actual $6.19 fee paid to the pharmacy. Without disclosing it to Plaintiff R. Curol, Defendants
clawed back the $3.81 overcharge.

               (o)     On January 19, 2016, March 15, 2016, June 7, 2016, Plaintiff R. Curol
paid to Robichaux’s Pharmacy in Lockport, Louisiana a $10.00 copayment for a prescription
drug—a 311% premium over the actual $3.21 fee paid to the pharmacy. Without disclosing it to
Plaintiff R. Curol, Defendants clawed back the $6.79 overcharge.

               (p)     On February 22, 2016, April 18, 2016, June 7, 2016, Plaintiff R. Curol
paid to Robichaux’s Pharmacy in Lockport, Louisiana a $10.00 copayment for a prescription
drug—a 245% premium over the actual $4.07 fee paid to the pharmacy. Without disclosing it to
Plaintiff R. Curol, Defendants clawed back the $5.93 overcharge.

ANSWER: CHLIC denies the allegations in Paragraph 73 and subparts (a) through (p).



       74.   Upon information and belief, Cigna developed and directed the “Clawback
Scheme” through its Plans. According to a Notice sent on July 2, 2014 by the American
Associated Pharmacies (“AAP”)—a member-owned cooperative comprised of over 2,000
independent pharmacies—to its members: “Clawbacks” result from the “benefit design of the
Cigna plans for certain patients.” “For certain Cigna plans this new benefit design was
implemented effective March 1, 2014.”




                                              34
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 35 of 122




ANSWER: CHLIC denies the allegations in the first sentence of Paragraph 74. The remaining

allegations in Paragraph 74 purport to characterize and partially quote a document, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the document. CHLIC

denies the remaining allegations in Paragraph 74.



        75.    At least some of the “Clawbacks” that the pharmacies are required to pay to
Cigna’s PBMs, OptumRx and Argus, are sent back to Cigna or its affiliates. According to the
notice, AAP members collect a 100% copayment from patient insureds and then OptumRx, on
behalf of Cigna, “pull[s] back the amount that is in excess of the Contacted Rate [paid to the
pharmacists.]”

ANSWER: CHLIC admits that, in some circumstances, it may be credited or retain a

differential between the amount the pharmacy has contractually agreed to accept for the

prescription drug and the amount the participant or beneficiary has paid to the pharmacy for that

drug. The allegations in the second sentence of Paragraph 75 purport to characterize and

partially quote a document the terms of which speak for themselves, and thus no response is

required. To the extent that a response is required, CHLIC denies any characterization contrary

to the terms of the document. CHLIC denies the remaining allegations in Paragraph 75.



       76.    Moreover, Cigna required the pharmacies by contract “to collect the full amount
of the Participant’s copayment, coinsurance or deductible” and dictated that these patient
payments “are not eligible to be discounted or excused/waived...” according to Cigna’s
Pharmacy Management Program Requirements and Participating Pharmacy Manual.




                                               35
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 36 of 122




ANSWER: Paragraph 76 purports to characterize and partially quote a document, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the document. CHLIC

denies the remaining allegations in Paragraph 76.



        77.    Defendants even blocked pharmacists from disclosing the existence of Spread and
“Clawbacks” and from selling prescription drugs directly to customers for a lower price.
According to Doug Hoey (“Hoey”) of the National Community Pharmacists Association
(“NCPA”), a pharmacist sent him a letter received from OptumRx. Hoey stated that the letter
from “Optum scolded the pharmacist,” stating that OptumRx had ‘“recently discovered that
pharmacy advised members that utilizing a cash price for their prescription is a better deal than
using their insurance benefits.’”13 OptumRx further stated in the letter that “telling customers a
cheaper price exists is a ‘violation of the agreement,’ [with OptumRx],” that OptumRx ‘takes
these matters very seriously[,]’ and that ‘failure to timely comply with this notice could result in
further disciplinary action, up to and including termination from all Optum pharmacy
networks.’” Id.

ANSWER: Paragraph 77 purports to characterize and partially quote documents, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the documents. CHLIC

denies the remaining allegations in Paragraph 77.



        78.   Indeed, a June 28, 2016 press release issued by the NCPA described the
“Clawback” practice and how it is impacting pharmacists and consumers throughout the United
States.14 The press release went on to discuss a survey that was conducted by the NCPA of its
members between June 2 and June 17, 2016, which disclosed the following:


13
  See Lee Zurik, As United overcharges customers, execs earn tens of millions in stock,
FOX8LIVE.COM (July 18, 2016, 11:10 PM), http://www.fox8live.com/story/32472327/
zurikasunitedoverchargescustomersexecsearntensofmillionsinstock (last visited Jan. 9, 2017).
14
   News Releases, NCPA, Pharmacists Survey: Prescription Drug Costs Skewed by Fees on
Pharmacies, Patients (June 28, 2016), http://www.ncpanet.org/newsroom/news-
releases/2016/06/28/pharmacists-survey-prescription-drug-costs-skewed-by-fees-on-pharmacies-
patients (last visited Jan. 9, 2017); see also Survey of Community Pharmacies, NCPA (2016),
http://www.ncpa.co/pdf/dir_fee_pharamcy_survey_june_2016.pdf (last visited Jan. 9, 2017).

                                                36
           Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 37 of 122




         •      “Clawbacks” are relatively common, as 83 percent of pharmacists witnessed them
at least 10 times during the past month.

           •      Two-thirds (67 percent) said the practice is limited to certain PBMs.

        •     Most (59 percent) said they believe the practice occurs in Medicare Part D plans
as well as commercial ones.

         •       Sometimes PBM corporations impose “gag clauses” that prohibit community
pharmacists from volunteering the fact that a medication may be less expensive if purchased at
the “cash price” rather than through the insurance plan. In other words, the patient has to
affirmatively ask about pricing. Most pharmacists (59 percent) said they encountered these
restrictions at least 10 times during the past month.15

ANSWER: Paragraph 78 purports to characterize and partially quote a document, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the document. CHLIC

denies the remaining allegations in Paragraph 78.



       79.    Some of the comments received from the pharmacists who responded to the
survey included:

       “Got one today. [PBM] charging a patient $125 for a generic drug and take back
$65 from the pharmacy. If paid cash the cost to the patient would have been $55.”

                                                  ***

           “Simvastatin 90-day charged the patient $30 more than cash price.”

                                                  ***

       “[A] patient copay is over $50 and the claw back is over $30 all for a drug while
our cash price would only be $15.”

                                                  ***

        “The ones that make me the most upset is the Champ/VA claims. Seeing our
disabled veterans families paying more than they should is horrific. Many times these
fees are multiple times our net margin, even a negative reimbursement at times. One
recent copay of $30 while we sent $27.55 back to [PLAN] left our margin at $1.58.”

15
     Id.

                                                  37
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 38 of 122




                                               ***

       “Same patient, same day, five prescriptions. ... Total copay $146.89. Total claw
back $134.49. Total price of the five prescriptions $12.40. Our gross profit on these five
drugs $3.79. These are all maintenance medications for this patient.”

                                               ***

       “Recently filled a buproprion xl 150 script for 30 tabs. Cost is $17.15. PBM
required us to charge a patient $47.10 and then took back $35.”16

ANSWER: Paragraph 79 purports to characterize and partially quote a document, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the document. CHLIC

denies the remaining allegations in Paragraph 79.



        80.    Clearly, these examples of “Clawbacks” could not be possible if the true cost of
the prescription drug was disclosed and the pharmacy was not prohibited by contract and threat
of termination from disclosing the lower cash-paying price for these drugs.

ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations about these drug transactions and therefore denies the allegations in Paragraph 80.



       81.     “Clawback” programs are becoming more and more commonplace in the
insurance industry and have “the effect of duping average consumers of prescription drugs into
unwittingly funding [corporate] profits.”17




16
   See Community pharmacists describe PBM copay clawbacks on patients, NCPA.CO (2016),
http://www.ncpa.co/pdf/06-27-16-copay-clawbacks.pdf (last visited Jan. 9, 2017).
17
   Susan Hayes, Testimony Before the Employee Benefit Security Administration Advisory
Council on Employee Welfare and Pension Benefit Plans, U.S. Department of Labor, Hearing on
PBM Compensation and Fee Disclosures (Aug. 20, 2014),
https://www.dol.gov/sites/default/files/ebsa/about-ebsa/about-us/erisa-advisory-
council/AChayes082014.pdf.

                                                38
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 39 of 122




ANSWER: Paragraph 81 purports to characterize and partially quote a document, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the document. CHLIC

denies the remaining allegations in Paragraph 81.



        82.     Lawmakers, PBM customers, and pharmacists have all raised concerns that there
is a dangerous lack of transparency with respect to the revenue stream of PBMs, rendering it
difficult to assess whether an insurance policy or plan is being administered in compliance with
plan or contract terms.18

ANSWER: Paragraph 82 purports to characterize a document, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the document. CHLIC denies the remaining

allegations in Paragraph 82.



       83.     The losses to date and the risk of future losses to the participants and beneficiaries
of the Plans is great, particularly given that the bulk of Defendants’ market is with ERISA-
covered health plans—plans whose participants and beneficiaries are owed the highest duties
known to law by the fiduciaries that administer and manage these important employee benefits.

ANSWER: Paragraph 83 asserts legal conclusions about the fiduciary duties owed under

ERISA, and thus no response is required. CHLIC denies the remaining allegations in Paragraph

83.



        84.    Potential waste and abuse in the administration of these plans has not gone
unnoticed by the Department of Labor—which has the authority to enforce ERISA. As early as
2014, the growing influence of PBMs generated a number of concerns not the least of which was
the fact that PBMs engage in direct and confidential negotiations with drug manufacturers and

18
   National Community Pharmacists Association, Lawmakers Ask Medicare for More Drug
Payment Transparency (Oct. 22, 2015), http://www.ncpanet.org/newsroom/news-
releases/2015/10/22/lawmakers-ask-medicare-for-more-drug-payment-transparency.

                                                 39
         Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 40 of 122




pharmacies like those described above and further below. In response, the ERISA Advisory
Council, established under ERISA, held a hearing in August 2014.

ANSWER:          CHLIC admits that the Employee Benefit Security Administration Advisory

Council on Employee Welfare and Pension Benefit Plans held a hearing in August 2014. CHLIC

lacks information or knowledge sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 84 and therefore denies those allegations.



       85.     At the hearing, the Council heard testimony regarding “a new PBM phenomenon,
called ‘clawback’” which takes advantage of the lack of transparency in the PBM industry
According to testimony provided to the Council:

                 In a “clawback” situation, the patient presents a prescription at a
                 pharmacy. The claim is processed and the pharmacist is instructed
                 to collect $100 as the cost of the drug. The entire prescription is
                 paid for by the patient. Two weeks later, when the pharmacist
                 receives reimbursement from the PBM, his remittance statement
                 shows that the PBM has taken back (clawed-back) $75. This leaves
                 just enough so that the pharmacist may make a few dollars profit
                 on the claim. What happens to the $75 difference? The PBM
                 retains this amount as “spread” paid for by the patient.19

ANSWER: Paragraph 85 purports to characterize and partially quote a document, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the document. CHLIC

denies the remaining allegations in Paragraph 85.


                                     The Fox 8 Investigation

        86.    The New Orleans television station FOX 8 investigated “Clawbacks,” including
“Clawbacks” by Cigna and other health insurance companies as part of its Medical Waste
investigative series. FOX 8’s investigative reporter, Lee Zurik, found that insurance companies
were “charging co-pays that exceed the customers’ costs for the drug,” and that insurers were
“clawing back” the excess payments from the customers.



19
     Hayes, supra note 17 at 7.

                                                 40
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 41 of 122




ANSWER: Paragraph 86 purports to characterize and partially quote a document the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the document. CHLIC

denies the remaining allegations in Paragraph 86.



       87.   FOX 8 published a number of screenshots from a pharmacist’s computer system
showing, with respect to particular drugs, the amount of the payment that certain health
insurance companies (including Defendants) required pharmacists to collect from customers and
the amount the pharmacists were required to pay to the health insurance companies as a
“Clawback.” The prescription-strength Vitamin D example set out above is taken from one of the
screenshots.

ANSWER: Paragraph 87 purports to characterize and partially quote a document the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the document. CHLIC

denies the remaining allegations in Paragraph 87.



         88.    In response to the disclosure of the “Clawback” practice, Louisiana Insurance
Commissioner, James J. Donelon stated: “You could say that, if the customer is paying more
than the drug is worth, it’ not a copay – it’s a ‘you-pay’. ‘There’s no copay,’ our pharmacist says,
‘that is an absolute, additional premium being paid, that they’re paying, that they don’t realize.’”

ANSWER: Paragraph 88 purports to characterize and partially quote a document the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the document. CHLIC

denies the remaining allegations in Paragraph 88.



        89.    FOX 8 also found that pharmacists were required to charge customers the amount
dictated by the insurer or PBM, and were not allowed to give any discounts. According to Randal
Johnson, president and CEO of the Louisiana Independent Pharmacies Association, “it’s actually
costing you more to acquire the drug with your insurance than you could if you walked in off the
street and you didn’t have insurance.”

                                                41
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 42 of 122




ANSWER: Paragraph 89 purports to characterize and partially quote a document the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the document. CHLIC

denies the remaining allegations in Paragraph 89.



                 “Clawbacks” Are Most Common with Widely Used Drugs

        90.    Defendants impose “Spread” and “Clawbacks” most frequently on widely used,
low-cost drugs, and particularly generic drugs, where the cost of the drug is relatively low. This
enables Defendants to impose deductible costs, copayments, and coinsurance costs that are
higher than the cost of the drug, thereby insuring for themselves a “Clawback.” These drugs
include, but are not limited to the following: Accu-Chek, Acyclovir, Aktob, Albuterol, Alocril,
Alprazolam, Amiodarone, Amitriptyline, Amlodipine, Amoxicillin, Amphetamine, Anastrozole,
Atenolol, Atorvastatin, Azelastine, Azithromycin, Bactrim, Benazepril, Benzonatate,
Betamethasone, Buspirone, Bystolic, Carvedilol, Cefadroxil, Cefdinir, Cephalexin, Cetirizine,
Ciprofloxacn, Citalopram, Clindamycin and Benzoyl Peroxide, Clindamycin, Clonazepam,
Clonidine, Clopidogrel, Cyanocobalam, Cyclobenzaprine, Cytomel, Denta, Depo-Testosterone,
Diazepam, Dicyclomine, Diltiazem, Doxazosin, Doxycycl, Duloxetine, Enalapril, Escitalopram,
Estradiol, Eszopiclone, Feosol, Ferrous, Flonase, Fluconazole, Fluocinonide, Fluoxetine,
Fluticasone, Folbee, Folic, Furosemide, Gabapentin, Gemfibrozil, Gentamicin, Gianvi,
Glimepiride, Glipizide, Guaifenesin, Hydrochlorot, Hydrocodone/APAP, Hydroxyz, Ibuprofen,
Indomethacin, Invokamet, Irbesartan, Isosorbide, Januvia, Lamotrigine, Lantus, Latanoprost,
Levetiraceta, Levocetirizi, Levofloxacin, Levothyroxine, Lexapro, Lisinopril And
Hydrochlorothiazide, Lisinopril, Lisinopril/hydrochlorothiazide, Lithium, Loratadine,
Lorazepam, Losartan, Losartan and Hydrochlorothiazide, Lovastatin, Meloxicam, Memantine,
Metformin, Methocarbam, Methylphenidate, Metolazone, Metoprolol, Metronidazol, Minivelle,
Mirtazapine, Mometasone, Montelukast, Mupirocin, Naproxen, Nitrofurantoin, Nortriptylin,
Nystatin, Omeprazole, Ondansetron, Oxcarbazepin, Oxybutynin, Oxycodone/APAP,
Pantoprazole, Paroxetine, Penicillin, Percocet, Pramipexole, Pravastatin, Prednisone,
Prednisolone, Promethazine/Codeine, Ramipril, Ranitidine, Restasis, Sertraline, Simvastatin,
Singulair, SMZ/TMP, Sodium Chloride (1 gm), Spironolactone, Sprintec, Sulfameth/Trimeth,
Sumatriptan, Suprep, Synthroid, Tamiflu, Tamsulosin, Temazepam, Terazosin, Terbinafine,
Tizanidine, Tobramycin/Sus Dexameth, Topiramate, Tramadol, Tranex, Trazodone, Tretinoin,
Triamcinolone,      Triamterene      and    Hydrochlorothiazide,      Vagifem,       Valacyclovir,
Valsartan/hydrochlorothiazide, Valsartan, Vaniqa, Venlafaxine, Ventolin, Viagra, Vigamox,
Vitamin D, Vyvanse, Warfarin, Xopenex, Zaleplon, and Zolpidem.

ANSWER: CHLIC denies the allegations in Paragraph 90.




                                               42
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 43 of 122




                 Defendants’ Policies and Plans with Plaintiffs and the Class

        91.    Health insurance policies are subject to state regulation. The policy forms
typically must be filed with and approved by the appropriate state regulators.

ANSWER: Admitted.



         92.     Because they are approved form plans, the relevant terms of the plans insuring
Plaintiffs and Class members are substantively the same. For this reason, upon information and
belief, the rights relevant to the claims alleged herein are shared by all members of the Class.

ANSWER: Paragraph 92 purports to characterize documents, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the documents and specifically denies that

the terms of the plans through which Plaintiffs and purported class members received

prescription drug benefits are uniform or substantively the same and that class certification is

appropriate in this matter. CHLIC denies the remaining allegations in Paragraph 92.



        93.    Further, Cigna uses uniform prescription drug plan terms in their Plan contracts to
provide prescription drug coverage. These terms of the Plans—and more importantly how these
Plans are administered by Cigna, its affiliates, and its PBMs—do not differ materially across
Plans. Accordingly, upon information and belief, the rights relevant to the claims alleged herein
are shared by all members of the Class regardless of the funding arrangement underpinning the
health plan benefits that Defendants offer and administer.

ANSWER: Paragraph 93 purports to characterize and partially quote documents, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the documents and

specifically denies that the terms of the plans are uniform or substantively the same. CHLIC

denies the remaining allegations in Paragraph 93.




                                               43
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 44 of 122




       94.    For instance, Cigna’s Plans state that Cigna will provide prescription drug
coverage for “Covered Expenses,” which are “expenses for charges made by a Pharmacy, for
Medically Necessary Prescription Drugs or Related Supplies Ordered by a Physician.”

ANSWER: Paragraph 94 purports to characterize and partially quote documents, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the documents. CHLIC

denies the remaining allegations in Paragraph 94.



       95.   According to the Plans, patients “may be required to pay a portion of the Covered
Expenses for Prescription Drugs and Related Supplies. That portion is the Copayment,
Deductible and/or Coinsurance.” Accordingly, the Copayment, Deductible, and Coinsurance
payments must be for a portion of expenses for charges made by a pharmacy for prescription
drugs.

ANSWER: Paragraph 95 purports to characterize and partially quote documents, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the documents. CHLIC

denies the remaining allegations in Paragraph 95.



                                  The Copayment Provisions

       96.    Pursuant to a typical Class member Plan:

               (a)     “Copayments are fixed dollar amounts (for example, $15) you pay for
covered health care, usually when you receive the service.”

             (b)     “Copayments are expenses to be paid by you or your Dependent for
Covered Prescription Drugs and Related Supplies.” Thus, Class members should never pay a
Copayment more than the fee paid to the pharmacy.20


20
  Plaintiff Negron’s plan further provides: “In no event will the Copayment . . . for the
Prescription Drug or Related Supply exceed the amount paid by the plan to the Pharmacy, or the
Pharmacy’s Usual and Customary (U&C) charge.” The “Usual & Customary (U&C) means the
established Pharmacy retail cash price, less all applicable customer discounts that Pharmacy
usually applies to its customers regardless of the customer’s payment source.” Thus, under this

                                               44
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 45 of 122




ANSWER: Paragraph 96 and subparts (a) and (b) purports to characterize and partially quote

documents, the terms of which speak for themselves, and thus no response is required. To the

extent that a response is required, CHLIC denies any characterization contrary to the terms of the

documents. CHLIC denies the remaining allegations in Paragraph 96 and subparts (a) and (b).



                                 The Coinsurance Provisions

       97.     Pursuant to a typical Class member’s Plan:

               (a)     “Coinsurance is your share of the costs of a covered service, calculated as
a percent of the allowed amount of the service. For example, if the health plan’s allowed amount
for an overnight hospital stay is $1,000, your coinsurance payment of 20% would be $200.”21

               (b)     “The term Coinsurance means the percentage of Charges for covered
Prescription Drugs and Related Supplies that you or your Dependent are required to pay under
this plan.” Thus, Class members should pay Coinsurance that is a percentage of the fee
ultimately paid to the pharmacy.

ANSWER: Paragraph 97 and subparts (a) and (b) purports to characterize and partially quote

documents, the terms of which speak for themselves, and thus no response is required. To the

extent that a response is required, CHLIC denies any characterization contrary to the terms of the

documents. CHLIC denies the remaining allegations in Paragraph 97 and subparts (a) and (b).




        98.    Plaintiffs Negron and the Gallagher’s plans further provide that the term Charges
means “the amount charged by the Insurance Company to the plan when the Pharmacy is a
Participating Pharmacy, and it means the actual billed charges when the Pharmacy is a non-



form Plan, Class members should never pay a Copayment more than 50% of the fee ultimately
paid to the pharmacy (“50% cap”) or the retail cash price (“U&C cap”).
21
   The amount the plan pays for covered services is based on the allowed amount. If an out-of-
network provider charges more than the allowed amount, you may have to pay the difference.
For example, if an out-of-network hospital charge is $1,500 for an overnight stay and the
allowed amount is $1,000, you may have to pay the $500 difference. (This is called balance
billing.)”

                                               45
         Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 46 of 122




Participating Pharmacy.”22 Accordingly, under this language as well, Class members should pay
Coinsurance that is a percentage of the fee ultimately paid to the pharmacy.23

ANSWER: Paragraph 98 purports to characterize and partially quote documents, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the documents. CHLIC

denies the remaining allegations in Paragraph 98.



                                     The Deductible Provisions

        99.    The “deductible” is the amount owed for health care services the health insurance
or plan covers before the health insurance or plan begins to pay.

ANSWER: Paragraph 99 purports to characterize a document, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the document. CHLIC denies the remaining

allegations in Paragraph 99.



        100. Class members must pay all the costs up to the deductible amount before this plan
begins to pay for covered health services.




22
     The policies for Plaintiffs N. Curol and R. Curol contain substantively similar provisions.
23
  The policies for Plaintiffs Negron, N. Curol, and R. Curol further provide: “In no event will
the . . . Coinsurance for the Prescription Drug or Related Supply exceed the amount paid by
the plan to the Pharmacy, or the Pharmacy’s Usual and Customary (U&C) charge.” The
“Usual & Customary (U&C) means the established Pharmacy retail cash price, less all applicable
customer discounts that Pharmacy usually applies to its customers regardless of the customer’s
payment source.”

                                                  46
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 47 of 122




ANSWER: Paragraph 100 purports to characterize a document, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the document. CHLIC denies the remaining

allegations in Paragraph 100.



                                       Plaintiffs’ Purchases

        101. During the time that Plaintiffs were covered by the Plans, Plaintiffs purchased
prescription drugs for which they were required to make copayments, coinsurance, and/or
deductible payments, including those specifically alleged above.24 Upon information and belief
based on the fact that Plaintiffs purchased drugs for which Defendants overcharge customers,
Plaintiffs were charged fees for prescription drugs in excess of the fees permitted by their Plans.

ANSWER:        CHLIC admits that Plaintiffs had prescriptions filled pursuant to employer-

sponsored plans insured and/or administered by CHLIC and that the terms of their respective

plans required Plaintiffs to make copayments, coinsurance, and/or deductible payments in

connection with having those prescriptions filled. CHLIC denies the remaining allegations in

Paragraph 101.



        102. Plaintiff Negron’s purchases of such prescription drugs pursuant to her health
plan include, but are not limited to, purchases from CVS in Burlington, Massachusetts on at least
the following dates: March 10, 2015; July 6, 2015; July 18, 2015; August 6, 2015; August 25,
2015; and September 21, 2015.




24
   For confidentiality reasons, Plaintiffs have not specified the drugs they purchased, but if
relevant, they will disclose such information during discovery after entry of an appropriate
protective order.

                                                 47
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 48 of 122




ANSWER:       CHLIC admits that Plaintiff Negron had prescriptions filled pursuant to an

employer-sponsored plan insured and/or administered by CHLIC on March 10, 2015, July 6,

2015, July 18, 2015, August 6, 2015, August 25, 2015, and September 21, 2015. CHLIC denies

the remaining allegations in Paragraph 102.



       103. Plaintiff Gallagher’s purchases of such prescription drugs pursuant to her health
plan include, but are not limited to, purchases from CVS in Morristown, New Jersey and
Walgreen’s in Florham Park, New Jersey on at least the following dates: July 15, 2015, August
9, 2015, September 1, 2015, September 29, 2015, October 27, 2015, November 19, 2015,
November 21, 2015, December 16, 2015, January 14, 2016, February 10, 2016, June 13, 2015,
September 21, 2016, October 14, 2016, November 12, 2016 and December 5, 2016.

ANSWER: CHLIC admits that Plaintiff Gallagher had prescriptions filled pursuant to an

employer-sponsored plan insured and/or administered by CHLIC on July 15, 2015, August 9,

2015, September 1, 2015, September 29, 2015, October 27, 2015, November 19, 2015,

November 21, 2015, December 16, 2015, January 14, 2016, February 10, 2016, June 13, 2015,

September 21, 2016, October 14, 2016, November 12, 2016, and December 5, 2016. CHLIC

denies the remaining allegations in Paragraph 103.



        104. Plaintiff Perry’s purchases of such prescription drugs pursuant to his health plan
include, but are not limited to, purchases from Coulton Pharmacy in Morton, Washington on at
least the following dates: July 18, 2015, August 14, 2015, March 4, 2016, and April 6, 2016.

ANSWER: CHLIC admits that Plaintiff Perry had prescriptions filled pursuant to an employer-

sponsored plan insured and/or administered by CHLIC on July 18, 2015, August 14, 2015,

March 4, 2016, and April 6, 2016. CHLIC denies the remaining allegations in Paragraph 104.



       105. Plaintiff N. Curol’s purchases of such prescription drugs pursuant to her health
plan include, but are not limited to, purchases from Robichaux’s Pharmacy in Lockport,
Louisiana, on at least the following dates: January 19, 2016, February 17, 2016, March 21, 2016,
April 19, 2016, and May 16, 2016.

                                              48
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 49 of 122




ANSWER:       CHLIC admits that Plaintiff N. Curol had prescriptions filled pursuant to an

employer-sponsored plan insured and/or administered by CHLIC on January 19, 2016, February

17, 2016, March 21, 2016, April 19, 2016, and May 16, 2016. CHLIC denies the remaining

allegations in Paragraph 105.



       106. Plaintiff R. Curol’s purchases of such prescription drugs pursuant to his health
plan include, but are not limited to, purchases from Robichaux’s Pharmacy in Lockport,
Louisiana, on at least the following dates: January 19, 2016, February 22, 2016, March 15, 2016,
April 18, 2016, May 9, 2016, and June 7, 2016.

ANSWER:       CHLIC admits that Plaintiff R. Curol had prescriptions filled pursuant to an

employer-sponsored plan insured and/or administered by CHLIC on January 19, 2016, February

22, 2016, March 15, 2016, April 18, 2016, May 9, 2016, and June 7, 2016. CHLIC denies the

remaining allegations in Paragraph 106.



       107. Plaintiff Billy Ray Blocker’s purchases of such prescription drugs pursuant to his
health plan include, but are not limited to, purchases from a Kroger Pharmacy in Alpharetta,
Georgia, on at least the following dates: March 25, 2015, April 30, 2015, August 19, 2015,
October 30, 2015, April 13, 2016 and April 25, 2016.

ANSWER: CHLIC admits that Plaintiff Blocker had prescriptions filled pursuant to an

employer-sponsored plan insured and/or administered by CHLIC on March 25, 2015, April 30,

2015, August 19, 2015, October 30, 2015, April 13, 2016 and April 25, 2016. CHLIC denies the

remaining allegations in Paragraph 107.



                     Defendants Are Fiduciaries and Parties In Interest

        108. The ERISA Plaintiffs and the members of the ERISA Subclass (as defined below)
are participants in employee welfare benefit plans as that term is defined in 29 U.S.C. §
1002(1)(A), insured or administered by Defendants to provide participants with medical care and
prescription medications (“ERISA Plans”).


                                              49
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 50 of 122




ANSWER: CHLIC admits that the ERISA Plaintiffs are participants in employee welfare

benefit plans as that term is defined in 29 U.S.C. § 1002(1)(A), insured or administered by

CHLIC to provide the ERISA Plaintiffs with medical care and prescription medications. CHLIC

further admits that the ERISA Plaintiffs purport to bring claims on behalf of an ERISA subclass.

CHLIC denies the remaining allegations in Paragraph 108.



       109. ERISA requires every plan to provide for one or more named fiduciaries who will
have “authority to control and manage the operation and administration of the plan.” ERISA §
402(a)(1), 29 U.S.C. § 1102(a)(1).

ANSWER: Paragraph 109 asserts legal conclusions and purports to characterize and partially

quote a statute, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute. CHLIC denies the remaining allegations in Paragraph 109.



        110. ERISA treats as fiduciaries not only persons explicitly named as fiduciaries under
§ 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who in fact perform fiduciary
functions. Thus, a person is a fiduciary to the extent “(i) he exercises any discretionary authority
or discretionary control respecting management of such plan or exercises any authority or control
respecting management or disposition of its assets, (ii) he renders investment advice for a fee or
other compensation, direct or indirect, with respect to any moneys or other property of such plan,
or has any authority or responsibility to do so, or (iii) he has any discretionary authority or
discretionary responsibility in the administration of such plan.” ERISA § 3(21)(A), 29 U.S.C. §
1002(21)(A). This is a functional test. Neither “named fiduciary” status nor formal delegation is
required for a finding of fiduciary status, and contractual agreements cannot override finding
fiduciary status when the statutory test is met.

ANSWER: Paragraph 110 asserts legal conclusions and purports to characterize and partially

quote a statute, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute. CHLIC denies the remaining allegations in Paragraph 110.



                                                50
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 51 of 122




        111. In addition, a fiduciary that appoints another person to fulfill all or part of its
duties, by formal or informal hiring, subcontracting, or delegation, assumes the duty to monitor
that appointee to protect the interests of the ERISA Plans and their participants. The power to
appoint, retain, and remove plan fiduciaries or service providers confers fiduciary status upon the
person holding such power. An appointing fiduciary must take prudent and reasonable action to
determine whether the appointees are fulfilling their own separate fiduciary obligations.

ANSWER: Paragraph 111 asserts legal conclusions to which no response is required. To the

extent a response is required, CHLIC denies that it acted as a fiduciary with respect to the

conduct that Plaintiffs challenge or violated any such fiduciary duty.         CHLIC denies the

remaining allegations in Paragraph 111.



       112. Defendants are fiduciaries of all of the ERISA Subclass members’ ERISA Plans
to which they provided prescription drug benefits or for which they administered prescription
drug benefits in that they exercised discretionary authority or control respecting the following
plan management activities, ERISA § 3(21)(A)(i), 29 U.S.C. § 1002(21)(A)(i), and in that they
had discretionary authority or discretionary responsibility in the administration of the ERISA
Plans of participants and beneficiaries in the ERISA Subclass, ERISA § 3(21)(A)(iii), 29 U.S.C.
§ 1002(21)(A)(iii), because, by way of examples, they did and/or could do one or more of the
following:

               (a)    dictate the amount paid to pharmacies for prescription drugs;

               (b)    dictate the amount pharmacies charged patients for prescription drugs;

              (c)    require pharmacies to charge patients more for drugs than they should
have been charged pursuant to the terms of the ERISA Plans, thereby creating and setting the
amount of the “Spread”;

               (d)    require the pharmacies to collect the “Spread” from patients;

               (e)    require pharmacies to pay the “Spread” to Defendants and require the
deduction of the “Spread” from future reimbursements to the pharmacy as a “Clawback”;

             (f)     determine the amount of and require the collection of additional profits
and compensation for services provided pursuant to the ERISA Plans;

               (g)   set their own compensation for services performed as fiduciaries by
dictating “Clawbacks”;

                (h)     unilaterally collect their own compensation for services performed as
fiduciaries by collecting “Clawbacks”;


                                                51
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 52 of 122




             (i)     set and change the compensation of their own affiliates with respect to the
ERISA Plans by allocation of the proceeds of “Clawbacks”;

               (j)     misrepresent and fail to disclose to patients the manner in which they
charged for prescription drugs as alleged above;

              (k)    prohibit pharmacies from disclosing to patients the existence or amount of
the “Spread” and “Clawback”;

                (l)    prohibit pharmacies from disclosing to patients that they could purchase
drugs at a price lower than the amount set by Defendants;

               (m)   prohibit pharmacies from selling to patients prescription drugs covered by
the ERISA Plans at prices that were lower than the prices that the insurer/administrator/PBM
ordered the pharmacies to charge the patients;

             (n)   select and retain the PBM(s) that will, in the case of Cigna, assist in
certain PBM and pharmacy delivery functions, and perform all PBM and pharmacy delivery
functions;

               (o)    manage the prescription drug benefit program, including processing and
paying prescription drug claims received from pharmacies;

                (p)    improperly trade off the interests of plan participants and beneficiaries for
the benefit of themselves or their affiliates;

              (q)    dictate and negotiate whether a particular drug was covered, and if so, in
            25
which “tier” it was categorized;

                (r)     choose whether to fill a prescription from a participant, reject it, shift the
participant to a different medication, or require the use of a mail order pharmacy; and

                (s)    monitor each other’s performances, and in particular the performances of
the PBMs at issue here—and to take appropriate action to protect plan participants and
beneficiaries from other fiduciaries’ and service providers’ failure to act in the best interests of
plan participants and beneficiaries.

ANSWER: CHLIC denies the allegations in Paragraph 112 and subparts (a) through (s).



        113. The “Spread” and “Clawbacks” were additional compensation for the provision of
prescription drug coverage that was collected by Defendants that was neither disclosed to nor


25
  Prescription formularies are subject to tiering arrangements that determine the specific cost to
the consumer at the pharmacy counter, with some medications requiring greater patient
contributions than others.

                                                 52
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 53 of 122




agreed to by the participants and beneficiaries that were required to make these additional
payments to receive their covered prescription drugs. Defendants had and exercised discretion to
determine the amount of and require the payment of this additional undisclosed compensation, as
well as whether to disclose it—or require its concealment. ERISA § 3(21)(A)(i), (iii), 29 U.S.C.
§ 1002(21)(A)(i), (iii).

ANSWER: CHLIC denies the allegations in Paragraph 113.



       114. The “Spread” and “Clawbacks” are additional “premium” within the meaning of
ERISA § 702, for the provision of prescription drug coverage that was collected by Defendants
that was neither disclosed to nor agreed to by the participants and beneficiaries that were
required to make these additional contributions to receive their covered prescription drugs.
Defendants had and exercised discretion to determine the amount of and require the payment of
this additional undisclosed premium payment, as well as whether to disclose it—or require its
concealment. ERISA § 3(21)(A)(i), (iii), 29 U.S.C. § 1002(21)(A)(i), (iii).

ANSWER: CHLIC denies the allegations in Paragraph 114.



        115. In addition to their fiduciary status under the foregoing provisions, Defendants are
fiduciaries of all of the ERISA Subclass members’ ERISA Plans in that they exercised authority
or control respecting management or disposition of plan assets, ERISA § 3(21)(A)(i), 29 U.S.C.
§ 1002(21)(A)(i), because:

              (a)     The contracts underpinning the plans are “plan assets” within the meaning
of ERISA;

                (b)    Through their “Clawback Scheme,” as described above, Defendants
exercised control over the contracts underpinning the ERISA Plans. They successfully leveraged
their relationships to the ERISA Subclass members’ ERISA Plans to benefit themselves, their
affiliates, and third parties, and their authority or control over these significant plan assets
enabled them to do so.

ANSWER: CHLIC denies the allegations in Paragraph 115.



        116. In addition, any plan-paid amounts that were contributed to participant
prescription drug transactions were “plan assets” within the meaning of ERISA. Incident to their
“Clawback Scheme” Defendants also exercised control over these plan assets, making them
fiduciaries for purposes of these transactions.




                                               53
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 54 of 122




ANSWER: CHLIC denies the allegations in Paragraph 116.



        117. Further to the conduct described herein which establishes the fiduciary status of
all Defendants, Defendant CHL and Defendant OptumRx are fiduciaries because they exercise
discretion to set the prices that the ERISA Subclass were and are required to pay for their
prescription medications. These PBMs are required to act in the best interests of the ERISA
Subclass, but by allowing participants and beneficiaries of ERISA plans to be subject to the
“Clawback Scheme” described herein and participating in this scheme with Defendant Cigna,
these Defendants have breached their fiduciary duties to the ERISA Subclass.

ANSWER: CHLIC denies the allegations in Paragraph 117.



         118. Defendant CHL and Defendant OptumRx are aware of the effect the “Clawback
Scheme” is having on the ERISA Subclass. Nevertheless, these Defendants have maximized and
continue to maximize their revenues at the expense of the ERISA Subclass by engaging in the
illegal conduct described herein.

ANSWER: CHLIC denies the allegations in Paragraph 118.



        119. Furthermore, in negotiating and entering into a contract on behalf of an ERISA
plan, a fiduciary must act prudently and negotiate terms that are reasonable and in the best
interests of plan participants. In these negotiations and in the contract that is ultimately agreed
upon, a fiduciary cannot place its interests over the interests of the plan participants and
beneficiaries. To the extent Defendants CHL and OptumRx have negotiated agreements subject
to the “Clawback Scheme” described herein, they have breached their fiduciary duties under
ERISA. And through these negotiations, CHL and OptumRx have also exercised discretionary
authority by setting their own margins and compensation for the sale of prescription medications.

ANSWER: The first and second sentences of Paragraph 119 assert legal conclusions to which

no response is required. CHLIC denies the allegations in the third and fourth sentences of

Paragraph 119.



        120. In addition, Defendant Cigna breached its fiduciary duties under ERISA by
retaining other PBMs—including Defendant CHL, Argus and Defendant OptumRx—to provide
PBM services for the benefit of the ERISA subclass, but failing to take reasonable and prudent
action to determine whether these PBMs were fulfilling their own separate fiduciary obligations.
For instance, Cigna authorized CHL, Argus and OptumRx to set the prices for prescription

                                                54
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 55 of 122




medications, and thus permits these PBMs to control what the ERISA subclass pays for their
prescription drugs.

ANSWER: CHLIC denies the allegations in Paragraph 120.



        121. When Cigna endowed CHL, Argus and OptumRx with authority and discretion to
control prescription medication pricing for the ERISA Subclass, Cigna assumed the duty to
monitor CHL, Argus and OptumRx’s exercise of that discretionary authority. Cigna further owed
and owes the ERISA Subclass the duty to establish policies and procedures to monitor CHL,
Argus and OptumRx’s performance of its duties, to monitor their prescription medication
pricing, to monitor the effect of the “Clawback Scheme” described herein on the amount paid by
the ERISA Subclass, to protect the interests of the ERISA Subclass, and to provide complete and
accurate information to the ERISA Subclass.

ANSWER: CHLIC denies the allegations in Paragraph 121.



       122. But in allowing CHL, Argus and OptumRx to violate ERISA, including
permitting the ERISA Subclass to be subject to the “Clawback Scheme,” and in failing to correct
such breaches of duty in a timely fashion, Cigna has breached its duty to monitor CHL, Argus
and OptumRx’s illegal conduct.

ANSWER: CHLIC denies the allegations in Paragraph 122.



       123. Defendant Cigna has also the discretionary authority or control to negotiate on
behalf of the ERISA Subclass favorable terms when entering into terms with other PBMs,
including CHL, Argus and OptumRx. These terms directly impact the prices for prescription
medications paid by the ERISA Subclass, but by engaging in the conduct described herein,
including by participating in the “Clawback Scheme” with CHL, Argus and OptumRx,
Defendant Cigna has breached its fiduciary duties.

ANSWER: CHLIC denies the allegations in Paragraph 123.



        124. Defendants are also parties in interest under ERISA because (a) they are
fiduciaries, ERISA § 3(14)(A), 29 U.S.C. § 1002(14)(A); and/or (b) they provided insurance,
plan administration, and pharmacy benefit management services to the ERISA Plaintiffs’ and the
Class members’ health plans, ERISA § 3(14)(B), 29 U.S.C. § 1002(14)(B).




                                              55
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 56 of 122




ANSWER: Paragraph 124 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute.

CHLIC denies the remaining allegations in Paragraph 124.



         125. As parties in interest, Defendants received direct and indirect compensation for
services, some of which was in the form of excess “Clawback” fees that were collected in ex-
change for few to no services. Defendants also received and used for their own and their
affiliates’ benefit “plan assets,” including ERISA Plan contracts under which they had access to
the ERISA Plans and were able to impose their “Clawback Scheme” on the ERISA Subclass.

ANSWER: CHLIC denies the allegations in Paragraph 125.



        126. Finally, even if any Defendant is found not to be a fiduciary, that Defendant is
alternatively subject to equitable relief under ERISA, because they had actual or constructive
knowledge of the ERISA violations through their role in the “Clawback Scheme.”

ANSWER: CHLIC denies the allegations in Paragraph 126.



                                   Defendants’ ERISA Duties

        127. The Statutory Requirements: ERISA imposes strict fiduciary duties upon plan
fiduciaries. ERISA § 404(a), 29 U.S.C. § 1104(a), states, in relevant part, that:

       [A] fiduciary shall discharge his duties with respect to a plan solely in the
       interest of the participants and beneficiaries and . . . for the exclusive
       purpose of providing benefit to participants and their beneficiaries; and
       defraying reasonable expenses of administering the plan; with the care,
       skill, prudence, and diligence under the circumstances then prevailing that
       a prudent man acting in a like capacity and familiar with such matters
       would use in the conduct of an enterprise of like character and with like
       aims; by diversifying the investments of the plan so as to minimize the
       risk of large losses, unless under the circumstances it is clearly prudent not
       to do so; and in accordance with the documents and instruments governing
       the plan insofar as such documents and instruments are consistent with the
       provisions of this title and Title IV.



                                                56
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 57 of 122




ANSWER: Paragraph 127 asserts legal conclusions and purports to characterize and partially

quote a statute, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute. CHLIC denies the remaining allegations in Paragraph 127.



        128. The Duty of Loyalty. ERISA imposes on a plan fiduciary the duty of loyalty—
that is, the duty to “discharge his duties with respect to a plan solely in the interest of the
participants and beneficiaries and . . . for the exclusive purpose of . . . providing benefits to
participants and their beneficiaries . . . .” The duty of loyalty entails a duty to avoid conflicts of
interest and to resolve them promptly when they occur. A fiduciary must always administer a
plan with an “eye single” to the interests of the participants and beneficiaries, regardless of the
interests of the fiduciaries themselves or the plan sponsor.

ANSWER: Paragraph 128 asserts legal conclusions and purports to characterize and partially

quote a statute, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute. CHLIC denies the remaining allegations in Paragraph 128.



        129. The Duty of Prudence. Section 404(a)(1)(B) also imposes on a plan fiduciary the
duty of prudence—that is, the duty “to discharge his duties with respect to a plan solely in the
interest of the participants and beneficiaries and . . . with the care, skill, prudence, and diligence
under the circumstances then prevailing that a prudent man, acting in a like capacity and familiar
with such matters would use in the conduct of an enterprise of a like character and with like
aims. . . .”

ANSWER: Paragraph 129 asserts legal conclusions and purports to characterize and partially

quote a statute, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute. CHLIC denies the remaining allegations in Paragraph 129.



       130. The Duty to Inform. The duties of loyalty and prudence include the duty to
disclose and inform. These duties entail: (a) a negative duty not to misinform; (b) an affirmative

                                                 57
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 58 of 122




duty to inform when the fiduciary knows or should know that silence might be harmful; and (c) a
duty to convey complete and accurate information material to the circumstances of participants
and beneficiaries.

ANSWER: Paragraph 130 asserts legal conclusions, and thus no response is required. To the

extent a response is required, CHLIC denies that it acted as a fiduciary with respect to the

conduct that Plaintiffs challenge or violated any such fiduciary duty.      CHLIC denies the

remaining allegations in Paragraph 130.



        131. Prohibited Transactions. ERISA’s prohibited transaction rules bar fiduciaries
from certain acts because they are self-interested or conflicted and therefore become per se
violations of ERISA § 406(b)—or because they are improper “party in interest” transactions
under ERISA § 406(a). As noted above, under ERISA, a “party in interest” includes a fiduciary,
as well as entities providing any “services” to a plan, among others. See ERISA § 3(14), 29
U.S.C. § 1002(14). ERISA’s prohibited transaction rules are closely related to ERISA’s duties of
loyalty, which are discussed above.

ANSWER: Paragraph 131 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute.

CHLIC denies the remaining allegations in Paragraph 131.



       132. ERISA § 406(a) provides that transactions between a plan and a party in interest
are prohibited transactions unless they are exempted under ERISA § 408:

       (a)    Transactions between plan and party in interest

       Except as provided in section 1108 of this title:

              (1)     A fiduciary with respect to a plan shall not cause the plan to engage in a
              transaction, if he knows or should know that such transaction constitutes a direct
              or indirect—

                      (A) sale or exchange, or leasing, of any property between the plan and a
                      party in interest;




                                                58
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 59 of 122




                       (B) lending of money or other extension of credit between the plan and a
                       party in interest;

                       (C) furnishing of goods, services, or facilities between the plan and a
                       party in interest;

                       (D) transfer to, or use by or for the benefit of a party in interest, of any
                       assets of the plan; or

                       (E) acquisition, on behalf of the plan, of any employer security or
                       employer real property in violation of section 1107(a) of this title.

29 U.S.C. § 1106(a).

ANSWER: Paragraph 132 asserts legal conclusions and purports to characterize and partially

quote a statute, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute. CHLIC denies the remaining allegations in Paragraph 132.



       133.    ERISA § 406(b), provides:

               A fiduciary with respect to a plan shall not—

                (1)    deal with the assets of the plan in his own interest or for his own account,

                (2) in his individual or in any other capacity act in any transaction involving
                the plan on behalf of a party (or represent a party) whose interests are adverse to
                the interests of the plan or the interests of its participants or beneficiaries, or

                (3) receive any consideration for his own personal account from any party
                dealing with such plan in connection with a transaction involving the assets of
                the plan.

29 U.S.C. § 1106(b).




                                                59
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 60 of 122




ANSWER: Paragraph 133 asserts legal conclusions and purports to characterize and partially

quote a statute, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute. CHLIC denies the remaining allegations in Paragraph 133.



       134. Co-Fiduciary Liability. A fiduciary is liable not only for fiduciary breaches
within the sphere of its own responsibility, but also as a co-fiduciary in certain circumstances.
ERISA § 405(a), 29 U.S.C. § 1105(a), states, in relevant part, that:

       In addition to any liability which he may have under any other provision of this part, a
       fiduciary with respect to a plan shall be liable for a breach of fiduciary responsibility of
       another fiduciary with respect to the same plan in the following circumstances:

               (1)    if he participates knowingly in, or knowingly undertakes to conceal, an act
               or omission of such other fiduciary, knowing such act or omission is a breach; or

               (2)    if, by his failure to comply with section 404(a)(1) in the administration of
               his specific responsibilities which give rise to his status as a fiduciary, he has
               enabled such other fiduciary to commit a breach; or

               (3)    if he has knowledge of a breach by such other fiduciary, unless he makes
               reasonable efforts under the circumstances to remedy the breach.

ANSWER: Paragraph 134 asserts legal conclusions and purports to characterize and partially

quote a statute, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute. CHLIC denies the remaining allegations in Paragraph 134.



         135. The Duty to Monitor. In addition, a fiduciary that appoints another person to
fulfill all or part of its duties, by formal or informal hiring, subcontracting, or delegation,
assumes the duty to monitor that appointee to protect the interests of the ERISA participants and
beneficiaries. As noted above, the power to appoint, retain, and remove plan fiduciaries or
service providers confers fiduciary status upon the person holding such power.




                                               60
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 61 of 122




ANSWER: Paragraph 135 asserts conclusions of law to which no responsive pleading is

required. To the extent a response is required, CHLIC denies that it acted as a fiduciary with

respect to the conduct that Plaintiffs challenge or violated any such fiduciary duty. CHLIC

denies the remaining allegations in Paragraph 135.



        136. Non-Fiduciary Liability. Under ERISA, non-fiduciaries—regardless of whether
they are parties in interest—who knowingly participate in a fiduciary breach may themselves be
liable for certain relief under ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3). Accordingly, as to the
ERISA claims, even if any Defendant is not found to have fiduciary or party-in-interest status
themselves, they must nevertheless restore unjust profits or fees and are subject to other
appropriate equitable relief with regard to the transactions at issue in this action, pursuant to
ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), and well established case law. To the extent that any
Defendant is not deemed to be a fiduciary or a party-in-interest with regard to any transaction at
issue in this action, they are nevertheless subject to equitable relief under ERISA based on their
actual or constructive knowledge of the wrongdoing at issue.

ANSWER: Paragraph 136 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute.

CHLIC denies the remaining allegations in Paragraph 136.



        137. Rights of Action Under the Plans, for Fiduciary Breach, Prohibited
Transactions, and Related Claims. ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B), provides
that a participant or beneficiary may bring an action to enforce rights under the terms of the plan
or to clarify his rights to future benefits under the terms of the plan. Further, ERISA § 502(a)(3),
29 U.S.C. § 1132(a)(3), authorizes individual participants and fiduciaries to bring suit “(A) to
enjoin any act or practice which violates any provision of this subchapter or the terms of the
plan, or (B) to obtain other appropriate equitable relief (i) to redress such violations or (ii) to
enforce any provisions of this subchapter or the terms of the plan.” The remedies available
pursuant to § 502(a)(3) include remedies for breaches of the fiduciary duties set forth in ERISA §
404, 29 U.S.C. § 1104, and for violation of the prohibited transaction rules set forth in ERISA §
406, 29 U.S.C. § 1106. Further, ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2), permits a plan
participant, beneficiary, or fiduciary to bring a suit for relief under ERISA § 409. ERISA § 409,
29 U.S.C. § 1109, pro-vides, inter alia, that any person who is a fiduciary with respect to a plan
and who breaches any of the responsibilities, obligations, or duties imposed on fiduciaries by
ERISA shall be personally liable to make good to the plan any losses to the plan resulting from
each such breach and to re-store to the plan any profits the fiduciary made through use of the

                                                61
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 62 of 122




plan’s assets. ERISA § 409 further provides that such fiduciaries are subject to such other
equitable or remedial relief as a court may deem appropriate. The ERISA Plaintiffs bring their
ERISA claims pursuant to ERISA § 502(a)(3) and (2), as well as § 502(a)(1)(B), as further set
forth below, because not all the remedies the ERISA Plaintiffs seek are available under all
sections of ERISA and, alternatively, Plaintiffs are pleading their claims in the alternative.

ANSWER: Paragraph 137 asserts legal conclusions and purports to characterize and partially

quote a statute, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute. CHLIC denies the remaining allegations in Paragraph 132.



                              Defendants Breached Their Duties

        138. Defendants breached the terms of the Plans and their legal obligations, committed
breaches of fiduciary duty and prohibited transactions, and harmed Plaintiffs and Class members
in the following ways:

              (a)    Plaintiffs and Class members were charged unlawful fees and additional
premiums for prescription drugs that substantially exceeded the fees actually paid by or agreed to
be paid by Defendants and/or their agent PBMs to the pharmacies for the dispensed drugs;

              (b)    Plaintiffs and the Class were charged excessive “copayments” and
“coinsurance,” a material portion of which were neither payments for prescription drugs nor
were they “co-” payments made in conjunction with Defendants’ payment for prescription drugs,
as required by the plain language of the Plans, but rather were undisclosed and unlawful
payments and premiums to Defendants/PBMs;

                (c)   Plaintiffs and Class members were overcharged for coinsurance payments
in that rather than paying a percentage of the fees that Defendants and/or PBMs with which
Defendants have contracted paid (or agreed to pay) to the pharmacies for the dispensed drugs,
the coinsurance payments were based on substantially inflated amounts;

              (d)     Plaintiffs and Class members were overcharged when making payments
toward their deductibles in that rather than paying the lesser of the applicable per occurrence
deductible fee or the fee paid to the pharmacy for the dispensed drug, Plaintiffs and Class
members were charged deductible fees that were higher;

              (e)   Defendants improperly processed and paid prescription drug claims they
received from pharmacies;

              (f)    Defendants misrepresented and failed to disclose to patients the manner in
which they charged for prescription drugs as alleged above;


                                               62
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 63 of 122




              (g)    Pharmacies were prohibited from disclosing to patients the existence or
amount of the “Spread” and “Clawback”;

                (h)    Pharmacies were prohibited from disclosing to patients that they could
purchase drugs at a price lower than the amount set by Defendants under the policies and from
selling drugs to customers at these lower prices;

                (i)     Defendants set their own compensation for services performed as
fiduciaries by dictating “Clawbacks”;

               (j)    Defendants unilaterally collected their own compensation for services
performed as fiduciaries by collecting “Clawbacks”;

                (k)    Defendants set and changed the compensation of their own affiliates and
third parties with respect to the Class members’ Plans by allocating the proceeds of “Clawbacks”
without heeding the best interests of participants and beneficiaries;

                 (l)     Defendants maximized their own profits, profits to their affiliates, and
profits to third parties, at the expense of the Class members who participated in the Plans;

               (m)   Defendants received improper compensation from entities doing business
with the Plans Defendants administered and managed;

               (n)     Defendants knew or reasonably should have known that their actions
would injure plan participants and beneficiaries;

               (o)    Defendants selected plan service providers and PBMs such as Argus and
OptumRx and negotiated their contracts based on disloyal and self-interested factors and made
such decisions without putting the interests of participants and beneficiaries first;

               (p)     Defendants failed to stop injuries to plan participants caused by their co-
fiduciaries and service providers; and

              (q)      Defendants failed to monitor their appointees, formal delegees, and
informal designees in the performance of their fiduciary duties.

ANSWER: CHLIC denies the allegations in Paragraph 138 and subparts (a) through (q).



       139. Plaintiffs and Class members were overcharged for and/or paid unauthorized and
excessive copayments, coinsurance and deductible payments in connection with the purchase of
numerous prescription drugs, including, but not limited to, the following: Accu-Chek, Acyclovir,
Aktob, Albuterol, Alocril, Alprazolam, Amiodarone, Amitriptyline, Amlodipine, Amoxicillin,
Amphetamine, Anastrozole, Atenolol, Atorvastatin, Azelastine, Azithromycin, Bactrim,
Benazepril, Benzonatate, Betamethasone, Buspirone, Bystolic, Carvedilol, Cefadroxil, Cefdinir,
Cephalexin, Cetirizine, Ciprofloxacn, Citalopram, Clindamycin and Benzoyl Peroxide,
Clindamycin, Clonazepam, Clonidine, Clopidogrel, Cyanocobalam, Cyclobenzaprine, Cytomel,

                                               63
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 64 of 122




Denta, Depo-Testosterone, Diazepam, Dicyclomine, Diltiazem, Doxazosin, Doxycycl,
Duloxetine, Enalapril, Escitalopram, Estradiol, Eszopiclone, Feosol, Ferrous, Flonase,
Fluconazole, Fluocinonide, Fluoxetine, Fluticasone, Folbee, Folic, Furosemide, Gabapentin,
Gemfibrozil, Gentamicin, Gianvi, Glimepiride, Glipizide, Guaifenesin, Hydrochlorot,
Hydrocodone/APAP, Hydroxyz, Ibuprofen, Indomethacin, Invokamet, Irbesartan, Isosorbide,
Januvia, Lamotrigine, Lantus, Latanoprost, Levetiraceta, Levocetirizi, Levofloxacin,
Levothyroxine,         Lexapro,      Lisinopril      And Hydrochlorothiazide, Lisinopril,
Lisinopril/hydrochlorothiazide, Lithium, Loratadine, Lorazepam, Losartan, Losartan and
Hydrochlorothiazide, Lovastatin, Meloxicam, Memantine, Metformin, Methocarbam,
Methylphenidate, Metolazone, Metoprolol, Metronidazol, Minivelle, Mirtazapine, Mometasone,
Montelukast, Mupirocin, Naproxen, Nitrofurantoin, Nortriptylin, Nystatin, Omeprazole,
Ondansetron, Oxcarbazepin, Oxybutynin, Oxycodone/APAP, Pantoprazole, Paroxetine,
Penicillin, Percocet, Pramipexole, Pravastatin, Prednisone, Prednisolone, Promethazine/Codeine,
Ramipril, Ranitidine, Restasis, Sertraline, Simvastatin, Singulair, SMZ/TMP, Sodium Chloride
(1 gm), Spironolactone, Sprintec, Sulfameth/Trimeth, Sumatriptan, Suprep, Synthroid, Tamiflu,
Tamsulosin, Temazepam, Terazosin, Terbinafine, Tizanidine, Tobramycin/Sus Dexameth,
Topiramate, Tramadol, Tranex, Trazodone, Tretinoin, Triamcinolone, Triamterene and
Hydrochlorothiazide, Vagifem, Valacyclovir, Valsartan/hydrochlorothiazide, Valsartan, Vaniqa,
Venlafaxine, Ventolin, Viagra, Vigamox, Vitamin D, Vyvanse, Warfarin, Xopenex, Zaleplon,
and Zolpidem.

ANSWER: CHLIC denies the allegations in Paragraph 139.



                             CLASS ACTION ALLEGATIONS

       140. Plaintiffs brings this action as a class action pursuant to Rule 23(b)(2) and (b)(3)
of the Federal Rules of Civil Procedure on behalf of themselves and the Class, the ERISA
Subclass, and the State Law Subclass, which are defined as follows:

                      The Class. All individuals residing in the United States and
              its territories who are enrolled in a health benefit plan issued
              and/or administered by Defendants or their affiliates or insured
              under Defendants’ or their affiliates’ health insurance policies,
              who purchased prescription drugs pursuant to such plans or
              policies and paid an amount for such drugs that was set by
              Defendants (or their agents) that was higher than the participant
              payment amount provided by the health insurance plans or
              policies.




                                              64
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 65 of 122




ANSWER: CHLIC admits that Plaintiffs purport to bring their claims as a class action under

Federal Rule of Civil Procedure 23 on behalf of the proposed class stated in Paragraph 140.

CHLIC denies that class certification is appropriate in this matter. CHLIC denies the remaining

allegations in Paragraph 140.



       141.   Within the Class there are two subclasses:

              ERISA Subclass. All participants or beneficiaries enrolled in a
              health benefit plan issued and/or administered by Defendants or
              their affiliates or insured under Defendants’ or their affiliates’
              health insurance policies and subject to ERISA, who purchased
              prescription drugs pursuant to such plan or policy and paid an
              amount for such drugs that was higher than the participant payment
              amount provided by the health insurance policies.

              State Law Subclass. All participants or beneficiaries enrolled in a
              health benefit plan issued and/or administered by Defendants or
              their affiliates or insured under Defendants’ or their affiliates’
              health insurance policies and not subject to ERISA, who purchased
              prescription drugs pursuant to such plan and paid an amount for
              such drugs that was higher than the participant payment amount
              provided by the health insurance plans or policies.

ANSWER: CHLIC admits that Plaintiffs purport to bring their claims as a class action under

Federal Rule of Civil Procedure 23 on behalf of the proposed subclasses stated in Paragraph 141.

CHLIC denies that class certification is appropriate in this matter. CHLIC denies the remaining

allegations in Paragraph 141.



        142. Plaintiffs reserve the right to redefine the Class and Subclasses prior to
certification.




                                              65
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 66 of 122




ANSWER: CHLIC admits that Plaintiffs purport to reserve the right to refine the proposed class

and subclasses prior to certification. CHLIC denies that class certification is appropriate in this

matter. CHLIC denies the remaining allegations in Paragraph 142.



        143. Class Period. Plaintiffs will seek class certification, losses, and other available
relief for fiduciary breaches and prohibited transactions occurring within the entire period
allowable under law, including, but not limited to, ERISA § 413, 29 U.S.C. § 1113, including its
fraud or concealment tolling provisions, RICO, 18 U.S.C. 1961, et seq. and the doctrine of
equitable tolling, and relevant state laws. Further, Plaintiffs reserve the right to refine the Class
Period after they have learned the extent of Defendants’ fraud, the length of its concealment, and
the time period during which “Clawbacks” were taking place.

ANSWER: Paragraph 143 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies that class certification is appropriate in this

matter. CHLIC denies the remaining allegations in Paragraph 143.



        144. Excluded from the Class are Defendants, any of their parent companies,
subsidiaries, and/or affiliates, their officers, directors, legal representatives, and employees, any
co-conspirators, all governmental entities, and any judge, justice, or judicial officer presiding
over this matter.

ANSWER: CHLIC admits that Plaintiffs purport to exclude certain entities and individuals

from the proposed class. CHLIC denies that class certification is appropriate in this matter.

CHLIC denies the remaining allegations in Paragraph 144.



       145. This action is brought, and may properly be maintained, as a Class action
pursuant to Fed. R. Civ. P. 23. This action satisfies the numerosity, typicality, adequacy,
predominance, and superiority requirements of those provisions.




                                                 66
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 67 of 122




ANSWER: Paragraph 145 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies that class certification is appropriate in this

matter. CHLIC denies the remaining allegations in Paragraph 145.



        146. Members of the Class and Subclasses are so numerous that the individual joinder
of all Class and Subclass members is impracticable. Due to the nature of the trade and commerce
involved, Plaintiffs believe that the total number of Class members and Subclass members is in
the thousands and that the members of the Class are geographically dispersed across the United
States. While the exact number and identities of the Class members and Subclass members are
unknown at this time, such information can be ascertained through appropriate investigation and
discovery.

ANSWER: Paragraph 146 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies that class certification is appropriate in this

matter. CHLIC denies the remaining allegations in Paragraph 146.



        147. Plaintiffs’ claims are typical of the claims of the members of the Class and each
Subclass because Plaintiffs’ claims, and the claims of all Class and Subclass members, arise out
of the same conduct, policies and practices of Defendants as alleged herein, and all members of
the Class and Subclass are similarly affected by Defendant’s wrongful conduct.

ANSWER: Paragraph 147 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies that class certification is appropriate in this

matter. CHLIC denies the remaining allegations in Paragraph 147.



       148. There are questions of law and fact common to the Class and each Subclass and
these questions predominate over questions affecting only individual Class and Subclass
members. Common legal and factual questions include, but are not limited to:

              (a)     Whether Defendants are fiduciaries under ERISA;

              (b)     Whether Defendants are parties in interest under ERISA;

             (c)      Whether Defendants breached their fiduciary duties in failing to comply
with ERISA as set forth above;

                                              67
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 68 of 122




                (d)     Whether Defendants acts as alleged above breached ERISA’s prohibited
transaction rules;

               (e)      Whether Defendants breached ERISA § 702;

               (f)   Whether Defendants knowingly participated in and/or knew or had
constructive knowledge of violations of ERISA, including breaches of fiduciary duty;

                (g)    Whether Defendants conducted or participated in the conduct of the affairs
of an enterprise through a pattern of racketeering activity;

                (h)     Whether Defendants conspired to conduct or participate in the conduct of
the affairs of an enterprise through a pattern of racketeering activity;

              (i)    Whether such racketeering consisted of acts that are indictable pursuant to
18 U.S.C. §§ 1341 and 1343;

               (j)      Whether Defendants engaged in a scheme to defraud;

               (k)      Whether each Defendant was a knowing and active participant;

              (l)     Whether the mail, interstate carriers or wire transmissions were used in
connection with such scheme to defraud;

               (m)     Whether Plaintiffs and Class and Subclass members were injured in their
property or business as a direct and proximate result of Defendants’ racketeering activities;

               (n)    Whether Defendants violated the Plans’ terms by authorizing or permitting
pharmacies to collect and then remit “Spread” amounts to them and thereby overcharge
subscribers for prescription drugs; Whether the members of the Class and/or Subclass have
sustained losses and/or damages and/or Defendants have been unjustly enriched, and the proper
measure of such losses, damages, and/or unjust enrichment;

               (o)      Whether Defendant CHL has violated the state laws invoked here; and

               (p)     Whether the members of the Class and/or Subclass are entitled to
declaratory and/or injunctive relief.

ANSWER: Paragraph 148 and subparts (a) through (p) assert legal conclusions to which no

response is required.    To the extent that a response is required, CHLIC denies that class

certification is appropriate in this matter. CHLIC denies the remaining allegations in Paragraph

148 and subparts (a) through (p).




                                               68
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 69 of 122




        149. Plaintiffs will fairly and adequately represent the Class and each Subclass and
have retained counsel experienced and competent in the prosecution of class action litigation.
Plaintiffs have no interests antagonistic to those of other members of the Class and each
Subclass. Plaintiffs are committed to the vigorous prosecution of this action and anticipates no
difficulty in the management of this litigation as a class action.

ANSWER: Paragraph 149 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies that class certification is appropriate in this

matter. CHLIC denies the remaining allegations in Paragraph 149.



       150. A class action is superior to all other available methods for the fair and efficient
adjudication of this controversy since joinder of all members is impracticable. Furthermore, as
the damages suffered by individual Class and/or Subclass members may be relatively small, the
expense and burden of individual litigation make it impossible for members of the Class and/or
Subclass to individually redress the wrongs done to them. There will be no difficulty in the
management of this action as a class action.

ANSWER: Paragraph 150 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies that class certification is appropriate in this

matter. CHLIC denies the remaining allegations in Paragraph 150.



        151. Class action status in this action is warranted under Rule 23(b)(2) because
Defendants have acted or refused to act on grounds generally applicable to the Class and each
Subclass, thereby making appropriate final injunctive, declaratory, or other appropriate equitable
relief with respect to each Class and each Subclass as a whole.

ANSWER: Paragraph 151 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC admits that Plaintiffs purport to bring their claims as a

class action under Federal Rule of Civil Procedure 23, but denies that class certification is

appropriate in this matter. CHLIC denies the remaining allegations in Paragraph 151.



       152. Class action status in this action is warranted under Rule 23(b)(3) because
questions of law or fact common to members of the Class and each Subclass predominate over
any questions affecting only individual members, and class action treatment is superior to the

                                                69
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 70 of 122




other available methods for the fair and efficient adjudication of this controversy. Joinder of all
members of the Class is impracticable.

ANSWER: Paragraph 152 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC admits that Plaintiffs purport to bring their claims as a

class action under Federal Rule of Civil Procedure 23, but denies that class certification is

appropriate in this matter. CHLIC denies the remaining allegations in Paragraph 152.



            Exhaustion of Administrative Remedies Do Not Apply or Are Futile

       153. Plaintiffs and the ERISA Subclass are not required to exhaust administrative
remedies. Only a claim under ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B), could concern
exhaustion of administrative remedies. Accordingly, only Count I is arguably implicated by that
doctrine. Moreover, the exhaustion doctrine does not apply under that Count because Plaintiffs
seek to enforce their rights under the terms of the ERISA Plans and clarify future rights, not
recover benefits due. Finally, because the injuries to Plaintiffs and the ERISA Subclass are part
of a nationwide, clandestine, computerized scheme, any attempt to rectify the harm through
administrative means would be futile and unnecessary.

ANSWER: CHLIC denies the allegations in Paragraph 153.



       154. This clawing back of payments (which directly evidences the overcharging of
insureds) is pervasive and significantly increases the costs to patients across the country.

ANSWER: CHLIC denies the allegations in Paragraph 154.



         155. Making matters worse, on information and belief, Insurer/PBMs contractually
bind pharmacies to keep the “Clawback Scheme” secret and they prevent pharmacies from
informing patients that their drugs could cost less if the pharmacy were permitted to process the
purchase outside of the patients’ insurance plans. Put differently, if the patient in the Vitamin D
example above directly asked the pharmacist whether he or she could purchase prescription-
strength Vitamin D outside of the insurance (i.e., for less than the copayment), the pharmacy
would have been contractually prohibited from disclosing a lower available price or from selling
it at that lower price—even if the pharmacy could do so at a profit.




                                                70
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 71 of 122




ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations in Paragraph 155 and therefore denies those allegations.



       156. Moreover, the overcharging and “Clawback Scheme” is effectuated through
nationwide computer systems. The computer systems that Defendants use to process claims often
are not able to handle multiple prices for drugs and, rather than charging the client the proper
lower price paid to the pharmacy, the claim adjudication system will automatically apply the
higher price dictated by the insurer/PBM to charge the patients. Patients are never refunded the
amount that they overpaid due to the failure of the adjudication system to handle multiple prices.
Rather, that amount is kept by Defendants as a “Clawback.”

ANSWER: CHLIC denies the allegations in Paragraph 156.



        157. Due to Defendants’ concealment of their “Clawback Scheme” and their
requirements, transmitted through the pharmacies or pharmacists, that Plaintiffs and the ERISA
Subclass pay contractual copayments or coinsurance at the pharmacy—amounts that are set forth
in their Plans—Plaintiffs and each Subclass did not know and/or did not have reason to know
that they were being overcharged for their prescription medications. Due to the “gag clauses,”
only in the rarest of circumstances would patients have any inkling that they were being
overcharged. And even if they had reason to know they were being overcharged, they did not
know the exact amount of the “Clawback” they were forced to pay. Thus, Plaintiffs and the
ERISA Subclass did not know and did not have reason to know that they could make a claim for
reimbursement of part of their copay, much less the specific portion thereof they should request.

ANSWER: CHLIC admits that Plaintiffs and the proposed subclass pay contractual amounts at

the pharmacy as set forth in their Plans for prescription medications.         CHLIC denies the

remaining allegations in Paragraph 157.



        158. Further, Plaintiffs and the ERISA Subclass had no real opportunity to decline to
make the overpayments at the pharmacy that allowed Defendants to impose “Clawbacks” on
them. To receive their prescription medications, they were required to pay the amount that
Defendants prescribed through their computerized and automatic transmission of copayments or
coinsurance amounts to the pharmacists or pharmacies involved. Given Defendants’ prohibition
on pharmacists disclosing the retail cash price or the negotiated price to patients, without making
these required payments dictated by Defendants, Plaintiffs and the ERISA Subclass would not
have been able to purchase their prescription medications at all.



                                                71
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 72 of 122




ANSWER: CHLIC admits that Plaintiffs and the proposed subclass pay contractual amounts at

the pharmacy as set forth in their Plans for prescription medications.        CHLIC denies the

remaining allegations in Paragraph 158.



        159. It is not clear that Defendants’ administrative claims procedures would or could
contemplate the return of a portion of a copayment or coinsurance amount. But even if so,
making administrative claims should not be required of Plaintiffs and the ERISA Subclass. Even
utilizing Defendants’ claims procedures, if they were available or valid under these
circumstances, would not make Plaintiffs or the ERISA Subclass whole. First, it is unlikely this
procedure would result in a refund of a copayment or coinsurance, and is therefore futile and/or
unnecessary. Second, even if Defendants’ claims procedures could provide a “Clawback”
reimbursement of a portion of a given copayment or coinsurance amount, Plaintiffs and the
ERISA Subclass are entitled to more, including treble and punitive damages, injunctive relief,
and the other remedies described infra. In this regard as well, utilizing a claims procedure would
be futile and/or unnecessary.

ANSWER: CHLIC denies the allegations in Paragraph 159.



       160. Moreover, under the circumstances alleged here, it would be extremely
burdensome and inequitable to require Plaintiffs and the ERISA Subclass to seek redress through
Defendants’ claims procedures, where Defendants have intentionally misled consumers, omitted
material information, and concealed their unlawful practices. With the proportionately small
amount at stake for a given patient relative to the vast profits Defendants are reaping from their
“Clawback Scheme,” Defendants’ imposition of a claims procedure likely would deter and
prevent Plaintiffs and the ERISA Subclass from obtaining any relief at all, while Defendants
would be free to retain an unfair, unlawful, and undisclosed windfall profit due to their
“Clawback Scheme.”

ANSWER: CHLIC denies the allegations in Paragraph 160.



        161. Finally, correcting the prices paid by patients on an individualized basis would
inevitably result in further unfair, disparate, and discriminatory treatment among those ERISA
Subclass members who have been reimbursed for the overcharges and those who have not. A far
more equitable way to adjudicate overpayments made by the ERISA Subclass is for Defendants
to disgorge in full these amounts pursuant to their own records that can track such payments for
everyone in the ERISA Subclass.




                                               72
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 73 of 122




ANSWER: CHLIC denies the allegations in Paragraph 161.



       162. For all of these reasons, it would be futile for Plaintiffs to demand
administratively that Defendants modify the pervasive “Spread” and “Clawback Scheme” that is
ingrained in their business.

ANSWER: CHLIC denies the allegations in Paragraph 162.



       Plaintiffs and the Class Are Entitled to Tolling Due to Fraud or Concealment

       163. By its nature, Defendants’ “Clawback Scheme” has hidden their unlawful conduct
from injured parties.

ANSWER: CHLIC denies the allegations in Paragraph 163.



         164. Neither Plaintiffs nor Class members knew of the “Clawback Scheme,” nor could
they have reasonably discovered the existence of the “Clawback Scheme,” until shortly before
filing this action.

ANSWER: CHLIC lacks information or knowledge sufficient to form a belief as to the truth of

the allegations in Paragraph 164 and therefore denies those allegations.



      165. Until recent news broke about Defendants’ “Clawback Scheme,” their unlawful
conduct was hidden from Plaintiffs and the Class and each Subclass.

ANSWER: CHLIC denies the allegations in Paragraph 165.



       166. Even today, the “gag clauses” in place between Defendants and providers
continue to hide Defendants’ unlawful conduct from members of the Class and each Subclass.

ANSWER: CHLIC denies the allegations in Paragraph 166.




                                                73
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 74 of 122




        167. To the extent that any of the causes of action alleged infra are subject to a specific
statute of limitations, Defendants’ fraud or concealment alleged herein tolls those requirements,
for a specific amount of time to be determined as the litigation progresses.

ANSWER: CHLIC denies the allegations in Paragraph 167.



      168. Further, ERISA’s statute of limitations for fiduciary breach claims, ERISA § 413,
29 U.S.C. § 1113, provides that “in the case of fraud or concealment, [an] action may be
commenced not later than six years after the date of discovery of such breach or violation.”

ANSWER: Paragraph 168 asserts legal conclusions and purports to characterize and partially

quote a statute, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute. CHLIC denies the remaining allegations in Paragraph 168.



       169. While the RICO statute does not contain an express limitation period, the United
States Supreme Court has held that civil RICO claims must be brought within four years from
the discovery of an injury, which limitation is subject to equitable tolling due to defendants’
fraudulent concealment of their unlawful conduct. Rotella v. Wood, 528 U.S. 549 (2000).

ANSWER: Paragraph 169 asserts legal conclusions and purports to characterize a judicial

opinion, the terms of which speak for themselves, and thus no response is required. To the

extent that a response is required, CHLIC denies any characterization contrary to the terms of the

judicial opinion. CHLIC denies the remaining allegations in Paragraph 169.



       170. The “Clawback Scheme”—by its nature a secret endeavor by Defendants—
remains hidden from most members of the Class. Moreover, during the Class Period, as defined
above, each Defendant actively and effectively concealed its participation in the “Clawback
Scheme” from Plaintiffs and other members of the Class and Subclass through it “gag clauses”
and secrecy policies. There is no question that Plaintiffs’ claims are timely.




                                                74
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 75 of 122




ANSWER: The last sentence of Paragraph 170 asserts legal conclusions to which no response is

required. CHLIC incorporates its response to Paragraph 143 as though fully set forth herein.

CHLIC denies the remaining allegations in Paragraph 170.



                                       ERISA COUNTS

                                            Count I

                For Violations of ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B)
                                    Against All Defendants
                    By the ERISA Plaintiffs on Behalf of the ERISA Subclass

        171. ERISA Plaintiffs incorporate by reference each and every allegation above as if
set forth fully herein.

ANSWER: CHLIC incorporates its responses to the previous Paragraphs as though fully set

forth herein.



        172. ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B) provides that a participant or
beneficiary may bring an action to enforce rights under the terms of the plan or to clarify his
rights to future benefits under the terms of the plan.

ANSWER: Paragraph 172 purports to characterize a statute, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the statute. CHLIC denies the remaining

allegations in Paragraph 172.



        173. As set forth above, as a result of being overcharged for prescription drugs, ERISA
Plaintiffs and the ERISA Subclass have been and likely will continue to be denied their rights
under the Plans to be charged a lower amount for their prescriptions.

ANSWER: CHLIC denies the allegations in Paragraph 173.




                                               75
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 76 of 122




       174. ERISA Plaintiffs and the ERISA Subclass have been damaged in the amount of
the “Spread” compensation, including “Clawbacks,” that Defendants took for themselves.
ERISA Plaintiffs and the ERISA Subclass are entitled to recover the amounts they have been
overcharged.

ANSWER: CHLIC denies the allegations in Paragraph 174.



       175. ERISA Plaintiffs and the ERISA Subclass are entitled to enforce their rights under
the terms of the plans and seek clarification of their future rights and are entitled to an order
providing, among other things:

                (a)   That they have been overcharged;

                (b)   For an accounting of Defendants’ charges and overcharges;

             (c)     For payment of all amounts due them in accordance with their rights under
the ERISA Plans; and

               (d)    For an order that they are entitled in the future not to pay “Clawbacks” or
any other additional amounts that conflict with their rights under the ERISA Plans.

ANSWER: CHLIC denies the allegations in Paragraph 175 and subparts (a) through (d).



                                            Count II

                          ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3)
       for Violations of ERISA § 406(a)(1)(C) & (D), 29 U.S.C. § 1106(a)(1)(C) & (D)
                                  Against All Defendants
                  By the ERISA Plaintiffs on Behalf of the ERISA Subclass

        176. ERISA Plaintiffs incorporate by reference each and every allegation above as if
set forth fully herein.

ANSWER: CHLIC incorporates its responses to the previous Paragraphs as though fully set

forth herein.



        177. ERISA § 406(a)(1)(C), 29 U.S.C. § 1106(a)(1)(C), provides that a fiduciary shall
not cause a plan to engage in a transaction if it knows or should know that the transaction
constitutes the payment of direct or indirect compensation in the furnishing of services by a party
in interest to a plan.


                                                76
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 77 of 122




ANSWER: Paragraph 177 purports to characterize a statute, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the statute. CHLIC denies the remaining

allegations in Paragraph 177.



        178. ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D), provides that a fiduciary shall
not cause a plan to engage in a transaction if it knows or should know that the transaction
constitutes the transfer to, or use by or for the benefit of a party in interest, of any assets of the
plan.

ANSWER: Paragraph 178 purports to characterize a statute, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the statute. CHLIC denies the remaining

allegations in Paragraph 178.



        179. As alleged above, Defendants are fiduciaries of the ERISA Plans of the
participants and beneficiaries in the ERISA Subclass. Defendants are also parties in interest
under ERISA in that they are fiduciaries and/or they provided prescription drug insurance and/or
administrative “services” to ERISA Subclass members pursuant to the ERISA Plans. ERISA §
3(14)(A) & (B), 29 U.S.C. § 1002(14)(A) & (B). Thus they were engaged on one or both sides of
these § 406(a) prohibited transactions.

ANSWER: Paragraph 179 asserts legal conclusions and purports to characterize and partially

quote a statute, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute. CHLIC denies the remaining allegations in Paragraph 179.



        180. As fiduciaries, Defendants caused the ERISA Plans to engage in prohibited
transactions as alleged herein.




                                                 77
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 78 of 122




ANSWER: CHLIC denies the allegations in Paragraph 180.



       181. As parties in interest, Defendants received direct and indirect compensation in the
form of undisclosed “Spread” compensation, including “Clawbacks,” in exchange for the
services they provided to ERISA Plaintiffs and the ERISA Subclass pursuant to their prescription
drug plans. ERISA § 406(a)(1)(C), 29 U.S.C. § 1106(a)(1)(C).

ANSWER: Paragraph 181 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute.

CHLIC denies the remaining allegations in Paragraph 181.



       182. The only exception to the prohibition of such compensation is if it was for
services necessary for the operation of a plan and such compensation was reasonable. ERISA §
408(b)(2), 29 U.S.C. § 1108(b)(2).

ANSWER: Paragraph 182 purports to characterize a statute, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the statute. CHLIC denies the remaining

allegations in Paragraph 182.



        183. While the burden is on Defendants to invoke and establish this exception, the
compensation paid to Defendants was not reasonable under ERISA § 408(b)(2), 29 U.S.C. §
1108(b)(2) in that the “Spread” compensation was excessive and/or unreasonable in relation to
the value of the services provided. Defendants’ compensation exceeded the premiums and other
fees that were agreed upon for fully providing prescription drug benefits. Further, Defendants as
fiduciaries of the ERISA Plans are entitled to receive at most reimbursement for their direct
expenses.

ANSWER: CHLIC denies the allegations in Paragraph 183.



     184. In addition and in the alternative, Defendants used—and misused—assets of the
ERISA Plans by leveraging the contracts underpinning these ERISA Plans to gain access to

                                               78
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 79 of 122




patients who needed prescription drugs and would be required to pay copayments, coinsurance,
or deductible payments which Defendants could appropriate in their “Clawback Scheme.”
Further, Defendants used—and misused—for their own benefit and the benefit of other parties in
interest additional assets of the ERISA Plans—the contracts underpinning the ERISA Plans of
members of the ERISA Subclass—to effectuate their “Clawback Scheme.” ERISA §
406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D).

ANSWER: CHLIC denies the allegations in Paragraph 184.



       185. ERISA Plaintiffs and the ERISA Subclass have suffered losses and/or damages
and/or Defendants have been unjustly enriched in the amount of the “Spread” compensation
Defendants took for themselves.

ANSWER: CHLIC denies the allegations in Paragraph 185.



        186. ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or
beneficiary to bring a civil action: “(A) to enjoin any act or practice which violates any provision
of this title or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to
redress such violations or (ii) to enforce any provisions of this title or the terms of the plan.”

ANSWER: Paragraph 186 purports to characterize a statute, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the statute. CHLIC denies the remaining

allegations in Paragraph 186.



       187. Pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), the Court should order
equitable relief to ERISA Plaintiffs and the Class, including but not limited to:

               (a)     an accounting;

               (b)     a surcharge;

               (c)     correction of the transactions;

               (d)     disgorgement of profits;

               (e)     an equitable lien;

               (f)     a constructive trust;

                                                  79
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 80 of 122




                (g)      restitution;

                (h)      full disclosure of the foregoing acts and practices;

                (i)      an injunction against further violations; and/or

                (j)      any other remedy the Court deems proper.

ANSWER: CHLIC denies the allegations in Paragraph 187 and subparts (a) through (j).



                                               Count III

                              ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3)
                       for Violations of ERISA § 406(b), 29 U.S.C. § 1106(b)
                                       Against All Defendants
                      By the ERISA Plaintiffs on Behalf of the ERISA Subclass

        188.    Plaintiff incorporates by reference each and every allegation above as if set forth
fully herein.

ANSWER: CHLIC incorporates its responses to the previous Paragraphs as though fully set

forth herein.



       189. ERISA § 406(b), 29 U.S.C. § 1106(b), provides that a fiduciary shall not (1) deal
with plan assets in its own interest or for its own account, (2) act in any transaction involving the
plan on behalf of a party whose interests are adverse to participants or beneficiaries, or (3)
receive any consideration for its own personal account from any party dealing with such plan in
connection with a transaction involving the assets of the plan.

ANSWER: Paragraph 189 purports to characterize a statute, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the statute. CHLIC denies the remaining

allegations in Paragraph 189.



        190. As alleged above, Defendants are fiduciaries to the ERISA Plans. They violated
all three subsections of ERISA § 406(b).



                                                   80
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 81 of 122




ANSWER: The first sentence of Paragraph 190 asserts legal conclusions to which no response

is required. CHLIC denies the allegations in the second sentence of Paragraph 190.



     191. As alleged above, the contracts underpinning the ERISA Subclass members’
ERISA Plans are plan assets under ERISA.

ANSWER: Paragraph 191 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies the allegations in Paragraph 191.



       192. First, by setting their own compensation from drug payments from participants
and beneficiaries, collecting their own compensation from that same source, and managing
contracts in their own interest or for their own account, Defendants violated ERISA § 406(b)(1).
Specifically, in setting the amount of and taking excessive undisclosed “Spread” compensation,
including “Clawbacks,” Defendants received plan assets and consideration for their personal
accounts.

ANSWER: CHLIC denies the allegations in Paragraph 192.



        193. Second, by acting on behalf of each other and on behalf of non-parties who also
stood to profit from “Clawbacks” at the expense of ERISA Plaintiffs and members of the ERISA
Subclass—and thus with interests adverse to the affected participants and beneficiaries—
Defendants engaged in conflicted transactions each time they facilitated, required, or allowed
“Clawbacks,” through service provider contracts or in transactions at the pharmacy counter, in
violation of ERISA § 406(b)(2). Under this subsection of ERISA § 406(b), plan assets need not
be involved—dealing with a plan is enough.

ANSWER:       The last sentence of Paragraph 193 asserts legal conclusions and purports to

characterize a statute, the terms of which speak for themselves, and thus no response is required.

To the extent that a response is required, CHLIC denies any characterization contrary to the

terms of the statute. CHLIC denies the remaining allegations in Paragraph 193.



       194. Third, through their “Clawback Scheme,” Defendants received consideration for
their own personal accounts from other parties—including each other, third parties, and the


                                               81
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 82 of 122




members of the ERISA Subclass—that were dealing with the ERISA Plans in connection with a
transaction involving the assets of the ERISA Plans.

ANSWER: CHLIC denies the allegations in Paragraph 194.



        195. ERISA Plaintiffs and the ERISA Subclass have been damaged and suffered losses
in the amount of the “Spread” compensation Defendants took through these prohibited
transactions.

ANSWER: CHLIC denies the allegations in Paragraph 195.



        196. ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or
beneficiary to bring a civil action: “(A) to enjoin any act or practice which violates any provision
of this title or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to
redress such violations or (ii) to enforce any provisions of this title or the terms of the plan.”

ANSWER: Paragraph 196 asserts legal conclusions and purports to characterize and partially

quote a statute, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute and denies the remaining allegations in Paragraph 196.



       197. Pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), the Court should order
equitable relief to ERISA Plaintiffs and the ERISA Subclass, including but not limited to:

               (a)     an accounting;

               (b)     a surcharge;

               (c)     correction of the transactions;

               (d)     disgorgement of profits;

               (e)     an equitable lien;

               (f)     a constructive trust;

               (g)     restitution;

               (h)     full disclosure of the foregoing acts and practices;

                                                  82
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 83 of 122




                (i)      an injunction against further violations; and/or

                (j)      any other remedy the Court deems proper.

ANSWER: CHLIC denies the allegations in Paragraph 197 and subparts (a) through (j).



                                              Count IV

                      ERISA § 502(a)(2) and (3), 29 U.S.C. § 1132(a)(2) and (3)
                           for Violations of ERISA § 404, 29 U.S.C. § 1104
                                       Against All Defendants
                      By the ERISA Plaintiffs on Behalf of the ERISA Subclass

        198. ERISA Plaintiffs incorporate by reference each and every allegation above as if
set forth fully herein.

ANSWER: CHLIC incorporates its responses to the previous Paragraphs as though fully set

forth herein.



       199. ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), provides that a fiduciary shall
discharge its duties with respect to a plan solely in the interest of the participants and
beneficiaries and for the exclusive purpose of providing benefits to participants and beneficiaries
and defraying reasonable expenses of administering the plan, and with the care, skill, prudence
and diligence under the circumstances then prevailing that a prudent person acting in a like
capacity and familiar with such matters would use in the conduct of an enterprise of a like
character and with like aims.

ANSWER: Paragraph 199 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute.

CHLIC denies the remaining allegations in Paragraph 199.



        200. In setting the amount of and taking excessive undisclosed “Spread”
compensation, including “Clawbacks,” Defendants have breached their fiduciary duties of
loyalty and prudence.




                                                  83
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 84 of 122




ANSWER: CHLIC denies the allegations in Paragraph 200.



       201. Further, in failing to put the interests of participants and beneficiaries first in
managing and administering pharmacy benefits, Defendants have breached their fiduciary duty
of loyalty. And in acting in their own self-interest, Defendants have violated the “exclusive
purpose” standard.

ANSWER: CHLIC denies the allegations in Paragraph 201.



        202. The duty to disclose is part of the duty of loyalty. In concealing and failing to
disclose to the ERISA Subclass the fact or amount of the “Clawbacks” they were being charged,
and in concealing and failing to disclose to the ERISA Subclass that plan participants were
paying more in copayments and coinsurance than the cost of the drug if purchased outside their
respective plans—then barring pharmacies from advising ERISA Subclass members that they
could pay less for a drug by purchasing it outside of their respective plans, Defendants breached
this duty. Further, both omissions and misrepresentations are actionable under ERISA’s
disclosure obligations, and the type that occurred here are not subject to individualized reliance
requirements. In addition, a fiduciary that appoints another person to fulfill all or part of its
duties, by formal or informal hiring, subcontracting, or delegation, assumes the duty to monitor
that appointee to protect the interests of the ERISA participants and beneficiaries. As noted
herein, the power to appoint, retain, and remove plan fiduciaries or service providers confers
fiduciary status upon the person holding such power.

ANSWER: Paragraph 198 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies the allegations in Paragraph 202.



        203. Defendant Cigna failed to adequately monitor the activities of Defendant CHL
and Defendant OptumRx—PBMs they authorized to provide PBM services to Cigna insureds—
including inter alia, failing to monitor the prices charged by CHL and OptumRx for prescription
medications provided to ERISA Plaintiffs and the ERISA Subclass and permitting and/or
participating in the “Clawback Scheme” described herein. As such, Defendant Cigna failed to
monitor its appointees, formal delegees, and informal designees in the performance of its
fiduciary duties.

ANSWER: CHLIC denies the allegations in Paragraph 203.



       204. Finally, it is never prudent to require or allow excessive compensation in the
context of an ERISA-covered plan. In so doing, Defendants violated their duty of prudence.

                                               84
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 85 of 122




ANSWER: CHLIC denies the allegations in Paragraph 204.



        205. ERISA Plaintiffs and the ERISA Subclass have been damaged and suffered losses
in the amount of the “Spread” compensation Defendant took.

ANSWER: CHLIC denies the allegations in Paragraph 205.



        206. ERISA § 409, 29 U.S.C. § 1109, provides, inter alia, that any person who is a
fiduciary with respect to a plan and who breaches any of the responsibilities, obligations, or
duties imposed on fiduciaries by ERISA shall be personally liable to make good to the plan any
losses to the plan resulting from each such breach and to restore to the plan any profits the
fiduciary made through use of the plan’s assets. ERISA § 409 further provides that such
fiduciaries are subject to such other equitable or remedial relief as a court may deem appropriate.

ANSWER: Paragraph 206 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute.

CHLIC denies the remaining allegations in Paragraph 206.



       207. ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2), permits a plan participant,
beneficiary, or fiduciary to bring a suit for relief under ERISA § 409.

ANSWER: Paragraph 207 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute.

CHLIC denies the remaining allegations in Paragraph 207.



        208. ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or
beneficiary to bring a civil action: “(A) to enjoin any act or practice which violates any provision
of this title or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to
redress such violations or (ii) to enforce any provisions of this title or the terms of the plan.”



                                                85
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 86 of 122




ANSWER: Paragraph 208 asserts legal conclusions and purports to characterize and partially

quote a statute, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute. CHLIC denies the remaining allegations in Paragraph 208.



       209. Pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), the Court should order
equitable relief to ERISA Plaintiffs and the ERISA Subclass, including but not limited to:

               (a)      an accounting;

               (b)      a surcharge;

               (c)      correction of the transactions;

               (d)      disgorgement of profits;

               (e)      an equitable lien;

               (f)      a constructive trust;

               (g)      restitution;

               (h)      full disclosure of the foregoing acts and practices;

               (i)      an injunction against further violations; and/or

               (j)      any other remedy the Court deems proper.

ANSWER: CHLIC denies the allegations in Paragraph 209 and subparts (a) through (j).



                                                Count V

                             ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3)
                      for Violations of ERISA § 405(a), 29 U.S.C. § 1105(a)
                                     Against All Defendants
                     By the ERISA Plaintiffs on Behalf of the ERISA Subclass

        210. ERISA Plaintiffs incorporate by reference each and every allegation above as if
set forth fully herein.



                                                   86
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 87 of 122




ANSWER: CHLIC incorporates its responses to the previous Paragraphs as though fully set

forth herein.



        211. As alleged above, Defendants were fiduciaries within the meaning of ERISA §
3(21)(A), 29 U.S.C. § 1002(21)(A). Thus, they were bound by the duties of loyalty, exclusive
purpose, and prudence and they were prohibited from engaging in self-interested and conflicted
transactions.

ANSWER: Paragraph 211 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies the allegations in Paragraph 211.



        212. As alleged above, ERISA § 405(a), 29 U.S.C. § 1105(a), imposes liability on a
fiduciary, in addition to any liability which it may have under any other provision, for a breach
of fiduciary responsibility of another fiduciary with respect to the same plan if it knows of a
breach and fails to remedy it, knowingly participates in a breach, or enables a breach. The
Defendants breached all three provisions.

ANSWER: Paragraph 212 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute.

CHLIC denies the remaining allegations in Paragraph 212.



        213. Knowledge of a Breach and Failure to Remedy. ERISA § 405(a)(3), 29 U.S.C.
§ 1105(a)(3), imposes co-fiduciary liability on a fiduciary for a fiduciary breach by another
fiduciary if it has knowledge of a breach by such other fiduciary, unless it makes reasonable
efforts under the circumstances to remedy the breach. Upon information and belief, each
Defendant knew of the breaches by the other fiduciaries and made no efforts, much less
reasonable ones, to remedy those breaches.




                                               87
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 88 of 122




ANSWER: Paragraph 213 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute.

CHLIC denies the remaining allegations in Paragraph 213.



        214. Knowing Participation in a Breach. ERISA § 405(a)(1), 29 U.S.C. §
1105(a)(1), imposes liability on a fiduciary for a breach of fiduciary responsibility of another
fiduciary with respect to the same plan if it participates knowingly in, or knowingly undertakes
to conceal, an act or omission of such other fiduciary, knowing such act or omission is a breach.
Upon information and belief, each Defendant participated in the breaches by the other
fiduciaries.

ANSWER: Paragraph 214 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute.

CHLIC denies the remaining allegations in Paragraph 214.



       215. Enabling a Breach. ERISA § 405(a)(2), 29 U.S.C. § 1105(a)(2), imposes liability
on a fiduciary if, by failing to comply with ERISA § 404(a)(1), 29 U.S.C. §1104(a)(1), in the
administration of its specific responsibilities which give rise to its status as a fiduciary, it has
enabled another fiduciary to commit a breach, even without knowledge of the breach. Upon
information and belief, each Defendant enabled the breaches by the other fiduciaries.

ANSWER: Paragraph 215 asserts legal conclusions and purports to characterize a statute, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the statute.

CHLIC denies the remaining allegations in Paragraph 215.



       216. ERISA Plaintiffs and the ERISA Subclass have been damaged in the amount of
the “Spread” compensation Defendants took.



                                                88
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 89 of 122




ANSWER: CHLIC denies the allegations in Paragraph 216.



        217. ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or
beneficiary to bring a civil action: “(A) to enjoin any act or practice which violates any provision
of this title or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to
redress such violations or (ii) to enforce any provisions of this title or the terms of the plan.”

ANSWER: Paragraph 217 purports to characterize and partially quote a statute, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the statute. CHLIC denies

the remaining allegations in Paragraph 217.



       218. Pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), the Court should order
equitable relief to ERISA Plaintiffs and the ERISA Subclass, including but not limited to:

               (a)     an accounting;

               (b)     a surcharge;

               (c)     correction of the transactions;

               (d)     disgorgement of profits;

               (e)     an equitable lien;

               (f)     a constructive trust;

               (g)     restitution;

               (h)     full disclosure of the foregoing acts and practices;

               (i)     an injunction against further violations; and/or

               (j)     any other remedy the Court deems proper.

ANSWER: CHLIC denies the allegations in Paragraph 218 and subparts (a) through (j).




                                                  89
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 90 of 122




                                            Count VI

                          ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3)
                     for Knowing Participation in Violations of ERISA
                         In the Alternative, Against All Defendants
                  By the ERISA Plaintiffs on Behalf of the ERISA Subclass

        219. ERISA Plaintiffs incorporate by reference each and every allegation above as if
set forth fully herein.

ANSWER: CHLIC incorporates its responses to the previous Paragraphs as though fully set

forth herein.



       220. As noted above, fiduciary status is not required for liability under ERISA where
non-fiduciaries participate in and/or profit from a fiduciary’s breach or prohibited transaction.
Accordingly, ERISA Plaintiffs make claims against Defendants even though one or more of
them may be found not to have fiduciary status with respect to the ERISA Plans. As
nonfiduciaries, they nevertheless must restore unjust profits or fees and are subject to other
appropriate equitable relief, pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), and
pursuant to Harris Trust & Sav. Bank v. Salomon Smith Barney Inc., 530 U.S. 238 (2000).

ANSWER: Paragraph 220 asserts legal conclusions and purports to characterize a statute and a

judicial opinion, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute or the judicial opinion. CHLIC denies the remaining allegations in Paragraph 220.



        221. To the extent any one or more of them are not found to be fiduciaries, Defendants
had actual or constructive knowledge of and participated in and/or profited from the prohibited
transactions and fiduciary breaches alleged in Counts II-V by the Defendants who are found to
be fiduciaries, and these nonfiduciaries are liable to disgorge ill-gotten gains and/or plan assets
and to provide other appropriate equitable relief, pursuant to ERISA § 502(a)(3), 29 U.S.C. §
1132(a)(3), and Harris Trust.




                                                90
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 91 of 122




ANSWER: Paragraph 221 asserts legal conclusions and purports to characterize a statute and a

judicial opinion, the terms of which speak for themselves, and thus no response is required. To

the extent that a response is required, CHLIC denies any characterization contrary to the terms of

the statute or the judicial opinion. CHLIC denies the remaining allegations in Paragraph 221.



        222. As a direct and proximate result of the fiduciary breaches and prohibited
transactions alleged in Counts II-V and the participation therein of the Defendants, the members
of the ERISA Subclass directly or indirectly lost millions of dollars and/or plan assets (both
participant pharmacy payments and Plan contracts) were improperly used to generate profits for
the fiduciary Defendants, their affiliates, and third parties. The fiduciary Defendants collected
and/or paid these amounts to themselves, their affiliates, or third parties from plan assets or
generated them through improper leveraging of plan assets.

ANSWER: CHLIC denies the allegations in Paragraph 222.



       223. Pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), the Court should order
equitable relief to ERISA Plaintiffs and the ERISA Subclass, including but not limited to:

               (a)    an accounting;

               (b)    a surcharge;

               (c)    correction of the transactions;

               (d)    disgorgement of profits;

               (e)    an equitable lien;

               (f)    a constructive trust;

               (g)    restitution;

               (h)    full disclosure of the foregoing acts and practices;

               (i)    an injunction against further violations; and/or

               (j)    any other remedy the Court deems proper.

ANSWER: CHLIC denies the allegations in Paragraph 223 and subparts (a) through (j).



                                                 91
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 92 of 122




                                         RICO COUNTS

                                            Count VII

                           For Violating RICO, 18 U.S.C. § 1962(c)
                        Against CHL on Behalf of the Nationwide Class

        224.    Plaintiffs incorporate by reference each and every allegation above as if set forth
fully herein.

ANSWER: CHLIC incorporates its responses to the previous Paragraphs as though fully set

forth herein.



       General RICO Allegations

        225. Plaintiffs, the Class members, Cigna, CHL, Argus and OptumRx are “persons”
within the meaning of RICO, 18 U.S.C. §§1961(3), 1964(c).

ANSWER: Paragraph 225 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies the allegations in Paragraph 225.



        226. At all relevant times, Cigna and/or CHL were associated with an enterprise
consisting of Argus (“Argus Enterprise”).

ANSWER: Paragraph 229 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies the allegations in Paragraph 226.



       227.     Argus is a legal entity enterprise within the meaning of 18 U.S.C. §1961(4).

ANSWER: Paragraph 230 asserts legal conclusions, and thus no response is required. To the

extent that a response is required, CHLIC denies the allegations in Paragraph 227.



        228. At all relevant times, Cigna and/or CHL were associated with an enterprise
consisting of OptumRx (“OptumRx Enterprise”).



                                                92
         Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 93 of 122




ANSWER: Paragraph 228 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies the allegations in Paragraph 228.



         229.   OptumRx is a legal entity enterprise within the meaning of 18 U.S.C. §1961(4).

ANSWER: Paragraph 229 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies the allegations in Paragraph 229.



         230. At all relevant times, Argus and OptumRx have been engaged in, and their
activities affect, interstate commerce within the meaning of RICO, 18 U.S.C. §1962(c).

ANSWER: Paragraph 230 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies the allegations in Paragraph 230.



         231.   Cigna and/or CHL are legally and factually distinct from OptumRx and from
Argus.

ANSWER: Paragraph 231 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies the allegations in Paragraph 231.



       232. Cigna and/or CHL and Argus are separate and distinct from the pattern of
racketeering acts in which Argus engaged.

ANSWER: Paragraph 232 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies the allegations in Paragraph 232.



       233. Cigna and/or CHL and OptumRx are separate and distinct from the pattern of
racketeering acts in which OptumRx engaged.




                                               93
         Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 94 of 122




ANSWER: Paragraph 233 asserts legal conclusions to which no response is required. To the

extent that a response is required, CHLIC denies the allegations in Paragraph 233.



        234. Cigna and/or CHL created its own in-house Pharmacy Benefit Manager, Cigna
Pharmacy Management, to oversee and control the affairs of PBMs such as Argus and OptumRx
including by determining the prescription drug formulary, determining the pricing for
prescription drugs and determining the copayment amounts to be paid by Plan members.

ANSWER: CHLIC denies the allegations in Paragraph 234.



        235. Cigna and/or CHL agreed to and did conduct and participate in the conduct of the
Argus Enterprise and the OptumRx Enterprise. Cigna and/or CHL operated and managed the
affairs of Argus Enterprise and the OptumRx Enterprise through contracts and agreements
through which Cigna and/or CHL was able to and did exert control over Argus and OptumRx.

ANSWER: Paragraph 235 asserts legal conclusions and purports to characterize documents, the

terms of which speak for themselves, and thus no response is required. To the extent that a

response is required, CHLIC denies any characterization contrary to the terms of the documents.

CHLIC denies the remaining allegations in Paragraph 235.



      236. Cigna and/or CHL “utilize Optum[Rx]’s technology and service platforms, retail
network contracting and claims processing services.”

ANSWER: Paragraph 236 purports to partially quote a document, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies the allegations in Paragraph 236.



       237. OptumRx’s Provider Manual provides that OptumRx “acting on behalf of
applicable Client or Benefit Plan Sponsor,” in this case, Cigna and/or CHL, will process claims
for medically necessary prescription drugs dispensed to Plaintiffs and Class members.26

26
     OptumRx Provider Manual (2d ed. 2017) at 44.

                                               94
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 95 of 122




ANSWER: Paragraph 237 purports to partially quote a document, the terms of which speak for

themselves, and thus no response is required. CHLIC denies any characterization contrary to the

terms of the document in Paragraph 237.



       238. On information and belief, Argus also has manuals and written policies that
describe the manner in which it processes claims for medically necessary prescription drugs
dispensed to Plaintiffs and Class members in relation to Cigna and/or CHL.

ANSWER: Paragraph 238 purports to characterize documents, the terms of which speak for

themselves, and thus no response is required. To the extent that a response is required, CHLIC

denies any characterization contrary to the terms of the documents. CHLIC denies the remaining

allegations in Paragraph 238.



         239. Cigna and/or CHL had the ability to and did in fact direct the OptumRx Enterprise
and the Argus Enterprise to intentionally misrepresent the cost-sharing amount Plaintiffs and
Class members were required to pay to receive medically necessary prescription drugs. Cigna
and/or CHL further directed Argus and OptumRx to direct pharmacies to collect a specified cost-
sharing amount. This specified cost-sharing amount exceeded the amount Cigna and/or CHL had
promised Plaintiffs and the Class members they would pay for medically necessary prescription
drugs. After Plaintiffs and Class members overpaid for the medically necessary prescription
drugs, Cigna and/or CHL directed Argus and OptumRx to direct the pharmacies to return to
Argus and OptumRx a portion of the cost-sharing amount that Plaintiffs and the Class members
had paid to the pharmacies. Cigna and/or CHL then directed Argus and OptumRx to return some
or all of these funds to Cigna and/or CHL.

ANSWER: CHLIC denies the allegations in Paragraph 239.




       240. Cigna Pharmacy Management Senior Vice President Michelle Vancura, in a 2015
presentation “Take Your PBM Contract Negotiation Skills to the Next Level,” identified this




                                              95
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 96 of 122




lucrative and so-called “Zero Balance Claim handling” as one of the “Financial Performance
Guarantees” that negotiators needed to focus on to provide long term value.27

ANSWER: Paragraph 240 purports to characterize and partially quote a document, the terms of

which speak for themselves, and thus no response is required. To the extent that a response is

required, CHLIC denies any characterization contrary to the terms of the document. CHLIC

denies the remaining allegations in Paragraph 240.



        241. As described herein, Argus and OptumRx are separate legal entities. The purpose
of Argus and of OptumRx is to provide Plaintiffs and Class members medically necessary
prescription drugs in accordance with the terms of their Plans with Cigna and/or CHL. Argus and
OptumRx each provide pharmacy benefit management services to Cigna and/or CHL and other
healthcare services companies. These services include retail network contracting and claims
processing services. Argus’ and OptumRx’s legitimate and lawful activities are not being
challenged in this Complaint.

ANSWER: CHLIC admits, on information and belief, that Argus and Optum are legal entities

separate from CHLIC and from each other. CHLIC further admits that Argus provides certain

claims processing services to CHLIC and that Optum provides access to certain retail pharmacy

networks and other services to CHLIC. CHLIC lacks information or knowledge sufficient to

form a belief as to the truth of the allegations in the second sentence of Paragraph 241 and

therefore denies those allegations. CHLIC denies the remaining allegations in Paragraph 241.



       242. Cigna and/or CHL, however, also direct the Argus Enterprise and OptumRx
Enterprise to serve an unlawful purpose; that is, to create a mechanism through which Cigna
and/or CHL could obtain additional monies beyond what Plaintiffs and Class members should
have paid under their Plans for medically necessary prescription drugs. This “Clawback Scheme”
was not legitimate.




27
  Michelle Vancura, Take Your PBM Contract Negotiation Skills to the Next Level, (Aug. 20,
2015) at 10.

                                              96
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 97 of 122




ANSWER: CHLIC denies the allegations in Paragraph 242.



       243.    Argus and OptumRx have existed for several years and remain in existence.

ANSWER: Admitted.



        244. Cigna and/or CHL agreed to and did conduct and participate in the conduct of
Argus Enterprise’s and the OptumRx Enterprise’s affairs through a pattern of racketeering
activity and for the unlawful purpose of intentionally defrauding Plaintiffs and the Class
members. Cigna and/or CHL used Argus and OptumRx to facilitate their goals of overcharging
for medically necessary prescription drugs and were unjustly enriched by overcharging for
medically necessary prescription drugs.

ANSWER: CHLIC denies the allegations in Paragraph 247.



       Predicate Racketeering Acts

        245. As described herein, Cigna and/or CHL directly and indirectly conducted and
participated in the conduct of Argus Enterprise’s and the OptumRx Enterprise’s affairs through a
pattern of racketeering and activity in violation of 18 U.S.C. § 1962(c) for the unlawful purpose
of defrauding Plaintiffs and Class members.

ANSWER: CHLIC denies the allegations in Paragraph 245.



        246. Pursuant to and in furtherance of its fraudulent “Clawback Scheme,” Cigna and/or
CHL directed Argus and OptumRx to commit multiple related predicate acts of “racketeering
activity,” as defined in 18 U.S.C. §1961(5), prior to, and during, the Class Period and continue to
commit such predicate acts, in furtherance of their “Clawback Scheme,” including: (a) mail
fraud, in violation of 18 U.S.C. §1341; and (b) wire fraud, in violation of 18 U.S.C. §1343.

ANSWER: CHLIC incorporates its response to Paragraph 143 as though fully set forth herein.

CHLIC denies the remaining allegations in Paragraph 246.



       247. As alleged herein, Cigna and/or CHL directed Argus and OptumRx to engage in a
fraudulent “Clawback Scheme” to defraud Plaintiffs and Class members. The “Clawback
Scheme” entails: (a) Cigna and/or CHL representing to Plaintiffs and Class members through

                                                97
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 98 of 122




form insurance policy language that they would pay a certain amount for prescription drugs; (b)
Cigna and/or CHL entering into agreements with Argus, OptumRx, and other PBMs, through
which the PBMs agreed to process claims submitted by Plaintiffs and the Class members for
medically necessary prescription drugs in accordance with the terms of a particular Plan; (c)
Argus’ and OptumRx’s creation of pharmacy networks through which Plaintiffs and Class
members could receive medically necessary prescription drugs by way of agreements requiring
pharmacies participating in the pharmacy networks to charge for medically necessary
prescription drugs only the amounts specified by the PBMs; (d) Argus’ and OptumRx’s
misrepresenting the correct charge for medically necessary prescription drugs as specified in
Plaintiffs and Class members’ Plans, and directing pharmacies participating in the pharmacy
networks to collect those improper amounts; (e) Cigna and/or CHL’s retention of a portion of the
amounts improperly collected by pharmacies, in violation of the Plaintiffs and Class members’
Plans with Cigna and/or CHL; and (f) Cigna and/or CHL imposing an agreement (1) barring
pharmacies from ad-vising Plaintiffs and Class members that they could pay less for a drug by
purchasing it outside of their respective Plans and (2) barring pharmacies from selling in a
transaction that would avoid the overcharge.

ANSWER: CHLIC denies the allegations in Paragraph 247.



        248. Cigna and/or CHL’s “Clawback Scheme” includes various misrepresentations and
omissions of material fact, including, but not limited to: (a) the representation in the plain form
language of the policy that Class members would pay a certain amount for prescriptions drugs
with knowledge and intent that Class members would be charged a higher amount; (b) the failure
to disclose that a material portion of the “co-payments” were neither payments for prescription
drugs nor were they “co-” payments by the insureds in conjunction with a payment by the insurer
for the prescription drugs, as required by the Plans’ plain language, but rather were unlawful
payments to Cigna and/or CHL; (c) the failure to disclose that prescription drug payments under
deductible portions of health insurance policies were based on prescription drug prices that
exceeded the contracted fee between Argus and OptumRx and the pharmacies, as required by the
Plans’ plain language; (d) the failure to disclose that co-insurance payments were based on
prescription drug prices that exceeded the contracted fee between the Argus and OptumRx and
the pharmacies, as required by the Plans’ plain language; and (e) the failure to disclose its
required agreement (1) barring pharmacies from advising Plaintiffs and Class members that they
could pay less for a drug by purchasing it outside of their respective Plans and (2) barring
pharmacies from selling in a transaction that would avoid the overcharge.

ANSWER: CHLIC denies the allegations in Paragraph 248.



        249. In sum, Cigna and/or CHL’s “Clawback Scheme” took money from Plaintiffs and
Class members through deceit and false pretenses. Cigna and/or CHL intentionally devised such
a “Clawback Scheme” and were knowing and active participants in the scheme to defraud
Plaintiffs and Class members. Cigna and/or CHL knew that they overcharged for medically
necessary prescription drugs and that they would claw back such amounts. Cigna and/or CHL

                                                98
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 99 of 122




specifically intended to commit fraud, and such intent can be inferred from the totality of the
allegations herein.

ANSWER: CHLIC denies the allegations in Paragraph 249.



        250. It was and is reasonably foreseeable to Cigna and/or CHL that mail, interstate
carriers and wire transmissions would be used—and mail, interstate carriers and wire
transmissions were in fact used—in furtherance of the scheme, including but not limited to the
following manner and means: (a) whenever a Plaintiff or Class member seeks to fill a
prescription, the pharmacies participating in Argus’ and OptumRx’s pharmacy networks enter
information into a computer and transmit it via interstate mail or carrier and/or wire
transmissions to Argus and OptumRx for adjudication; (b) Cigna and/or CHL and/or Argus’
and/or OptumRx’s clawing back of money takes place via interstate mail or carrier or wire
transmissions; (c) Plaintiffs and Class members make payments at pharmacies participating in
Argus’ and OptumRx’s pharmacy networks using credit or debit cards, which require the use of
use of interstate wire transmissions; (d) prescription drugs that Plaintiffs and Class members
purchased through Cigna and/or CHL’s fraudulent scheme were delivered by mail or interstate
carrier and (e) Cigna and/or CHL’s, Argus’ and OptumRx’s representatives communicated with
each other by mail, interstate carrier and or wire transmissions in order to carry out the
fraudulent scheme.

ANSWER: CHLIC denies the allegations in Paragraph 250.



        251. Cigna and/or CHL knew that Plaintiffs and Class members would reasonably rely
on the accuracy, completeness, and integrity of their and Argus’ and OptumRx’s statements. The
Plaintiffs and Class members participants did so rely, to their detriment, on Cigna and/or CHL’s
misrepresentations and omissions.

ANSWER: Paragraph 251 asserts legal conclusions, and thus no response is required. To the

extent that a response is required, CHLIC lacks information or knowledge sufficient to form a

belief as to the truth of the allegations in Paragraph 251 regarding the reliance of “Plaintiffs and

Class members” on statements by CHLIC, Argus, and/or Optum, and therefore denies those

allegations. CHLIC denies the remaining allegations in Paragraph 251.



      252. Having devised its “Clawback Scheme,” and intending to defraud Plaintiffs and
Class members, on or about the dates set forth below, Cigna and/or CHL intentionally and
unlawfully transmitted and caused to be transmitted by means of wire communication in

                                                99
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 100 of 122




interstate commerce, writings, signs, signals, pictures, and sounds, for the purpose of executing
such scheme.

               (a)    On October 7, 2014, Cigna and/or CHL intentionally directed Argus or
         28
OptumRx to fraudulently direct a pharmacy to collect from a Class member a $6.47 co-
payment for the prescription drug Sertraline—a 134% premium over the actual $6.47 fee paid to
the pharmacist. The statement Cigna and/or CHL directed Argus or OptumRx to deliver was
fraudulent because the Class member’s Plan did not require the Class member to pay that amount
and Cigna and/or CHL knew the same. Through Argus or OptumRx, Cigna and/or CHL later
clawed back from the pharmacy the $3.71 overcharge.

               (b)   On November 6, 2014, Cigna and/or CHL intentionally directed Argus or
OptumRx to fraudulently direct a pharmacy in Argus or OptumRx’s pharmacy network to collect
from a Class member a $10.00 co-payment for the prescription drug Azithromycin—a 233%
premium over the actual $4.29 fee paid to the pharmacist. The statement Cigna and/or CHL
directed Argus or OptumRx to deliver was fraudulent because the Class member’s Plan did not
require the Class member to pay that amount and Cigna and/or CHL knew the same. Through
Argus or OptumRx, Cigna and/or CHL later clawed back from the pharmacy the $5.71
overcharge.

              (c)    On November 10, 2014, Cigna and/or CHL intentionally directed Argus or
OptumRx to fraudulently direct a pharmacy in Argus or OptumRx’s pharmacy network to collect
from a Class member a $20 copayment for the prescription drug Amlodipine Besylate—greater
than ten times (1,043%) more than the actual $1.75 fee paid to the pharmacist. The statement
Cigna and/or CHL directed Argus or OptumRx to deliver was fraudulent because the Class
member’s Plan did not require the Class member to pay that amount and Cigna and/or CHL
knew the same. Through Argus or OptumRx, Cigna and/or CHL later clawed back from the
pharmacy the $18.25 overcharge.

              (d)    On November 11, 2014, Cigna and/or CHL intentionally directed Argus or
OptumRx to fraudulently direct a pharmacy in Argus or OptumRx’s pharmacy network to collect
from a Class member a $20 copayment for the prescription drug Clopidogrel—a 468% premium
over the actual $3.52 fee paid to the pharmacist. The statement Cigna and/or CHL directed
Argus or OptumRx to deliver was fraudulent because the Class member’s Plan did not require
the Class member to pay that amount and Cigna and/or CHL knew the same. Through Argus or
OptumRx, Cigna and/or CHL later clawed back from the pharmacy the $16.48 overcharge.

             (e)    On September 5, 2015, Cigna and/or CHL intentionally directed Argus or
OptumRx to fraudulently direct a pharmacy in Argus or OptumRx’s pharmacy network to collect
from a Class member a $7.68 co-payment for the prescription drug Vitamin D—a 299%

28
   Due to the Defendants’ fraudulent concealment of this scheme and the “gag clauses” that
threaten pharmacies’ participation in the provider networks if they reveal the overcharge scheme,
Plaintiffs are not able to determine for all transactions whether OptumRx or Argus served as the
PBM. Despite Defendants’ concealment, Plaintiffs have identified some specific OptumRx
transactions delineated below. The identity of the PBM for all transactions will be revealed in
discovery.

                                              100
     Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 101 of 122




premium over the actual $2.57 fee paid to the pharmacist. The statement Cigna and/or CHL
directed Argus or OptumRx to deliver was fraudulent because the Class member’s Plan did not
require the Class member to pay that amount and Cigna and/or CHL knew the same. Through
Argus or OptumRx, Cigna and/or CHL later clawed back from the pharmacy the $5.11
overcharge.

               (f)   On January 15, 2016, Cigna and/or CHL intentionally directed Argus or
OptumRx to fraudulently direct a pharmacy in Argus or OptumRx’s pharmacy network to collect
from a Class member a $6.99 co-payment for the prescription drug Melacoxam—a 344%
premium over the actual $2.03 fee paid to the pharmacist. The statement Cigna and/or CHL
directed Argus or OptumRx to deliver was fraudulent because the Class member’s Plan did not
require the Class member to pay that amount and Cigna and/or CHL knew the same. Through
Argus or OptumRx, Cigna and/or CHL later clawed back from the pharmacy the $4.96
overcharge.

               (g)   On July 22, 2016, Cigna and/or CHL intentionally directed Argus or
OptumRx to fraudulently direct a pharmacy in Argus or OptumRx’s pharmacy network to collect
from a Class member a $10.00 co-payment for the prescription drug Atorvastatin—a 246%
premium over the actual $4.06 fee paid to the pharmacist. The statement Cigna and/or CHL
directed Argus or OptumRx to deliver was fraudulent because the Class member’s Plan did not
require the Class member to pay that amount and Cigna and/or CHL knew the same. Through
Argus or OptumRx, Cigna and/or CHL later clawed back from the pharmacy the $5.94
overcharge.

               (h)   On September 5, 2016, Cigna and/or CHL intentionally directed Argus or
OptumRx to fraudulently direct a pharmacy in Argus or OptumRx’s pharmacy network to collect
from a Class member a $5.38 co-payment for the prescription drug Prednisolone—a 131%
premium over the actual $4.11 fee paid to the pharmacist. The statement Cigna and/or CHL
directed Argus or OptumRx to deliver was fraudulent because the Class member’s Plan did not
require the Class member to pay that amount and Cigna and/or CHL knew the same. Through
Argus or OptumRx, Cigna and/or CHL later clawed back from the pharmacy the $1.27
overcharge.

              (i)    On October 7, 2016, Cigna and/or CHL intentionally directed Argus or
OptumRx to fraudulently direct a pharmacy in Argus or OptumRx’s pharmacy network to collect
from a Class member a $6.47 co-payment for the prescription drug Sertraline—a 134% premium
over the actual $6.47 fee paid to the pharmacist. The statement Cigna and/or CHL directed
Argus or OptumRx to deliver was fraudulent because the Class member’s Plan did not require
the Class member to pay that amount and Cigna and/or CHL knew the same. Through Argus or
OptumRx, Cigna and/or CHL later clawed back from the pharmacy the $3.71 overcharge.

               (j)   On October 7, 2016, Cigna and/or CHL intentionally directed Argus or
OptumRx to fraudulently direct a pharmacy in Argus or OptumRx’s pharmacy network to collect
from a Class member a $6.63 co-payment for the prescription drug SMZ/TMP—a 191%
premium over the actual $2.28 fee paid to the pharmacist. The statement Cigna and/or CHL
directed Argus or OptumRx to deliver was fraudulent because the Class member’s Plan did not
require the Class member to pay that amount and Cigna and/or CHL knew the same. Through

                                           101
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 102 of 122




Argus or OptumRx, Cigna and/or CHL later clawed back from the pharmacy the $4.35
overcharge.

               (k)   On October 7, 2016, Cigna and/or CHL intentionally directed Argus or
OptumRx to fraudulently direct a pharmacy in Argus or OptumRx’s pharmacy network to collect
from a Class member a $15.00 co-payment for the prescription drug Mupirocin—a 81%
premium over the actual $8.27 fee paid to the pharmacist. The statement Cigna and/or CHL
directed Argus or OptumRx to deliver was fraudulent because the Class member’s Plan did not
require the Class member to pay that amount and Cigna and/or CHL knew the same. Through
Argus or OptumRx, Cigna and/or CHL later clawed back from the pharmacy the $6.73
overcharge.

               (l)   On December 2, 2016, Cigna and/or CHL intentionally directed Argus or
OptumRx to fraudulently direct a pharmacy in Argus or OptumRx’s pharmacy network to collect
from a Class member a $10.00 co-payment for the prescription drug Bupropion—a 440%
premium over the actual $2.27 fee paid to the pharmacist. The statement Cigna and/or CHL
directed Argus or OptumRx to deliver was fraudulent because the Class member’s Plan did not
require the Class member to pay that amount and Cigna and/or CHL knew the same. Through
Argus or OptumRx, Cigna and/or CHL later clawed back from the pharmacy the $7.73
overcharge.

               (m)     On January 19, 2016 and February 17, 2016, Cigna and/or CHL
intentionally directed OptumRx to fraudulently direct Robichaux’s Pharmacy in Lockport,
Louisiana to collect from Plaintiff N. Curol a $10.00 copayment for a prescription drug—a 336%
premium over the actual $2.97 fee paid to the Robichaux’s Pharmacy. The statement Cigna
and/or CHL directed OptumRx to deliver was fraudulent because Plaintiff N. Curol’s Plan did
not require Plaintiff N. Curol to pay that amount and Cigna and/or CHL knew the same. Through
OptumRx, Cigna and/or CHL later clawed back from Robichaux’s Pharmacy the $7.03
overcharge.

               (n)     On March 21, 2016, April 19, 2016, and May 16, 2016, Cigna and/or CHL
intentionally directed OptumRx to fraudulently direct Robichaux’s Pharmacy in Lockport,
Louisiana to collect from Plaintiff N. Curol a $10.00 copayment for a prescription drug—a 161%
premium over the actual $6.19 fee paid to the Robichaux’s Pharmacy. The statement Cigna
and/or CHL directed OptumRx to deliver was fraudulent because Plaintiff N. Curol’s Plan did
not require Plaintiff N. Curol to pay that amount and Cigna and/or CHL knew the same. Through
OptumRx, Cigna and/or CHL later clawed back from Robichaux’s Pharmacy the $3.81
overcharge.

               (o)    On May 9, 2016, Cigna and/or CHL intentionally directed OptumRx to
fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from Plaintiff N.
Curol a $10.00 copayment for a prescription drug—a 161% premium over the actual $6.19 fee
paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed OptumRx to
deliver was fraudulent because Plaintiff R. Curol’s Plan did not require Plaintiff R. Curol to pay
that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later
clawed back from Robichaux’s Pharmacy the $3.81 overcharge.


                                               102
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 103 of 122




               (p)     On December 28, 2015, Cigna and/or CHL intentionally directed
OptumRx to fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from
Plaintiff N. Curol a $4.64 copayment for a prescription drug—a 118% premium over the actual
$3.91 fee paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed
OptumRx to deliver was fraudulent because Plaintiff N. Curol’s Plan did not require Plaintiff N.
Curol to pay that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna
and/or CHL later clawed back from Robichaux’s Pharmacy the $0.73 overcharge.

               (q)     On January 20, 2016, Cigna and/or CHL intentionally directed OptumRx
to fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from Plaintiff N.
Curol a $7.31 copayment for a prescription drug—a 300% premium over the actual $2.43 fee
paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed OptumRx to
deliver was fraudulent because Plaintiff N. Curol’s Plan did not require Plaintiff N. Curol to pay
that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later
clawed back from Robichaux’s Pharmacy the $4.88 overcharge.

               (r)     On January 25, 2016, Cigna and/or CHL intentionally directed OptumRx
to fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from Plaintiff N.
Curol a $5.84 copayment for a prescription drug—a 276% premium over the actual $2.11 fee
paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed OptumRx to
deliver was fraudulent because Plaintiff N. Curol’s Plan did not require Plaintiff N. Curol to pay
that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later
clawed back from Robichaux’s Pharmacy the $3.73 overcharge.

               (s)     On January 25, 2016, Cigna and/or CHL intentionally directed OptumRx
to fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from Plaintiff N.
Curol a $10.00 copayment for a prescription drug—a 161% premium over the actual $6.21 fee
paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed OptumRx to
deliver was fraudulent because Plaintiff N. Curol’s Plan did not require Plaintiff N. Curol to pay
that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later
clawed back from Robichaux’s Pharmacy the $3.79 overcharge.

               (t)     On January 26, 2016, Cigna and/or CHL intentionally directed OptumRx
to fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from Plaintiff N.
Curol a $10.00 copayment for a prescription drug—a 135% premium over the actual $7.37 fee
paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed OptumRx to
deliver was fraudulent because Plaintiff N. Curol’s Plan did not require Plaintiff N. Curol to pay
that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later
clawed back from Robichaux’s Pharmacy the $2.63 overcharge.

               (u)     On February 22, 2016, Cigna and/or CHL intentionally directed OptumRx
to fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from Plaintiff N.
Curol a $5.84 copayment for a prescription drug—a 276% premium over the actual $2.11 fee
paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed OptumRx to
deliver was fraudulent because Plaintiff N. Curol’s Plan did not require Plaintiff N. Curol to pay
that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later
clawed back from Robichaux’s Pharmacy the $3.73 overcharge.

                                               103
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 104 of 122




               (v)     On February 22, 2016, Cigna and/or CHL intentionally directed OptumRx
to fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from Plaintiff N.
Curol a $10.00 copayment for a prescription drug—a 161% premium over the actual $6.21 fee
paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed OptumRx to
deliver was fraudulent because Plaintiff N. Curol’s Plan did not require Plaintiff N. Curol to pay
that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later
clawed back from Robichaux’s Pharmacy the $3.79 overcharge.

               (w)     On February 22, 2016, Cigna and/or CHL intentionally directed OptumRx
to fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from Plaintiff N.
Curol a $10.00 copayment for a prescription drug—a 245% premium over the actual $4.07 fee
paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed OptumRx to
deliver was fraudulent because Plaintiff N. Curol’s Plan did not require Plaintiff N. Curol to pay
that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later
clawed back from Robichaux’s Pharmacy the $5.93 overcharge.

               (x)    On March 15, 2016, Cigna and/or CHL intentionally directed OptumRx to
fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from Plaintiff N.
Curol a $10.00 copayment for a prescription drug—a 401% premium over the actual $2.49 fee
paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed OptumRx to
deliver was fraudulent because Plaintiff N. Curol’s Plan did not require Plaintiff N. Curol to pay
that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later
clawed back from Robichaux’s Pharmacy the $7.51 overcharge.

               (y)    On March 22, 2016, Cigna and/or CHL intentionally directed OptumRx to
fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from Plaintiff N.
Curol a $6.00 copayment for a prescription drug—a 284% premium over the actual $2.11 fee
paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed OptumRx to
deliver was fraudulent because Plaintiff N. Curol’s Plan did not require Plaintiff N. Curol to pay
that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later
clawed back from Robichaux’s Pharmacy the $3.89 overcharge.

               (z)    On April 25, 2016, Cigna and/or CHL intentionally directed OptumRx to
fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from Plaintiff N.
Curol a $10.00 copayment for a prescription drug—a 172% premium over the actual $5.80 fee
paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed OptumRx to
deliver was fraudulent because Plaintiff N. Curol’s Plan did not require Plaintiff N. Curol to pay
that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later
clawed back from Robichaux’s Pharmacy the $4.20 overcharge.

               (aa) On August 1, 2016, Cigna and/or CHL intentionally directed OptumRx to
fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from Plaintiff N.
Curol a $9.98 copayment for a prescription drug—a 459% premium over the actual $2.17 fee
paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed OptumRx to
deliver was fraudulent because Plaintiff N. Curol’s Plan did not require Plaintiff N. Curol to pay
that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later
clawed back from Robichaux’s Pharmacy the $7.81 overcharge.

                                               104
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 105 of 122




               (bb) On August 8, 2016, Cigna and/or CHL intentionally directed OptumRx to
fraudulently direct Robichaux’s Pharmacy in Lockport, Louisiana to collect from Plaintiff N.
Curol a $10.00 copayment for a prescription drug—a 193% premium over the actual $5.18 fee
paid to the Robichaux’s Pharmacy. The statement Cigna and/or CHL directed OptumRx to
deliver was fraudulent because Plaintiff N. Curol’s Plan did not require Plaintiff N. Curol to pay
that amount and Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later
clawed back from Robichaux’s Pharmacy the $4.82 overcharge.

               (cc) On January 19, 2016, March 15, 2016, June 7, 2016, Cigna and/or CHL
intentionally directed OptumRx to fraudulently direct Robichaux’s Pharmacy in Lockport,
Louisiana to collect from Plaintiff R. Curol a $10.00 copayment for a prescription drug—a 311%
premium over the actual $3.21 fee paid to the Robichaux’s Pharmacy. The statement Cigna
and/or CHL directed OptumRx to deliver was fraudulent because Plaintiff R. Curol’s Plan did
not require Plaintiff R. Curol to pay that amount and Cigna and/or CHL knew the same. Through
OptumRx, Cigna and/or CHL later clawed back from Robichaux’s Pharmacy the $6.79
overcharge.

               (dd) On February 22, 2016, April 18, 2016, June 7, 2016, Cigna and/or CHL
intentionally directed OptumRx to fraudulently direct Robichaux’s Pharmacy in Lockport,
Louisiana to collect from Plaintiff R. Curol a $10.00 copayment for a prescription drug—a 245%
premium over the actual $4.07 fee paid to the Robichaux’s Pharmacy. The statement Cigna
and/or CHL directed OptumRx to deliver was fraudulent because Plaintiff R. Curol’s Plan did
not require Plaintiff R. Curol to pay that amount and Cigna and/or CHL knew the same. Through
OptumRx, Cigna and/or CHL later clawed back from Robichaux’s Pharmacy the $5.93
overcharge.

               (ee) On April 13, 2016 Cigna and/or CHL intentionally directed OptumRx to
fraudulently direct Kroger Pharmacy in Alpharetta, Georgia, to collect from Plaintiff Blocker a
$15.00 copayment for a prescription drug—a 36% premium over the most that the pharmacy
could have charged, $10.99. The maximum allowable charge for the drug on that date was
$9.49, and upon information (Plaintiffs’ counsel review of claims data), Plaintiffs believe that the
dispensing fee was approximately $1.50. Accordingly, the total charge for the drug should not
have exceeded $10.99. The statement Cigna and/or CHL directed OptumRx to deliver was
fraudulent because Plaintiff Blocker’s Plan did not require Plaintiff Blocker to pay $15.00 and
Cigna and/or CHL knew the same. Through OptumRx, Cigna and/or CHL later clawed back
from Kroger Pharmacy an overcharge of at least $4.01.

ANSWER: CHLIC denies the allegations in Paragraph 252 and subparts (a) through (ee).



        253. On or about these dates OptumRx sent and received U.S. Mail or interstate wire
transmissions in connection with (a) determining whether the Class members and the
prescription drugs were covered under their Plans and how much Class members should pay for
the drugs; (b) processing the Class members’ payments for such prescription drugs; and (c)
processing Cigna and/or CHL’s payments to and/or “Clawback” from the pharmacies.


                                                105
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 106 of 122




ANSWER: CHLIC denies the allegations in Paragraph 253.



       254. The acts set forth above constitute a pattern of racketeering activity pursuant to 18
U.S.C. § 1961(5).

ANSWER: CHLIC denies the allegations in Paragraph 254.



       255. Each such use of U.S. Mail and interstate wire facilities as alleged constitutes a
separate and distinct predicate act.

ANSWER: CHLIC denies the allegations in Paragraph 255.



        256. The predicate acts were each related to one another in that: (a) Cigna and/or CHL
directed Argus and OptumRx to undertake each predicate act with a similar purpose of
effectuating its scheme to defraud Plaintiffs and Class members; (b) each predicate act involved
the same participants – Cigna and/or CHL, which directed Argus and OptumRx to make the
fraudulent statements; and pharmacies within Argus’ and OptumRx’s pharmacy networks, which
received the fraudulent statements and relied upon them in charging Plaintiffs and the Class, and
Plaintiffs and Class members, in reliance on them, paid the fraudulent amounts for medically
necessary prescription drugs; (c) each predicate act involved similar victims – Plaintiffs and
Class members who purchased medically necessary prescription drugs in accordance with the
terms of their Plans; and (d) each predicate act was committed the same way – in response to a
request from a Plaintiff or Class member to purchase medically necessary prescription drugs, the
pharmacy participating in Argus’ and OptumRx’s pharmacy networks transmitted a request via
U.S. Mail or interstate wire to Argus or OptumRx, using the U.S. Mail or interstate wire,
responded at Cigna and/or CHL’s direction with fraudulent statements directing the pharmacy to
execute Cigna and/or CHL’s scheme, and Cigna and/or CHL later effectuated its scheme by
using the U.S. Mail or interstate wire to claw back the overcharge; and (e) the predicate acts
could not have been conducted, nor Cigna and/or CHL’s scheme effectuated, without the
existence and use of Argus and OptumRx.

ANSWER: CHLIC denies the allegations in Paragraph 256.



       257. On information and belief, Cigna and/or CHL conducts such racketeering activity
through Argus and OptumRx as an ongoing and regular way of doing business, and continues
and will continue to engage in such racketeering activity.




                                              106
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 107 of 122




ANSWER: CHLIC denies the allegations in Paragraph 257.



       Injury

        258. As a direct and proximate result of Cigna and/or CH’s racketeering activities and
violations of 18 U.S.C. § 1962(c), Plaintiffs have been injured in their business and property.
Plaintiff Class members were injured by reason of Cigna and/or CHL’s RICO violations because
they directly and immediately overpaid for medically necessary prescription drugs. Their injuries
were proximately caused by Cigna and/or CHL’s violations of 18 U.S.C. §1962(c) because these
injuries were the foreseeable, direct, intended, and natural consequence of Cigna and/or CHL’s
RICO violations (and commission of underlying predicate acts) and, but for Cigna and/or CHL’s
RICO violations (and commission of underlying predicate acts), they would not have suffered
these injuries.

ANSWER: CHLIC denies the allegations in Paragraph 258.



        259. Pursuant to RICO, 18 U.S.C. §1964(c), Plaintiffs and the Class members are
entitled to recover, threefold, their damages, costs, and attorneys’ fees from Cigna and/or CHL
and other appropriate relief.

ANSWER: CHLIC denies the allegations in Paragraph 259.



                                           Count VIII

                            Violation of RICO, 18 U.S.C. §1962(d)
                   Against All Defendants on Behalf of the Nationwide Class

        260.    Plaintiffs incorporate by reference each and every allegation above as if set forth
fully herein.

ANSWER: CHLIC incorporates its responses to the previous Paragraphs as though fully set

forth herein.



       261. During the Class Period, Defendants agreed and conspired to violate 18 U.S.C. §
1962(c). Specifically, Defendants conspired with themselves and/or with other unnamed health
insurance companies, including United Healthcare that use OptumRx to engage in the
“Clawback Scheme.” Defendants conspired with themselves and/or with other unnamed PBMs,
including Argus to engage in the “Clawback Scheme.” Defendants conduct and participate,

                                                107
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 108 of 122




directly or indirectly, in the conduct of the affairs of the Argus Enterprise (described above) and
the OptumRx Enterprise (described above) through a pattern of racketeering activity (described
above) which resulted in Plaintiffs and Class members overpaying for medically necessary
prescription drugs. The conspiracy to violate 18 U.S.C. §1962(c) constitutes a violation of 18
U.S.C. §1962(d).

ANSWER: CHLIC incorporates its response to Paragraph 143 as though fully set forth herein.

CHLIC denies the remaining allegations in Paragraph 261.



        262. In furtherance of this conspiracy, Cigna and/or CHL and/or OptumRx and their
co¬conspirators committed numerous overt acts, as alleged above, in the pattern of racketeering
described above, including mail fraud, in violation of 18 U.S.C. §1341; and (b) wire fraud, in
violation of 18 U.S.C. §1343. Cigna and/or CHL and/or OptumRx agreed to and did engage in a
fraudulent “Clawback Scheme” to defraud Plaintiffs and Class members (described above).
Cigna and/or CHL and/or OptumRx intended to defraud Plaintiffs and Class members by
overcharging for medically necessary prescription drugs (described above). Cigna and/or CHL
and/or OptumRx reasonably foresaw that the U.S. Mail and/or interstate wire would be used in
furthering the “Clawback Scheme.” Cigna and/or CHL and/or OptumRx used the U.S. Mail
and/or interstate wire to effectuate the “Clawback Scheme” by transmitting various
misrepresentations and omissions of material fact resulting in overcharges for medically
necessary prescription drugs (described above).

ANSWER: CHLIC denies the allegations in Paragraph 262.



       263. Cigna and/or CHL and/or OptumRx knew that their predicate acts were part of a
pattern of racketeering activity and agreed to the commission of those acts to further the
“Clawback Scheme” (described above).

ANSWER: CHLIC denies the allegations in Paragraph 263.



       264. As a direct and proximate result, and by reason of the activities of Cigna and/or
CHL and/or OptumRx and their conduct in violation of 18 U.S.C. §1962(d), Plaintiff and the
Class have been injured in their business and property within the meaning 18 U.S.C. §1964(c)
and are entitled to recover treble damages, together with the costs of this lawsuit, expenses, and
reasonable attorneys’ fees.

ANSWER: CHLIC denies the allegations in Paragraph 264.




                                               108
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 109 of 122




                                   STATE LAW COUNTS

                                           Count IX

                                       Breach of Contract
                                    Against Defendant CHL
                    By Plaintiff Blocker on Behalf of the State Law Subclass

        265. Plaintiff Billy Ray Blocker, Jr. incorporates by reference each and every
allegation above as if set forth fully herein.

        ANSWER: CHLIC incorporates its responses to the previous Paragraphs as though fully

set forth herein.



      266. Defendant CHL offered, sold, and administered health insurance policies and
ASO policies in all 50 states during the Class Period alleged herein.

        ANSWER: CHLIC incorporates its response to Paragraph 143 as though fully set forth

herein. CHLIC denies the remaining allegations in Paragraph 266.



       267. The Plans constitute contracts under the laws of each of the states in which they
were sold and/or administered, and in all material respects for this action, the Plans are uniform
contracts.

        ANSWER:        Paragraph 267 asserts legal conclusions and purports to characterize

documents, the terms of which speak for themselves, and thus no response is required. To the

extent that a response is required, CHLIC denies any characterization contrary to the terms of the

documents and specifically denies that the documents are “uniform” in “all material respects for

this action.” CHLIC denies the remaining allegations in Paragraph 267.



       268. The definitions of the terms used in the State Law Subclass members’ Plans are
materially the same, including, but not limited to, the definition of the Plan terms such as:
“Allowed Amount,” “Deductible,” “Benefits,” “Co-payment,” “Co-insurance,” “Covered Health
Services,” “Eligible Expenses,” “Pharmaceutical Product(s),” “Premium,” “Prescription Drug
Charges,” “Prescription Drug Protect,” and “Usual and Customary Charge.”

                                               109
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 110 of 122




       ANSWER:        Paragraph 268 asserts legal conclusions and purports to characterize

documents, the terms of which speak for themselves, and thus no response is required. To the

extent that a response is required, CHLIC denies any characterization contrary to the terms of the

documents. CHLIC specifically denies that the listed terms are “used in the State Law subclass

members’ Plans” and that the listed terms are “materially the same.”          CHLIC denies the

remaining allegations in Paragraph 268.



       269. Plaintiff Blocker and the State Law Subclass members are participants in the
Plans that Defendant CHL offered and/or administered and are either parties to or third-party
beneficiaries of such Plans.

       ANSWER: Paragraph 269 asserts legal conclusions, and thus no response is required.

To the extent that a response is required, CHLIC denies the allegations in Paragraph 269.



        270. Defendant CHL breached the plans in each of the fifty states by requiring
participants and beneficiaries to pay amounts for prescription drugs in excess of the amounts
authorized in the Plans, including overcharges and Spread, as alleged herein, and in taking
Clawbacks.

       ANSWER: CHLIC denies the allegations in Paragraph 270.



        271. Plaintiff Blocker and the State Law Subclass members have suffered damages as
result of Defendant CHL’s breaches.

       ANSWER: CHLIC denies the allegations in Paragraph 271.



      272. Plaintiff Blocker and the State Law Subclass members are entitled to recover
damages and other appropriate relief, as alleged below.

       ANSWER: CHLIC denies the allegations in Paragraph 272.




                                               110
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 111 of 122




                                            Count X

                     Breach of Covenant of Good Faith and Fair Dealing
                                    Against Defendant CHL
                    By Plaintiff Blocker on Behalf of the State Law Subclass

        273. Plaintiff Blocker incorporates by reference each and every allegation above as if
set forth fully herein.

        ANSWER: CHLIC incorporates its responses to the previous Paragraphs as though fully

set forth herein.



        274. All contracts contain an implied covenant of good faith and fair dealing, including
Plaintiff Blocker’s and the State Law Subclass members’ Plans.

        ANSWER:        Paragraph 274 asserts legal conclusions and purports to characterize

documents, the terms of which speak for themselves, and thus no response is required. To the

extent that a response is required, CHLIC denies any characterization contrary to the terms of the

documents. CHLIC denies the remaining allegations in Paragraph 274.



       275. Plaintiff Blocker and the State Law Subclass members acquired the benefits under
the Plans that Defendant CHL offered and administered, and they are either parties to, or third-
party beneficiaries of, such health benefit Plans.

        ANSWER: Paragraph 275 asserts legal conclusions, and thus no response is required.

To the extent that a response is required, CHLIC denies the allegations in Paragraph 275.



        276. Defendant CHL’s performance under the plans deprived Plaintiff Blocker and the
State Law Subclass members of the prescription drug prices that a reasonable consumer would
expect to receive under the Plans.

        ANSWER: CHLIC denies the allegations in Paragraph 276.




                                               111
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 112 of 122




       277. On information and belief, Defendant CHL’s actions, as alleged herein, were per-
formed in bad faith, in that the purpose behind the practices and policies alleged herein was to
maximize Defendant CHL’s and/or its agents’ revenue at the expense of Plaintiff Blocker and the
State Law Subclass Class members in contravention of the reasonable expectations of Plaintiff
Blocker and the State Law Subclass Class members.

       ANSWER: CHLIC denies the allegations in Paragraph 277.



       278. Defendant CHL has breached the covenant of good faith and fair dealing in the
Plans as alleged herein.

       ANSWER: CHLIC denies the allegations in Paragraph 278.



        279. Plaintiff Blocker and the State Law Subclass members have sustained damages as
a result of Defendant CHL’s breaches as alleged herein.

       ANSWER: CHLIC denies the allegations in Paragraph 279.



      280. Plaintiff Blocker and the State Law Subclass members are entitled to recover
damages and other appropriate relief, as alleged below.

       ANSWER: CHLIC denies the allegations in Paragraph 280.



                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of the Class and Subclass, pray for

relief as follows as applicable for the particular claim:

        (A)    Certifying this action as a class action and appointing Plaintiffs and the counsel
listed below to represent the Class and each Subclass;

     (B)       Finding that Defendants are fiduciaries and/or parties in interest as defined by
ERISA;

       (C)   Finding that Defendants violated their fiduciary duties of loyalty and prudence to
ERISA Subclass members and awarding Plaintiffs and the ERISA Subclass such relief as the
Court deems proper;



                                                 112
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 113 of 122




        (D)     Finding that Defendants engaged in prohibited transactions and awarding
Plaintiffs and the ERISA Subclass such relief as the Court deems proper;

       (E)      Finding that Defendants denied Plaintiffs, the Class, and each Subclass benefits
and their rights under the policies and awarding such relief as the Court deems proper;

       (F)     Enjoining Defendants from further such violations;

        (G)    Finding that Plaintiffs and the ERISA Subclass are entitled to clarification of their
rights under the ERISA Plans and awarding such relief as the Court deems proper;

        (H)    Finding that Defendant CHL breached the terms of the Plans and awarding
Plaintiff Blocker and the State Law Subclass such relief as the Court deems proper;

        (I)  Finding that Defendant CHL breached the covenant of good faith and fair dealing
and awarding Plaintiff Blocker and the State Law Subclass such relief as the Court deems
proper;

       (J)    Awarding Plaintiffs, the Class, and each Subclass damages, surcharge, and/or
other monetary compensation as deemed appropriate by the Court;

       (K)     Ordering Defendants to restore all losses to Plaintiffs and the ERISA Subclass and
disgorge unjust profits and/or other assets of the ERISA Plans

        (L)   Adopting the measure of losses and disgorgement of unjust profits most
advantageous to Plaintiffs and the ERISA Subclass to restore Plaintiffs’ losses, remedy
Defendants’ windfalls, and put Plaintiffs in the position that they would have been in if the
fiduciaries of the ERISA Plans had not breached their duties or committed prohibited
transactions;

        (M) Ordering other such remedial relief as may be appropriate under ERISA,
including the permanent removal of Defendants from any positions of trust with respect to the
ERISA Plans of the members of the ERISA Subclass and the appointment of independent
fiduciaries to serve in the roles Defendants occupied with respect to the ERISA Plans of the
ERISA Subclass, including as pharmacy benefit administrators and managers;

      (N)     Awarding treble damages in favor of Plaintiffs and the Class members against all
Defendants for all damages sustained as a result of Defendants’ violations of RICO, in an
amount to be proven at trial, including interest thereon;

       (O)     Awarding Plaintiffs, the Class, and each Subclass equitable relief to the extent
permitted by the above claims;

        (P)    Finding that Defendants are jointly and severally liable as fiduciaries and/or co-
fiduciaries and/or parties in interest;




                                                113
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 114 of 122




       (Q)     Awarding Plaintiffs’ counsel attorneys’ fees, litigation expenses, expert witness
fees and other costs pursuant to ERISA § 502(g)(1), 29 U.S.C. 1132(g)(1), and/or the common
fund doctrine;

       (R)     Awarding Plaintiffs’ counsel attorneys’ fees, litigation expenses, expert witness
fees and other costs pursuant to RICO, 18. U.S.C. § 1964(c).

       (S)    Awarding Plaintiffs, the Class, and each Subclass their reasonable costs and
expenses incurred in this action, including counsel fees and expert fees;

        (T)     Finding that Defendants are jointly and severally liable for all claims; and

      (U)     Awarding such other and further relief as may be just and proper, including pre-
judgment and post-judgment interest on the above amounts.

ANSWER: In response to the PRAYER FOR RELIEF, CHLIC denies that Plaintiffs or any

putative class members are entitled to any type of remedy, relief, or damages whatsoever,

including the relief requested in Plaintiffs’ Prayer for Relief. CHLIC denies the remaining

allegations in this Paragraph.


                                             JURY TRIAL

        CHLIC admits that Plaintiffs purport to seek a jury trial. CHLIC denies that Plaintiffs are

entitled to a jury trial on any or all of their claims.

                                         GENERAL DENIAL

        CHLIC denies each and every allegation not specifically admitted or not specifically

modified herein.

                         DEFENSES AND AFFIRMATIVE DEFENSES

        Without assuming the burden of proof on any matters that would otherwise rest with

Plaintiffs and the purported class members, and expressly denying any and all wrongdoing,

CHLIC alleges the following additional defenses. CHLIC presently has insufficient knowledge

or information to form a belief as to whether there are additional defenses than those stated

below. Therefore, CHLIC expressly reserves the right to assert additional defenses.

                                                   114
         Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 115 of 122




          1.   Plaintiffs fail to state a claim upon which relief may be granted.

          2.   Plaintiffs’ claims, and the claims of each purported class member, are barred, in

whole or in part, by the applicable statute of limitations or statute of repose, including, but not

limited to, ERISA § 413, 29 U.S.C. § 1113, and/or limitations periods under the terms of their

plans.

          3.   The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by their lack of Article III constitutional standing as neither they nor any

purported class member has suffered any injury from the alleged conduct.

          4.   The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by their lack of statutory standing to bring claims on behalf of the plans under

ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(3).

          5.   Plaintiffs’ claims, and the claims of each purported class member, are barred

because the Plans have not suffered any actual injury or damage.

          6.   The claims of Plaintiffs and/or any other member of the putative class who have

executed a waiver or release of claims against CHLIC may be barred by that waiver or release of

claims.

          7.   Plaintiffs’ claims are barred in whole or in part to the extent they failed to exhaust

their plans’ administrative remedies and failed to avail themselves of the applicable claims and

appeal procedures set forth in their plans.

          8.   Plaintiffs’ claims and the claims of the putative class members are barred because

CHLIC complied with the terms of their plans.




                                                115
       Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 116 of 122




        9.     The determinations by CHLIC about Plaintiffs’ and the putative class members’

prescription drug cost-sharing payments, claims, and appeals, and CHLIC’s interpretation of the

plans’ terms, are entitled to deference.

        10.    Plaintiffs and/or the putative class members failed to mitigate any and all damages

or losses claimed by them.

        11.    To the extent that Plaintiffs’ claims, and the claims of each purported class

member, raise issues related to plan language that does not accurately reflect the intent of plan

drafters, CHLIC is entitled to reformation of such plan language to reflect that intent.

        12.    If Plaintiffs and/or the putative class members suffered harm as alleged in the

Complaint, which CHLIC specifically denies, that harm is attributable in whole or in part to

conduct of persons or entities other than CHLIC.

        13.    CHLIC was not, or was not acting as, a fiduciary within the meaning of ERISA

§ 3(21)(A), 29 U.S.C. § 1102(21)(A), with respect to certain purported misconduct alleged by

Plaintiffs.

        14.    To the extent that Plaintiffs’ claims, and the claims of each purported class

member, raise issues of plan design, amendment or termination, CHLIC is immune from

fiduciary breach under the settlor function doctrine.

        15.    Plaintiffs’ claims and those of any putative class member do not involve plan

assets within the meaning of ERISA, including 29 U.S.C. § 1002(42).

        16.    The purported relief sought by Plaintiffs in the Complaint is not recoverable under

ERISA, including because such relief does not constitute “appropriate equitable relief” under

ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3).




                                                116
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 117 of 122




       17.       Any losses alleged by Plaintiffs were not caused by any fault, act or omission by

CHLIC, as set forth in ERISA § 409(a), 29 U.S.C. § 1109(a) and elsewhere, but were caused by

circumstances, entities or persons, including Plaintiffs, for which CHLIC is not responsible and

cannot be held liable.

       18.       CHLIC received no benefit as a result of any of the transactions alleged in the

Complaint and engaged in no prohibited transactions within the meaning of ERISA § 406, 29

U.S.C. § 1106.

       19.       There was no plan transaction within the meaning of ERISA § 406, 29 U.S.C.

§ 1106.

       20.       To the extent that Plaintiffs can establish any transactions prohibited by ERISA

§ 406, 29 U.S.C. § 1106, some or all of those claims are barred under the exemptions set forth in

ERISA § 408, 29 U.S.C. § 1108.

       21.       Plaintiffs’ claims are barred to the extent CHLIC has no duty to disclose any

policies or practices related to prescription drug pricing, drug manufacturer’s rebates, and/or

incentives, or any other subject matter of this action.

       22.       Plaintiffs are not entitled to certification of this action as a class action because

they cannot satisfy the requirements of Federal Rule of Civil Procedure 23(a) or (b) in this case.

       23.       The RICO claims of Plaintiffs and/or other members of the putative class are

barred, in whole or in part, by the economic loss rule, the gist of the action doctrine, or other

similar doctrines.

       24.       The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, because they properly sound in contract rather than tort.




                                                 117
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 118 of 122




        25.    The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by the absence of the existence of an “enterprise” for the purposes of RICO.

        26.    The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, because CHLIC did not conduct the affairs of any “enterprise” for purposes of

RICO.

        27.    The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by the absence of a pattern of racketeering activity under RICO.

        28.    The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by the absence of a conspiracy, including a lack of agreement to commit any

unlawful predicate acts, necessary to establish a valid RICO claim under 18 U.S.C. § 1962(d).

        29.    The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by the absence of any predicate acts, including the absence of any acts

constituting mail or wire fraud, necessary to establish a RICO claim.

        30.    The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, because the RICO statute is unconstitutionally vague in that it fails to provide

adequate standards by which CHLIC may determine whether its conduct is unlawful.

        31.    The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, because CHLIC owed no duty to disclose to Plaintiffs and/or other members of

the putative class the information allegedly omitted.

        32.    The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, because any representations or statements alleged to have been made by CHLIC

were true and accurate at the time made and/or otherwise were made in good faith and with a




                                               118
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 119 of 122




reasonable belief as to their validity and accuracy and with reasonable belief that all of CHLIC’s

conduct was lawful.

          33.   The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by the absence of reliance on the purported misrepresentations and/or

omissions.

          34.   The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by the doctrines of actual or presumed knowledge, and/or the doctrine of

acquiescence.

          35.   The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, because through actions or omissions, they have expressly or implicitly

consented to and ratified the conduct upon which their claims are based.

          36.   The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by the absence of any material misrepresentations, misleading disclosures,

and/or omissions made by CHLIC to Plaintiffs and/or other members of the putative class upon

which Plaintiffs and/or other members of the putative class could have reasonably or justifiably

relied.

          37.   The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, to the extent the alleged injuries and/or damages, if any, were not caused in fact

or proximately caused by any acts and/or omissions by CHLIC.

          38.   The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by the absence of a scheme to defraud necessary to establish a RICO claim.




                                                119
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 120 of 122




       39.     The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, because CHLIC did not intend to and/or did not obtain money or property by

means of materially false or fraudulent pretenses or representations.

       40.     The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by the lack of standing to pursue RICO claims against CHLIC.

       41.     The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, because CHLIC’s conduct was permitted under the terms of the relevant plans.

       42.     The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by the absence of fraudulent intent.

       43.     The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by the absence of clear and convincing evidence of mail or wire fraud.

       44.     The claims of Plaintiffs and/or other members of the putative class are barred, in

whole or in part, by the filed-rate doctrine.

                                   RESERVATION OF RIGHTS

       CHLIC reserves the right to supplement or amend the responses and defenses above

during the course of litigation.




                                                120
     Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 121 of 122




Dated: November 19, 2018           Respectfully submitted,

                                   /s/ Joseph J. Costello
                                   Joseph J. Costello (ct14917)
                                   Brian W. Shaffer (phv08654)
                                   Eleanor R. Farrell (phv08309)
                                   Matthew D. Klayman (phv08656)
                                   MORGAN, LEWIS & BOCKIUS LLP
                                   1701 Market Street
                                   Philadelphia, PA 19103
                                   Telephone: 215-963-5000
                                   Facsimile: 215-963-5001
                                   joseph.costello@morganlewis.com
                                   brian.shaffer@morganlewis.com
                                   eleanor.farrell@morganlewis.com
                                   matthew.klayman@morganlewis.com

                                   Michael D. Blanchard
                                   MORGAN, LEWIS & BOCKIUS LLP
                                   One State Street
                                   Hartford, CT 06103
                                   Telephone: 860-240-2731
                                   Facsimile: 860-240-2800
                                   michael.blanchard@morganlewis.com

                                   Attorneys for Defendant Cigna Health and Life
                                   Insurance Company




                                    121
      Case 3:16-cv-01702-JAM Document 170 Filed 11/19/18 Page 122 of 122



                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 19, 2018, the foregoing document was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s system.


                                               /s/ Joseph J. Costello
                                               Joseph J. Costello
